Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 1 of 127 PageID 2625

                                                                              1


                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

       DALANEA TAYLOR; TAMMY
       HEILMAN; DARLENE DEEGAN;
       and ROBERT A. JONES, III,

         Plaintiffs_,

       vs.                          Case No.: 8:21-cv-00555-SDM-CPT

       CHRIS NOCCO, in his
       official capacity as
       Pasco County Sheriff,

         Defendant.
       ___________!



       PROCEEDINGS:            Deposition of
                               TAMMY HEILMAN


       DATE:                   March 23, 2022


       TIME:                    10:05 a.m. - 3:08 p.m.


       PLACE:                  Via Zoom


       REPORTED BY:            Judy Anderson, Court Reporter
                               Notary Public
                               State of Florida at Large




                           ANDERSON COURT REPORTING
                                 P.O. Box 2426
                           Dade City, FL 33526-2426
                        Judy@andersoncourtreporting.com
                                (352) 567-5484
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 2 of 127 PageID 2626

                                                                              2


  l    APPEARANCES VIA ZOOM:

  2    ROBERT E. JOHNSON, ESQUIRE
       In~titute for Justice
  3    16781 Chagrin Boulevard, Ste. 256
       Shaker Heights, OH 44120
  4    703-682-9320
       Rjohnson@ij.org
  5           Counsel for Plaintiffs

  6    CAROLINE GRACE BROTHERS, ESQ.
       Institute for Justice
  7    901 N. Glebe Road, Ste. 900
       Arlington, VA 22203
  8    703-682-9320
       Cgbrothers@ij.org
  9           Co-counsel for Plaintiffs

 10    THOMAS W. POULTON, ESQUIRE &
       ROBERT HOLBORN, II, ESQUIRE
 11    Debevoise & Poulton, P.A.
       1035 S. Semoran Blvd., Ste. 1010
 12    Winter Park, FL 32792-5512
       407-673-5000
 13    Poulton@debevoisepoulton.com
       Holborn@debevoisepoulton . com
 14    Cook@debevoisepoulton.com
              Counsel for Defendant
 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 3 of 127 PageID 2627

                                                                              3


   1                             I N D E X

  2                                                              Page

   3   Direct Examination by Mr. Poulton                           6
       Cross Examination by Ms. Brothers                         112
   4   Stipulation                                               114
       Certificate of Oath                                       116
   5   Certificate of Reporter                                   117
       Deponent's Signature Page                                 118
   6   Errata Sheet                                              119

   7

   8

   9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 4 of 127 PageID 2628

                                                                              4


   1                           E X H I B I T S

   2                                                    Page
   3   1   ~   Plaintiffs' First Supplemental Rule 26(a) (1)          11
               Initial Disclosures
   4
       2 - 3-1-16 Citation     &   5-12-16 Judgment (Mailbox)         16
   5
       3 - 3-1-16 Citation & 5-12-16 Judgment (Chickens)              21
   6
       4 - Complaint Affidavit         &   Judgment (Battery)        22
   7
       5 - 10-18-17 Citation       &   1-25-18 Judgment               25
   8
       6 - 9-18-18 Complaint       &   12-13-18 Judgment              27
   9
       7 - 6-9-10 Incident Report                                     29
 10
       8 - 11-14-13 Incident Report                                   37
 11
       9 - 4-7-14 Incident Report                                     38
 12
       10 - 12-28-14 Incident Report                                  40
 13
       11 - 6-29-16 CAD Report                                        45
 14
       12 - 9-28-16 CAD Report                                        48
 15
       13 - 11-17-16 CAD Report                                       51
 16
       14 - 11-29-16 CAD Report                                       52
 17
       15 - 7-22-17 Incident Report                                   53
 18
       16 - 5-6-17 CAD Report                                         54
 19
       17 - 5-14-17 CAD Report                                        56
 20
       18 - 6-15-17 CAD Report                                        58
 21
       19 - 9-17-18 CAD Report                                        64
 22
       20 - 9-29-18 CAD Report                                        65
 23
       21 - 3-25-19 Incident Report                                   66
 24
       22 - 6-18-19 Incident Report                                   73
 25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 5 of 127 PageID 2629

                                                                              5


   1                          E X H I B I T S

  2                                                 Page

  3    23 - 6-26-19 Incident Report                                 77

   4   24 - 9-28-19 CAD Report                                      83

  5    25 - 7-10-19 Incident Report                                 85

   6   26 - 12-5-19 CAD Report                                      86

  7    27 - 4-25-20 Incident Report                                 89

  8    28 - Body Cam Footage Extraction 1.1 County                  91
            Ordinance Chickens
  9
       29 - Body Cam Footage 11-7-17 X83015724                      98
 10
       30 - Body Cam Footage 7-26-18 X83015725                     103
 11
       31 - Body Cam Footage 5-23-18 X83046953                     105
 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 6 of 127 PageID 2630

                                                                              6


   1                              TAMMY HEILMAN,

   2     being first duly sworn to tell the truth, the whole

   3      truth, and nothing but the truth, was examined and

   4      testified as follows:

   5               THE WITNESS:     I do.

   6                            DIRECT EXAMINATION

   7   BY MR. POULTON:

   8          Q.   Good morning, Ms. Heilman.

   9          A.   Good morning.

 10           Q.   Can you hear me okay?

 11           A.   Yes.

 12           Q.   All right.     Turn this volume up a fbit on my

 13    end.

 14                Okay.   First of all, can we get the full

 15    spelling of your name?

 16           A.   First and last?

 17           Q.   Yes.

 18           A.   First is Tammy, T- A-M-M-Y, last Heilman,

 19    H-E-I-L-M-A-N.

 20           Q.   Ms. Heilman, have you ever had your deposition

 21    taken before?

 22           A.   Yes.

 23           Q.   Okay.   So you're familiar with the rules which

 24    is that, especially with the Zoom mechanism, i t 1 s

 25    important for you to let me finish asking my question
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 7 of 127 PageID 2631

                                                                              7


   1   before you start to answer, and I ' l l do my best to let

  2    you finish answering before I ask the next question.

   3        A.     Okay.

   4        Q.    And also, the court reporter is taking down

  5    everything we say.       So she can't take down nonverbal

   6   answers like uh-huh or uh-uh or shakes or nods of the

   7   head.     So it's important to verbalize your answers

   B   fully.    Okay?

   9        A.    Yes.

 10         Q.    All right.       And at any point you want to take a

 11    break, just let me know and we will.

 12        A.     Okay.

 13         Q.    And my plan would be to go until a little bit

 14    before maybe lunchtime, take like a 45-minute or an hour

 15    break and then come back and finish.         Okay?

 16        A.     Okay.

 17         Q.    Do you have any time constraints today that we

 18    need to know about?

 19        A.     No.

 20        Q.     Okay.    Good.

 21               First of all, where do you currently reside?

 22        A.     In Holiday.

 23        Q.     The street address?

 24        A.     3229 Primrose Drive, Holiday, Florida.

 25        Q.     And who currently lives with you at 3229
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 8 of 127 PageID 2632

                                                                              8


   1   Primrose Drive?

   2        A.    Myself, my husband, and my children.

   3        Q.    Okay.   What's your husband's name?

   4        A.    Jeffrey Zander.

   5        Q.    Z-A-N-D-E-R?

   6        A.    Correct.

   7        Q.    All right.      And how many children do you have?

   8        A.    Living with me three.

   9        Q.    I'm sorry.      Say that again.

 10         A.    You're referring to the ones living with me?

 11         Q.   Well, let's start with total.

 12         A.    I have five.

 13         Q.   And three of them currently reside with you?

 14         A.    Correct.

 15         Q.   All right.       And who are the three that

 16    currently reside with you?        And if you would give us

 17    their ages, please.

 18         A.   Anthony McDougall, 19;                   , 13;

 19                       , 10.

 20         Q.    Can you spell those first names for us?

 21         A.    Sure.   Anthony is A

 22         Q.   Well, I think we've got Anthony.        The Zanders.

 23         A.   Okay.             is          .

 24         Q.   And the other?

 25         A.               is                     .
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 9 of 127 PageID 2633

                                                                                  9


   1        Q.    See, I would have definitely misspelled that.

   2   So I 1 m glad -- Thank you.          Appreciate it.

   3              And then the other two children are Donnie?

   4        A.    Correct.       Donnie McDougall.

   5        Q.    Is i t Donald?

   6        A.    No, i t 1 s just Donnie.

   7        Q.    Donnie, okay.          And then the other one?

   8        A.    My daughter Tyler.

   9        Q.    All right.        Now I understand that Donnie is

 10    currently incarcerated?

 11         A.    That 1 s correct.

 12         Q.    And how about Tyler?

 13         A.    Tyler has passed.

 14         Q.    Oh, I didn 1 t know that.        I'm sorry.

 15         A.    Thank you.

 16         Q.    When did Tyler pass away?

 17         A.    In   1
                           20 -- 2020.

 18         Q.    2020, okay.       My condolences on that.        I'm

 19    sorry.

 20         A.    Thank you.

 21         Q.    All right.        So does anybody besides Jeffrey and

 22    Anthony,             , and             live with you currently at

 23    3229 Primrose?

 24         A.    Actually, I do have I guess a roommate.                I have

 25    a friend that comes and stays.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 10 of 127 PageID 2634

                                                                             10

   1        Q.      And who's that?

   2        A.      Dora.     No, I'm sorry.     That is not her name.

   3        Q.      Okay.

   4        A.      Sorry.     That's when we call her.

   5        Q.      Okay.     What's her name?

   6        A.      Dorinda.

   7        Q.      D-0-R-E-N-D-A?

   8        A.      D-0-R-I-N-D-A.

   9        Q.      I was close.     Go ahead.

  10        A.      Lavas, L-A-V-A-S.

  11        Q.      L-A-V-A-S, Lavas.     Okay.     What relation is

  12    Dorinda Lavas to you or your family?

  13        A.      She's not real a blood relative.        She's on like

  14    an on-again off-again girlfriend of my brother's.

  15        Q.      Okay.     Your brother doesn't live with you?

  16        A.      No.

  17        Q.      What's your brother's name?

  18        A.      Edward.

  19        Q.      Heilman?

  20        A.      Correct.

  21        Q.      Okay.     And so sometimes Dorinda comes to live

  22    with you?

  23        A.      She mainly lives with us, but she leaves a lot

  24    of time too.        So I wanted to make sure you know that

  25    she's there as well.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 11 of 127 PageID 2635

                                                                             11

   1        Q.    Is there -- okay -- any particular reason

   2    Dorinda doesn't live with Edward?

   3        A.    Edward lives with his parents.

   4        Q.    Your parents?

   5        A.    Correct.

   6        Q.    Okay.     All right.   So I want to ask you a

   7    couple just preliminary questions about the lawsuit, and

   8    I 1 ve got a bunch of different folders opened up I 1 ll be

   9    honest here on my end because I've got things sort of

  10    scattered.    So if i t takes me a minute to find

  11    something, please bear with me.

  12              In the lawsuit, one of the things that the

  13    plaintiff has to do is to tell us what they are suing

  14    over, okay, what is i t that they're looking to achieve.

  15              I'm going to try to share screen here with you.

  16              (Exhibit No. 1 was designated to be marked for

  17        identification.)

  18    BY MR. POULTON:

  19        Q.    This will be Exhibit No. 1, and this is a --

  20    can you see that?

  21        A.    Yes.

  22        Q.    Okay .    This was a Supplemental Rule 26 Initial

  23   Disclosure.       Rule 26 is one of the rules we have to

  24    abide by, and in this your attorneys filled out a

  25    section on page -- beginning on page 4 called C.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 12 of 127 PageID 2636

                                                                             12

   1    Computation of Damages.      I just want to kind of go over

   2    this with you to make sure we're all on the same page

   3    about what i t is that you in particular seek as damages

   4    of the lawsuit.      Okay?

   5              So if you'd just take a look at that here on

   6    the screen and this subsection C, as I see i t you 1 re

   7    only listed in C.l. and C.2., but we can look at this.

   B    This indicates that plaintiffs have updated their list

   9    of costs related to damages for lost future income and

  10   emotional and reputational harm.        Do you see that?

  11        A.    Yes.

  12        Q.    Okay.    And then i t says subject to revision

  13   plaintiffs seek damages to the extent they are available

  14   under the relevant law here, and i t says Tammy Heilman

  15   and a couple of the other plaintiffs, looks like you're

  16    seeking compensation for the fines for code enforcement

  17   citations, quote, as a result of the program, end quote,

  18   and then yourself and Robert Jones bail bond fees, legal

  19   fees and court costs stemming from arrests as a result

  20   of the program.      Do you sees those two?

  21        A.    I do.

  22        Q.    All right.     So as I understand i t -- Pardon?

  23   I'm sorry.    I thought I heard you say --

  24              So I    just want to clarify that and just make

  25   sure we're on the same page that you seek a dollar
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 13 of 127 PageID 2637

                                                                             13

   1    amount in damages       I'm speaking now in terms of the

   2    financial damages       one dollar in nominal damage, and

   3    then you want to be reimbursed for any fines that you

   4    had to pay for code violations that are as a result of

   5    the program, and then also bail bond fees, legal and

   6    court costs from the arrests, but that's it; correct?

   7        A.    Whatever i t says in the -- in the --

   8        Q.    Okay.   Let me just explain a little bit.

   9    There's a variety of different types of damages you can

  10    claim.    Initially when we got the documentation from

  11    your attorneys, i t indicated you would be seeking

  12   damages for things like emotional pain and suffering,

  13   but then this document indicated -- indicates that

  14   you're removing those, and you're not seeking damages

  15   for emotional pain and suffering.        You 1 re just seeking

  16    the -- what i t looks like basically these out-of-pocket

  17   costs that you had for the code violations and for the

  18   arrests.    Do you see that?

  19        A.    I do.

  20        Q.    Okay.   Are we agreed that that's what you're

  21    seeking here?

  22        A.    Yes.

  23        Q.    Okay.   You're not seeking emotional pain and

  24    suffering damages; correct?

  25        A.    No.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 14 of 127 PageID 2638

                                                                             14


   1        Q.    Well, I better rephrase that so we're clear.

   2    Are you seeking damages in this case for emotional pain

   3    and suffering?

   4        A.    No.

   5        Q.     Okay, good.    All right.     So that 1 s Exhibit 1.

   6              MR. POULTON:     And just real quick off the

   7        record.

   B               (Off-the-record discussion.)

   9   BY MR. POULTON:

  10        Q.    All right.      So I have in theory the court

  11   documents -- give me just one second here -- and I just

  12    want to go through these with you and outline whether

  13    outline them and kind of what happened in these

  14   different code citation cases, I believe there were two

  15    arrests, what happened in those, and just -- and see if

  16    we're missing any.       Okay?

  17        A.    Yes.

  18        Q.     So I 1 m gonna do that, and these are in date

  19   order.     Can you see?     Let's see.    So the first one I

  20    have for you is a citation in -- Can you see that?            Do I

  21    need to zoom it?     I need to zoom i t for myself.

  22              COURT REPORTER:        Would you mind if I recorded

  23        it?   Because we're going to have a lot of documents

  24        for me to keep track of.         Is that okay?

  25              MR. POULTON:      I don't mind.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 15 of 127 PageID 2639

                                                                             15

   1                COURT REPORTER:     It will_just be for my

   2        purposes.

   3                MR. POULTON:   Yeah.   To make sure you get i t

   4        right, sure, it's fine with me.

   5                COURT REPORTER:    Okay.     Here.   Wait a minute.

   6        Okay.     Then I won't have to keep asking what the

   7        documents are called.

   8                MR. POULTON:   Well, that's good because --

   9   BY MR. POULTON:

  10        Q.      Can you see that, Ms. Heilman, on the screen?

  11        A.      Yes.

  12                MR. JOHNSON:   Just to be clear, so the

  13        recording is not going to be put in the record; it's

  14        just for your purposes?

  15                COURT REPORTER:    Right.

  16                MR. POULTON:   Yes.

  17                COURT REPORTER:     It will not be released even

  18        if it's asked for.        It's not done by a videographer,

  19        so it's not part of the record.          It will just be so

  20        I can look at what document it's called because

  21        sometimes it's vague what you're saying and I have

  22        to match the document with the -- with what you've

  23        said and it's hard without four hands.

  24                MR. JOHNSON:   Okay.    Yeah.    On that

  25        understanding, no problem.          That's fine.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 16 of 127 PageID 2640

                                                                             16


   1               COURT REPORTER:     Thank you.

   2               MR. POULTON:     Yeah, that's how I understood i t

   3        too.    So, you know, the stipu1ation is the recording

   4        is just for the benefit of the court reporter to

   5        help her keep track of what items are being used as

   6        exhibits.

   7               MR. JOHNSON:     Right.   Sounds good.   Thank you.

   8               MR. POULTON:     Sure.

   9   BY MR. POULTON:

  10        Q.     The first citation that I have is this one,

  11   which is March 1, 2016 and it's -- if you look right

  12    there on the citation, the citation indicates that there

  13   were warnings given by Deputy Schell and myself to put

  14   numbers on her mailbox.        Subject still has no visible

  15   numbers on the mailbox.

  16               Let's see .    How do I -- Oh, probably this way .

  17   And then that is signed off on by Corporal Celeste.           Do

  18   you see that?

  19        A.     Yes.

  20               MR. POULTON:    And then that will be I guess,

  21        Madam Court Reporter Exhibit 2 to the deposition.

  22               (Exhibit No. 2 was designated to be marked for

  23        identification.)

  24   BY MR. POULTON:

  25        Q.     And then in association with that I have a
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 17 of 127 PageID 2641

                                                                             17

   1    judgment entered by a Pasco County judge whose name I

   2    can 1 t make out dated May 12, 2016.     You see right here

   3    charge is lack of posted address?

   4         A.     Yes.

   5         Q.     And then i t appears that you denied the

   6    violation, the Court withheld adjudication and had you

   7   pay a fine of $30, plus $40 for the recovery contest

   B   fee, recovery filing fee of $10, teen court fee of $3,

   9   1oca1 government fund charge of $3, and that you had to

  10   come into compliance within ten days and then pay the

  11   fine within thirty.        Do you see that?

  12         A.     Yes.

  13         Q.     Okay .   So a lot of this is to help us just get

  14   organized on both ends about what document goes with

  15   what.      So do you reca11 getting this citation for the

  16   not having the numbers on the mailbox?

  17         A.     Yes .

  18         Q.    Okay.     And were there numbers on the mailbox or

  19   no?

  20         A.     I don't recall.

  21         Q.    Okay .    Fair enough.   And then do you remember

  22   going to the court and the judge ordering you to pay

  23   this look likes about $86 total?

  24         A.    Yes, I believe so.

  25         Q.    Did you end up paying that?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 18 of 127 PageID 2642

                                                                             18

   1           A.      I believe so, yes.

   2           Q.      Okay.     Did you have to pay anything else

   3    besides that?

   4           A.      Honestly, it's been a while.        I don't recall.

   5           Q.      Okay.     That's a perfectly fine.     If you don't

   6    remember something, that's fine.           Okay?     Just let us

   7    know as you're doing.

   B                   There was an order in there that you come into

   9    comp1iance.           Do you remember doing anything about

  10   putting some numbers on the mailbox after the citation

  11   was issued or the court hearing?

  12           A.      I mean, I know I have numbers on my mailbox

  13    now.        I don't know at what point they were put on.

  14           Q.      Okay.     Fair enough.

  15                  All right.      Then the next one I have is March

  16   3rd.         This is a couple days later.     This was the

  17   citation for the chickens in the backyard.

  18           A.      Yes.

  19                  MR. POULTON:      And this will be exhibit -- what

  20           are we up to, four I guess, Madam Court Reporter?

  21                   COURT REPORTER:     You didn't actually say you

  22           wanted the other one on there, but okay.

  23                  MR. POULTON:      Yes, the judgment -- I'm sorry.

  24           That judgment that we were looking at in relation to

  25           the numbers on the mailbox, let's make that 3.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 19 of 127 PageID 2643

                                                                             19

   1                MR. HOLBORN:   Hey, Tom, can we do folders for

   2        the exhibits and so the documents within that folder

   3        are going to be Exhibit 2, which were from March 1,

   4        2016, and then the documents from folder March 3,

   5        2016 will be Exhibit 3?

   6                MR. POULTON:   That's fine with me.

   7                COURT REPORTER:   I'm confused.

   8                MR. POULTON:   What we're going to do is were

   9        going to make i t a composite.

  10                COURT REPORTER:   Composite, okay.     So what's

  11        going to be in Composite Exhibit 2?        Tell me that.

  12                MR. POULTON:   The citation, which is dated

  13        March 1, 2016, and then the county court judgment in

  14        connection with that citation which is dated May 12,

  15        2016.

  16                COURT REPORTER:   Okay.   So now this Exhibit 3

  17        is going to be maybe a composite.         I don't know.

  18        What's this we're looking at now?

  19                MR. POULTON:   This will just be Composite

  20        Exhibit 2.     Exhibit 1 was the Rule 26 Disclosure,

  21        and Composite Exhibit 2 has both the citation and

  22        the judgment.

  23                COURT REPORTER:   Okay.   Thank you.

  24   BY MR. POULTON:

  25        Q.      And then going back to the citation for March
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 20 of 127 PageID 2644

                                                                             20

   1    1, 2016, this is the citation for the chickens, and this

   2    indicates that you acknowledge that there were five

   3    chickens living in the backyard.       Do you see this?

   4        A.      Yes.

   5        Q.      Okay.   Were there five chickens in the

   6    backyard?

   7        A.      Yes.

   8        Q.      Now I've seen some video, and maybe we'll look

   9    at it later, but I believe it was Mr. Zander, your

  10    husband, who told deputies that the chickens were

  11    considered by you to be pets.

  12        A.      Correct.

  13        Q.      Okay.   And then the judgment that we believe

  14    goes with that, the county court judgment, was again you

  15    denied the violation.      You had to come into compliance

  16    within ten days, and the fine was $100 plus the costs

  17    that were noted before, the $40 for the recovery contest

  18    fee, $10 for the recovery filing fee, $3 for the teen

  19    court fee, and $3 for the court costs.        Do you see that?

  20        A.      Yes.

  21        Q.      Let me ask you first, do you remember whether

  22    you got rid of chickens as a result of this court

  23    hearing?

  24        A.     Yes, we did.

  25        Q.     And did you have to pay the hundred and looks
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 21 of 127 PageID 2645

                                                                             21

   1    like fifty-six dollars?

   2          A.      I believe my husband did.

   3          Q.      Okay.   Mr. Zander you believe paid it?

   4          A.      Correct.

   5          Q.      Okay.   All right.     Then the next incident I

   6    have is a incident which occurred on September 16, 2016.

   7                  :MR. POULTON:    Oh, I'm sorry, Madam Court

   8          Reporter, before we moved on, I needed to make as

   9          Composite Exhibit 3 the citation form and the

  10          judgment related to the code violation for chickens.

  11          Okay?     Got it.

  12                  COURT REPORTER:      Got it.

  13                  (Composite Exhibit No. 3 was designated to be

  14          marked for identification.)

  15   BY MR. POULTON:

  16          Q.      So now we're on what will eventually become

  17   Composite Exhibit 4.           This is where -- we'll get into

  18    the underlying facts, but this was the incident where

  19   you were arrested from the vehicle.            Do you recall that

  20   one?

  21          A.   Yes, I do.

  22          Q.   Okay.      And you were charged with resisting an

  23   officer and obstructing without violence.            Do you see

  24   that in the report?

  25          A.   Yes.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 22 of 127 PageID 2646

                                                                             22

   1        Q.    Okay.   And then the judgment in relation to

   2    that incident indicates that you pled guilty to a

   3    battery, obstructing or resisting an officer without

   4    violence, and giving false information to law

   5    enforcement, all three misdemeanors.        Do you see that?

   6        A.    I do.

   7        Q.    Okay.   And the Court ended up adjudicating you

   8    guilty and placed you on probation for i t looks like for

   9    twelve months.    Do you see those?

  10        A.    Yes.

  11        Q.    Okay.   So we'll make this Composite Exhibit 4.

  12               (Composite Exhibit No. 4 was designated to be

  13        marked for identification.)

  14    BY MR. POULTON:

  15        Q.    Was that the outcome of that criminal case that

  16    you pled guilty, were adjudicated guilty and were placed

  17    on probation for twelve months?

  18        A.    Yes.

  19        Q.    Okay.   So that judgment is accurate?

  20        A.    This is my first time actually seeing this.

  21        Q.    Oh, okay.    You want to take a second and look

  22    at it?   By all means, listen, as we look at documents,

  23    because I 1 m looking at them and I'm scrolling on the

  24    screen, if there 1 s something you want to read more

  25    fully, let me know.     Okay?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 23 of 127 PageID 2647

                                                                             23

   1        A.    Okay.

   2        Q.    So I ' l l -- let me just go down to the substance

   3    of it, and you can take a look at that and I'll -- just

   4    let me know when you want me to thumb down.

   5        A.    Yeah, it's fine.

   6        Q.    Okay.

   7        A.    Okay.

   8        Q.    All right.    So, I mean, is that an accurate

   9    statement of the outcome of the criminal case?

  10        A.    I didn't realize I was -- I had the giving

  11    false information because when they heard the court, we

  12    only focused on the charge of battery on the LEO.          So I

  13    didn't realize I was also charged with giving false

  14    information.

  15        Q.    Okay.   Well, as far as the charges for battery

  16    and for obstructing or resisting an officer without

  17    violence, your understanding was you were pleading

  18    guilty and being adjudicated guilty of those two

  19    charges; correct?

  20        A.    Yes.

  21        Q.    All right.    And then -- let me look at this

  22    real quick.

  23              All right.    So we'll -- for right now we 1 ll

  24    just -- that will be Composite Exhibit 4, I believe;

  25    right?   Okay?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 24 of 127 PageID 2648

                                                                             24

   1               MS. BROTHERS:     Tom, I'm not sure that we 1 ve

   2        seen these judgment documents before either.

   3               MR. POULTON:     We should have been sending them

   4        to you.     I thought that you had asked for that.        If

   5        you want to -- want me to go more slowly and each

   6        time we pull these up so you can look them over?

   7               MS. BROTHERS:     The speed that we're going at is

   8        fine now.

   9               MR. POULTON:     Okay.

  10               MS. BROTHERS:     But I just want to be sure that

  11        we don 1 t have them now, but they'll be

  12               MR. POULTON:     Well, we'll make sure you get i t

  13        all.

  14               MS. BROTHERS:     Okay.

  15               MR. POULTON:     Okay?     Yeah, because we've -- I

  16        mean, some of these things come in frankly kind of

  17        piecemeal, you know, particularly the code

  18        materials.    So what we'll do is we 1 l l just copy

  19        these for you and send them all to you at some point

  20        so you have the same universe.

  21               MS. BROTHERS:     Great.

  22               MR. POULTON:     It's all court documents, so --

  23    BY MR. POULTON:

  24        Q.     And then       Let 1 s see.   Okay.   Then the next

  25    code citation that I see -- and I 1 m trying to go in
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 25 of 127 PageID 2649

                                                                             25

   1    chronological order with these -- is October of 2017,

   2    and this was a citation for accumulation of junk or

   3    debris in the yard.      Do you recall that citation?

   4        A.    Oh, that's from the hurricane.       Yes.

   5        Q.    And then the disposition that we have for that

   6       so this will, I guess, be Composite Exhibit 5, Madam

   7    Court Reporter -- is you denied it, adjudication was

   8    withheld, and you had to pay $125 fine plus those

   9    similar court costs as before.       Do you recollect that?

  10        A.    Yes.

  11              (Composite Exhibit No. 5 was designated to be

  12        marked for identification.)

  13   BY MR. POULTON:

  14        Q.    And i t said -- well, now i t didn't have us come

  15    into compliance with this one had the -- I believe there

  16   was a cinder block, for example, in the yard, some other

  17    things.   Do that you recall?

  18        A.    Yes.     My child's car, a cinder block and -- a

  19   cinder block, you know, like a piece of a brick.

  20        Q.    Right.

  21        A.    And I think maybe there was a piece of fence

  22   that had been blown over, but, yeah, they were taken

  23   care of.

  24        Q.    Right.

  25              MR. POULTON:     And just to be clear, Madam Court
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 26 of 127 PageID 2650

                                                                               26


   1           Reporter, the date on the citation was October 18,

   2           2017.     The date on the judgment is January 25, 2018.

   3           Okay?     And so that that will be Composite Exhibit

   4           whatever I'm up to.        Is this five?

   5                   MR. HOLBORN:     Five.

   6                   MR. POULTON:     Okay.

   7    BY MR. POULTON:

   8           Q.      So am I correct in assuming that between the

   9    time of the citation in October of 2017 and the time of

  10    the court hearing, the cinder block and I believe you

  11    mentioned there was a toy or a child's bicycle, those

  12    sorts of things had all been gotten rid of in the

  13    interim?

  14           A.      Right.    They picked up the next day for trash

  15    delivery pickup .

  16           Q.      Okay.    Did you have to pay any fines other than

  17    these to your recollection in the judgment dated January

  18    25, 2018, for that particular violation?

  19           A.      Not to my recollection, no .

  20           Q.      Okay.    And then I have an arrest dated

  21    9-18-2018, and this was when you were arrested in what

  22    we 1 l l call the screen door incident.           Do you recall that

  23    one?

  24           A.      Yes.

  25           Q.      All right.     And I believe you were charged with
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 27 of 127 PageID 2651

                                                                             27


   1    battery on a law enforcement officer.        Do you see that?

   2        A.    Yes.

   3        Q.    Okay.   And then as I understand i t the outcome

   4    was that you entered a plea of guilty, a third degree

   5    felony, adjudication of guilt was withheld, but you were

   6    placed on probation for 24 months, and that is in an

   7    order dated December 13, 2018.       Do you see that on

   8    screen?

   9        A.    Yes.

  10              MR. POULTON:    Okay.   And so, Madam Court

  11        Reporter, we'll make the complaint form and the

  12        judgment Composite Exhibit 6.

  13              (Composite Exhibit No. 6 was designated to be

  14        marked for identification.)

  15   BY MR. POULTON:

  16        Q.    All right.     So those are the documents that I

  17    have that relate to either code citations or to arrests.

  1B    So it's three sets of code citations:        One for the

  19   missing numbers, one for the chickens, one for the

  20   debris in the front yard, and then the arrest for

  21   battery on a law enforcement officer related to the

  22    incident in the vehicle, and then battery on a law

  23   enforcement officer for the screen door incident.

  24              Were there any other code violations other than

  25    those three to your recollection?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 28 of 127 PageID 2652

                                                                             28


   1        A.    Not to my recollection.

   2        Q.    Okay.   And were there any other arrests besides

   3    those two arrests that we went over?

   4        A.    No.

   5        Q.    Okay.   All right.     What I 1 d like to do is just

   6       and for some of these I have reports, for some of

   7    them we 1 re still trying to locate them, but I 1 m just

   8   going to ask you if you remember some incidents, and as

   9    I say, for some of them I have reports and I'11 try to

  10   pull those up.

  11              How are we doing by the way?       Need a break or

  12   are you doing okay?

  13        A.    I 1 m okay.·

  14        Q.    Keep going.    Okay.    Good.

  15              We have indicated an incident in June of 2010

  16   where Donnie McDougall punched -- or it was reported

  17    that Donnie McDougall had punched a female student.          Do

  18   you have -- let me share this.        Do you have any memory

  19   of that incident?

  20        A.    Well, my son was ten years old at that time.

  21   So, no, I don't recall.       That was quite a while ago.

  22        Q.    Okay.   Do you remember an allegation that he

  23   had punched a student named Emily condom in art class?

  24        A.    No, I don't recall.

  25        Q.    Okay.    Let me show you what will be Exhibit 6?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 29 of 127 PageID 2653

                                                                                  29

   1                 COURT REPORTER:       7.

   2                 MR. POULTON:     7?

   3                 COURT REPORTER:       Yes.

   4                 MR. POULTON:     Thank you.

   5                 (Exhibit No. 7 was designated to be marked for

   6            identification.)

   7   BY MR. POULTON:

   B            Q.   It 1 s an incident reported dated June 9, 2010.

   9   Do you see that?

  10           A.    Yes, I see it.

  11            Q.   And the issue was battery, and the victim was

  12   Emily Condom.         Daniel Condom was her father.         And you

  13    see you're listed as a witness?

  14           A.    I do see, yes.

  15            Q.   Okay.   And I'll skip over this first part

  16   because you weren 1 t       there for this, but the -- I'll

  17    just -- if you want to read it, you can read it.               But

  1B    the allegation was Emily said that Donnie had punched

  19   her on his way walking back into the classroom the

  20   chalkboard, and then there was an interview, and I 1 ll

  21    just let you read this here.              If you 1 ll start this one,

  22    11
             0n 6-20-2010 I responded to 3229 Primrose Drive and met

  23   with Donnie McDougall and his mother Tammy. "               Okay.     So

  24   if you want to just kind of read the rest of it, and

  25    then I ' l l ask if you remember that incident.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 30 of 127 PageID 2654

                                                                             30


   l               (Court reporter asked for clarification.)

   2               MR. POULTON:   Sorry.   I ' l l get i t exactly

   3        right.     I said chalkboard, but that's actually not

   4        accurate.     The incident report itself indicates,

   5        quote, Emily told me she was in art class today

   6         (which was right before she was released to go

   7        home), when the suspect, Donnie McDougall (unknown

   8        spelling at this time), walked up to the front of

   9        the room and then returned to where he was.         Emily

  10        said on his way back Donnie punched her on her right

  11        shoulder against her will.      As she was sitting

  12        down."

  13               Then a little bit further, Emily informed me

  14        that vice principal of the school sat both her and

  15        Donnie down and talked to them about what happened,

  16        but nothing was done.      Emily explained she's very

  17        afraid of Donnie, and there have been days when she

  18        told her parents that she was feeling sick and

  19        couldn't go to school even though she wasn't sick at

  20        all.     Emily conveyed she has come from school on

  21        some days and cried because she's afraid of Donnie

  22        and i t bothers her that much.      Emily said Donnie's

  23        always picking on her because of her last name.

  24        Emily next told me Donnie had kicked her, spit on

  25        her and threatened to knock her off her bike.            Emily
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 31 of 127 PageID 2655

                                                                             31

   1        stated Donnie kicked her in the hallway of the

   2        school about a month ago, and he was suspended from

   3        school for it.

   4    BY MR. POULTON:

   5        Q.      So let me ask you this first.      Do you remember

   6    Donnie being suspended from school in relation to an

   7    incident with Emily Condom?

   8        A.      This is a long time ago.      You're really going

   9    back a long time.        I mean, my child was ten years old at

  10    the time.     He's now 22.

  11        Q.      Okay.    I'm just asking if you remember it?

  12        A.      I don't.     Not saying that i t didn't happen.     I

  13    just don't remember.

  14        Q.      Right.     Well, you weren't there for that

  15   discussion between the deputy and Emily.          According to

  16    the report it's later that he comes to 3229 Primrose

  17   Drive and speaks with Donnie and with you.           Do you

  18    remember a deputy coming to your home in two thousand

  19   on or about June 20, 2010, to speak with you and with

  20   Donnie about this episode in art class?

  21        A.      Again, I don't recall.

  22        Q.      Okay.    That's perfectly fine.    I realize i t was

  23    some time ago.       I ' m just -- if you don't remember ,

  24    that's fine.

  25                MS . BROTHERS:    And I ' l l just object for the
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 32 of 127 PageID 2656

                                                                             32


   1        record that I don't think we've seen this incident

   2        report either before.

   3               :MR. POULTON:    Okay.

   4        A.     This is elementary school.       I don't know why i t

   5    said Anclote.      It's high school.

   6        Q.     All right.      So stop share.

   7               There's an indication that in November of 2010

   8   you called Sheriff's Office to report that your juvenile

   9   daughter was making suicidal threats.

  10        A.     That's probably possible, yes .

  11        Q.     Yeah.     Now would that have been -- who - - which

  12   daughter?

  13        A.     What year was it?

  14        Q.     2010.

  15        A.     That would have been my older daughter.

  16        Q.     The one that 1 s since passed away?

  17        A.     Correct.

  1B        Q.     In February 2011, there's an indication that

  19   you called the Sheriff's Office to report that your

  20   daughter was acting out about being punished.          Any

  21    recollection of that particular one?

  22        A.     Again, this was a long time ago.

  23        Q.     I know.

  24        A.     We went through a lot of things with the kids

  25   growing up as teenagers, so there's -- i t is possible.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 33 of 127 PageID 2657

                                                                             33

   1        Q.      There's next in September 2011 an indication

   2    that you called the Sheriff's Office to report that your

   3    juvenile daughter was having issues with being bullied

   4    in school and was making suicidal threats.         Any

   5    recollection of that, or is the answer the same?

   6        A.      It's gonna be the same, yes.

   7        Q.      Okay.     In February of 2012, there's an

   B    indication that the Pasco Sheriff's Office responded to

   9    an overdose complaint involving Donnie McDougall having

  10    smoked spice and that you were contacted about that

  11    situation.     Do you remember that?

  12        A.      I believe he was at the hospital, and they

  13    contacted me.        Yes, he was out with some friends.

  14        Q.      Okay.     So he was at the hospital, and the

  15    Sheriff's Office contacted you to let you know what had

  16    happened?

  17        A.      Yes.

  18        Q.      Okay .   Later in October of -- now let me ask

  19    you this and refresh my memory.        What was the older

  20   daughter's name?

  21        A.      Tyler.

  22        Q.      Tyler.     Thank you.   Yeah, all right.

  23                Now Tyler in two thousand -- what was Tyler's

  24   date of birth?

  25        A.                 .
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 34 of 127 PageID 2658

                                                                             34

   1        Q.    Okay.    In October of 2012, there's an

   2    indication there was a report of a stolen vehicle where

   3    i t just says Heilman's juvenile daughter, so I'm going

   4    to assume that was Tyler, was a suspect and that when

   5    the Sheriff's Office contacted you, you stated that you

   6    should report her as a missing juvenile.        Does that

   7    sound familiar?

   8        A.    It kind of strikes a little bit of a memory,

   9    but I'm not a hundred percent sure.

  10        Q.    Well, did she run away from home maybe at the

  11    age of 14 or 15?

  12        A.    She had left and was gone with a friend, so was

  13    under the - - you know, under the

  14        Q.    Influence of a friend?

  15        A.    Friend's house.

  16        Q.    I'm sorry?

  17        A.    I was under the assumption she was at her

  18    friend's house when they had contacted me.

  19        Q.    Okay.    So the Sheriff's Office called to let

  20    you know there was an incident about a stolen vehicle,

  21    and you said, well, at this point you wanted to or you

  22    should -- you might consider reporting her as missing?

  23        A.    I don't recall.     I know there was a time there

  24    was a stolen vehicle and i t had to do with the friend

  25    that she was -- the friend's house that she was staying
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 35 of 127 PageID 2659

                                                                             35


   1   at, I think they had taken their parents' car or

   2   something at that point.

   3        Q.    Okay.

   4              MS. BROTHERS:    We don't -- I 1 m objecting.    We

   5        don't have the documentation for any of these

   6        incidents.

   7              MR. POULTON:    Yeah, I don't have those myself

   8        right now either.     I have the one for Emily Condom,

   9        which I believe we're attaching as an exhibit, and

  10        we'll make sure to get that to you.

  11              Just off -- let's go off the record real quick.

  12              (Off-the-record discussion.)

  13   BY MR. POULTON:

  14        Q.    And again, some of these are listed that I

  15   don't even have the incident report itself at this

  16   point.    We're still trying to get some of them.        Okay?

  17              And what I'm      what I'm trying to demonstrate

  18   is, Ms. Heilman, just so you know, is that there were

  19   occasions where you had called or somebody from your

  20   home had called for service.       For example, do you recall

  21   an incident in October of 2012 where you called the

  22   Sheriff's Office to report that Donnie had been thrown

  23    to the ground by an adult male?       Your son was pushed to

  24    the ground.    Do you remember that one?

  25        A.    I remember some sort of a incident where he
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 36 of 127 PageID 2660

                                                                             36

   1    was, but I don't recall the details.

   2        Q.    All right.    Do you recall an incident in

   3   October of 2012 where the Sheriff's Office contacted you

   4   over allegations that your juvenile daughter was allowed

   5    to record two other juveniles having sexual intercourse?

   6        A.    Well, since this was ten years ago, no, I don't

   7    recall.

   8        Q.    Okay.   Do you recall calling the Sheriff's

   9   Office in -- Do you recall calling the Sheriff's Office

  10   in February of 2013 to let them know that there were two

  11    juveniles trespassing on your property and these were

  12   friends of your daughter and they were trespassed?

  13        A.    Again, I don't recall.

  14        Q.    Okay.   Is i t possible you called the Sheriff's

  15   Office because some these troublemakers -- we'll call

  16    them that -- associate -- that were -- that Tyler was

  17   associating with were at your house and you wanted them

  18   trespassed?    Does that sound familiar?

  19        A.    I mean, it's very possible, yes, but --

  20        Q.    In November of 2013, I have an indication

  21   let's see -- and we may have a report for this.          If you

  22   want to look i t over, we can look i t over -- but that

  23   you had called the Sheriff's Office because Tyler had

  24   struck you and you went to the hospital?

  25        A.    No, I don't recall my daughter striking me.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 37 of 127 PageID 2661

                                                                             37


   1         Q.   All right.     Let me --

   2              This was an incident regarding where you took a

   3   necklace off Tyler's neck because she had a house key on

   4   it?

   5         A.   I don't recall.

   6   BY MR. POULTON:

   7         Q.   All right.     I ' l l share screen.   This may be one

   8   that you do not have, Counsel.         So why don't we take a

   9   minute to -- we'll just let her read it.           If you want to

  10   talk to her about i t before I ask her if i t refreshes

  11   her recollection, just let me know.          You see that, that

  12   report?

  13              MS. BROTHERS:     Yeah, we do not have this.

  14              MR. POULTON:     Okay.

  15              MR. HOLBORN:     Tom, this is Exhibit 8.

  16              MR. POULTON:     Thank you.

  17              It's an incident report dated 11-4-2013, Madam

  1B         Court Reporter.

  19              (Exhibit No. 8 was designated to be marked for

  20         identification.)

  21   BY MR. POULTON:

  22         Q.   Let me know when you want me to scroll down.

  23         A.   You can scroll.      What year is this?

  24         Q.   2013.   It's November 4, 2013.

  25         A.   Yeah, i t does ring a bell now that I read it.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 38 of 127 PageID 2662

                                                                             38


   1           Q.     Okay.   Do you -- I   just want to know if you

   2    remember that and whether or not i t accurately sets

   3    forth what happened?

   4           A.     Yes and no.    I mean, it's the gist of i t I

   5    suppose.

   6           Q.     Okay.   Let me try to isolate these a little

   7    bit.

   8                  Do you remember calling the Sheriff's Office in

   9    2014 and asking them to respond because a male had

  10    approached your son in a subdivision and threatened to

  11    fight him over the suspect's sister and that you stated

  12    that you were afraid because the suspect was in a gang

  13    and that they had threatened to shoot up your home?

  14           A.     Do you have the document?

  15           Q.     I think probably so.    Let's see.

  16                  Well, I may have spoken too soon.     Hang on.

  17                  MR. POULTON:    So this is what now, Exhibit 9?

  18                  COURT REPORTER :   Yes, sir.

  19                  (Exhibit No. 9 was designated to be marked for

  20           identification.)

  21   BY MR. POULTON:

  22           Q.     Okay.   This is a incident report dated April 7,

  23    2014.       Weston Davidson, does that ring a bell?

  24           A.     I don't know that person's name.

  25           Q.     Okay.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 39 of 127 PageID 2663

                                                                             39

   1        A.     Oh, yes.   This -- this has to do with the Emily

   2    girl i t says.    I guess this is when somebody jumped my

   3    son on his way home from school and told him he was in a

   4    gang.    Yeah, I do remember that.

   5        Q.     And i t looks like maybe Weston Davidson is

   6    Emily Condom's sister?

   7        A.     I don't know either party, so

   8        Q.     Fair enough.   Do you remember calling the

   9    Sheriff's Office though because you were concerned about

  10    this incident and somebody assaulting Donnie?

  11        A.     Well, i t says right here that I flagged down

  12    the sheriff.

  13        Q.     My mistake.    You reached out to the Sheriff's

  14    Office though to ask for their assistance in regards to

  15    this incident.     Do you recall that?

  16        A.     No.   Corporal Winthrop is a       she was a school

  17    resource officer.     She had been driving through the

  18    neighborhood.     That's who I flagged down.

  19        Q.     Oh, you flagged down the school resource

  20    officer?

  21        A.     Yes, which is who they refer you to anyway if

  22    anything happens outside of school.

  23        Q.     Do you think that happened because i t was

  24    school related?

  25        A.     I honestly don't know why i t happened.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 40 of 127 PageID 2664

                                                                             40


   1        Q.     Okay.   We11, the deputy that did this report

   2   was Deputy Hatfield.        Do you see that?

   3        A.     I see that.

   4        Q.     Okay.   Let me ask you this.        Do you remember

   5    the circumstances of how i t was that you were

   6   communicated with by the Sheriff's Office regarding this

   7   incident, whether i t was Hatfield or SRO Winthrop or

   8   both?     Do you remember either way?

   9        A.     I don't recall.

  10        Q.     Okay.   In December of 2014, December 28th,

  11    there is a Pasco Sheriff's response or a report of a

  12   battery by Donnie.        Let me pull i t up.

  13               And this is I guess Exhibit 10.         It's incident

  14   December 28, 2014.

  15               (Exhibit No. 10 was designated to be marked for

  16        identification.)

  17   BY MR. POULTON:

  1B        Q.     Do you recognize the names Jeremy Schreiber

  19   and/or Heidi Maohmer, M-A-C-H-M-E-R?

  20        A.     Yes.

  21        Q.     Do you remember this incident?

  22        A.     I remember their names, but I need to read i t

  23   first.

  24        Q.     Okay.   Sure.    Go ahead.   No, take your time.

  25               MS. BROTHERS:     I'll just note that we don 1 t
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 41 of 127 PageID 2665

                                                                             41


   1        have this document.

   2              MR. POULTON:    Right.     I think if it's going to

   3        be pre-2016, that may be the case.        So what I'm

   4        going to do is try to          at this point try to skip

   5        those and maybe during lunch have my associate email

   6        you the ones that I might ask her about, and we'll

   7        take a few minutes before we start back up again to

   8        let you look through those, okay, so we avoid that

   9        problem.

  10        A.    Can you scroll down?

  11   BY MR. POULTON:

  12        Q.    Sure.

  13        A.    Can you scroll down?

  14              Okay.

  15        Q.    Okay.   Now having read the narrative of the

  16   report from December 28, 2014, does that refresh your

  17   recollection about the sequence of events?

  18        A.    I remember there was a confrontation between

  19   Jeremy and my son.      There was other confrontations as

  20   well.

  21        Q.    And the accusation was that Donnie had battered

  22   this young man Jeremy; right?

  23        A.    Well, if you read the whole thing, i t would say

  24   that his witness said that he didn 1 t push him, so --

  25        Q.    No, I understand that.       I'm just saying that
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 42 of 127 PageID 2666

                                                                             42

   1    was the allegation though by Jeremy; correct?

   2           A.    That 1 s the allegation, yes.

   3           Q.   And do you remember that you were in        that

   4    the deputy came and spoke to Donnie and you were

   5    present?

   6        A.       Yes, I believe so.

   7           Q.   Okay.     Tell what you I'm gonna do.   I'm gonna

   8    skip        as we discussed, I'm gonna skip -- What is that?

   9    That was

  10                Let me ask you this before I go on.      Do you

  11    remember whether or not the State Attorney did anything

  12    with that incident?

  13        A.       I don't recall.

  14        Q.      So you don't know one way or the other whether

  15   Donnie was charged?

  16        A.      No.

  17                MR. POULTON:    All right.   I'm going to skip

  18        ahead.        I'll skip through 2015 and go to 2016.    What

  19        we 1 ll do is in the break -- there are about          well,

  20        there's some that I don't have reports for, but i t

  21        looks like they are one, two, three, four, five that

  22        I might have reports for for 2015, and I 1 l l have

  23        those sent to you in advance before we go back to

  24        those.        Okay?

  25                All right.     If we see any reports here from
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 43 of 127 PageID 2667

                                                                               43


   1        2016 that you don't think you have, let me know as

   2        well.     We'll deal with that.

   3                MS. BROTHERS:     All right.       We will.

   4    BY MR. POULTON:

   5        Q.      Do you remember in February 2016 the Pinellas

   6    County Sheriff's Office alerting deputies to Donnie and

   7    two others having stolen a vehicle and arresting him?

   8        A.      I don't recall.     You're not giving me very much

   9    information for me to go on.

  10        Q.      Yeah, I don't see -- let me see.          I don't

  11    think --

  12                Right.     It doesn't appear that I have a report

  13    for that one.        The notes just indicate that you were

  14    contacted and allowed deputies to interview Donnie while

  15    in his presence -- in your presence, and he was arrested

  16    in relation to this stolen car from Pinellas County.

  17   Does that refresh your memory at all?

  18                You can say no.     I 1 m sorry?

  19        A.      No.

  20                MS. BROTHERS:     Tom, when you're referring to

  21        notes, what are you referencing?

  22                MR. POULTON:     I can't hear you, Caroline.        What

  23        was that?

  24                MS. BROTHERS:     When you say that there's a note

  25        of something happening, what are you referencing?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 44 of 127 PageID 2668

                                                                             44

   1              MR. POULTON:    No, this is my own notes.

   2              MS. BROTHERS:    Okay.

   3              MR. POULTON:    It's not -- it's not a report.

   4        We're looking for some of these reports ourselves,

   5        and I think some of them might have to do with the

   6        fact that at the time he was a juvenile.         So this

   7        dovetails back to the problem we have -- we all have

   B        which is we don't have the juvenile records at this

   9        point.    I only have the agency records, and there

  10        might not be one of this if he was arrested by a

  11        Pinellas.    So hopefully we'll get that from the

  12        court or from DJJ as we proceed.       And, obviously, if

  13        we get any of that, we'll send you that.

  14              MS. BROTHERS:    Right.    I'm just making sure the

  15        notes aren't based on other documentation other than

  16        incident reports that we

  17              MR. POULTON:    No.

  1B              MS. BROTHERS:    Okay.

  19              MR. POULTON:    Well, let me make a note of that.

  20   BY MR. POULTON:

  21        Q.    In June of 2016, were you aware that Donnie

  22    called the Sheriff's Office to report that his

  23    girlfriend was making suicide threats?

  24        A.    Who was the girlfriend?

  25        Q.    I tell you what, I ' l l pull up the report.      And
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 45 of 127 PageID 2669

                                                                             45


   1    this is exhibit -- what am I now on, eleven?

   2              COURT REPORTER:     Yes.

   3              (Exhibit No. 11 was designated to be marked for

   4        identification.)

   5    BY MR. POULTON:

   6        Q.    This is dated June 29, 2016.       You see there

   7    suicide threat in progress and your address of 3229

   8    Primrose Drive?

   9        A.    Yes.

  10        Q.    The caller is listed as Donnie McDougall.          Do

  11    you see that?

  12        A.    Yes.

  13        Q.    And then the transcription of the notes is

  14    caller advises that suspect is upset or mad or

  15    something, also is trying to kill herself.         Does not

  16    have GPS, which I assume means location, on suspect,

  17    thinks subject may be at his location by now.

  18              I'm looking for the name.

  19              Caller put subject on the line.        Subject

  20    refused to give her last name.

  21        A.    I'm sorry.    I can't help you.     I don't know who

  22    i t is.

  23        Q.    Okay.   We11, I -- if you don't know, you donft

  24    know.

  25        A.    I don't know.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 46 of 127 PageID 2670

                                                                             46

   l        Q.    There is an indication of a name of Ava.        I

   2   don't know if that's her name or a dispatcher 1 s name.

   3   Did he have a girlfriend named Ava?

   4        A.    No.

   5              MS. BROTHERS:    What is the date on this C.AD

   6        report?

   7              MR. POULTON:     That is June 29, 2016.

   8              MS. BROTHERS:     Okay.

   9              MR.   POULTON:   Do you have that one?

  10              MS. BROTHERS:     I believe so.

  11              MR. POULTON:     Okay.

  12              MS. BROTHERS:     Well, can you scroll back up

  13        again, please?

  14              MR. POULTON:     Sure.     Got the event ID?

  15              MS. BROTHERS:     Yes, that's -- okay.

  16              MR. POULTON:     Okay.     I'm sympathetic to the

  17        point you're making or at least empathetic to the

  18        point you're making about the earlier reports, and

  19        to be fair, we'll get you the other reports that we

  20        do have for those incidents prior and then for

  21        for 2015 definitely before we start back up.

  22              MS. BROTHERS:     Right.

  23              MR. POULTON:     And we'll go back to that.      Okay.

  24              MS. BROTHERS:     You had said a different date in

  25        June, but --
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 47 of 127 PageID 2671

                                                                             47


   1                MR. POULTON:    Oh, did I?   I'm sorry.   June 29,

   2        2016.

   3                MS. BROTHERS:    Yeah.   It's right.   We have

   4        those.

   5                MR. POULTON:    Okay.

   6   BY MR. POULTON:

   7        Q.      Do you remember anybody being Baker Acted as a

   8    result of this?

   9        A.      If I remembered the incident, I would probably

  10   be able to tell you.

  11        Q.      Okay.   So I guess you don't remember a Baker

  12   Act growing out of this particular interest?

  13        A.      Well, you already asked me if I remember this,

  14   and I told you no.

  15        Q.      Okay.   Do you remember in July 2016 calling the

  16    Sheriff's Office to report that Donnie McDougall had cut

  17   himself with a razor following an argument he had with

  18   his girlfriend and that he was Baker Acted?

  19        A.      My son has been Baker Acted before.       Whether

  20    that was the date or not, I do not know .

  21        Q.      Okay.   Do you recall an incident in September

  22       on September 28, 2016, where Donnie called EMS to

  23    report that you weren't breathing and that Fire Rescue

  24    was called out to your home for you?

  25        A.      Do you have more information?     It was probably
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 48 of 127 PageID 2672

                                                                             48

   1    when I had my heart attack.

   2        Q.    That's - - I mean, I assumed there was some

   3    medical emergency.     I just didn't know if you remembered

   4    anything about it.     So we will find it.     Let's see.

   5    Oops, here i t is.    Sorry, hit the wrong button.

   6              MR. HOLBORN:    This is going to be Exhibit 12.

   7              MR. POULTON:    Thank you.    Exhibit 12, Madam

   8        Court Reporter.

   9              (Exhibit No. 12 was designated to be marked for

  10        identification.)

  11    BY MR. POULTON:

  12        Q.    This is dated September 28, 2016, and the

  13    address you see is 3229 Primrose Drive.        Do you see

  14    that?

  15        A.    Yes.

  16        Q.    Okay.   I ' l l just let you look at the --

  17        A.    This is right after the arrest.       I was having

  18    severe anxiety issues, and actually I had had a heart

  19    attack.

  20        Q.    So you went to the hosp- -- so your son

  21    called     he called 911 i t looks like, maybe not the

  22    Sheriff's Office.     He called 911?

  23        A.    Yes.

  24        Q.    And so Fire Rescue came out and the Sheriff's

  25    Office also came out?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 49 of 127 PageID 2673

                                                                             49

   1          A.   Probably.    They usually come together.     I'm not

   2    sure if I went to the hospital at that point or not or

   3    if they were able to clear me as okay or whatever, but I

   4   do know that I went shortly after this.         It was within a

   5    few days I ended up going into the hospital.

   6          Q.   I see a line here a female came on the line,

   7    said it's an anxiety attack and this happens to patient

   8   all the time.

   9          A.   Well, recently.

  10          Q.   Right.

  11          A.   Yeah, i t wasn't all the time, but yeah.

  12          Q.   Event spawned breathing problems.       Calling

  13   Medfleet to see if there's a closer unit.

  14               So you don't remember actually whether you went

  15    to the hospital this time?

  16         A.    I'm not sure 'cause they -- my kids had called

  17   a couple of times around that time.         So I'm not sure if

  18    I   went to the hospital.    Actually, no, I don't think I

  19   did go to the hospital because I ended up driving

  20   myself.     So I don't think I ever went in the ambulance.

  21         Q.    Were you -- were you actually diagnosed as

  22   having had a heart attack?

  23         A.    Yes.

  24         Q.    Okay.    We probably don't have to get into the

  25   details of i t since you're not claiming that as part
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 50 of 127 PageID 2674

                                                                             50


   1    of -- you 1 re not c1aiming that as part of your damages;

   2    correct?

   3        A.     It should be.

   4        Q.     Well, I think we agreed earlier you 1 re not.

   5    You 1 re only claiming the out-of-pocket expenses for the

   6    code violations and for the arrests; correct?

   7        A.     I guess so.

   8        Q.     We11, because if we're expanding the universe

   9   of damages,    then I have to start doing things like

  10   getting medical records and whatnot.         So it's important

  11    that we be sure we 1 re talking about the same universe of

  12   damages being claimed in the case.        That's why I asked

  13    those questions at the beginning.

  14               So I'11 give you a chance to talk to your

  15   attorneys here at some point.       We 1 l l just come back to

  16    that again before we conclude for the day.         Okay?

  17        A.     Okay.

  18        Q.     All right.    So that was -- Oh, wrong one.

  19    Sorry.   All right.

  20               How did Donnie get along with Tyler in 2016?

  21        A.     Oh, in 2016 Donnie would have been 16, and she

  22   would have probably been like 18, so just as well as any

  23   other two siblings that age.

  24        Q.     Well, I 1 m just -- I'm seeing reports, and I

  25   don't know if you were aware of them or not, of them
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 51 of 127 PageID 2675

                                                                             51

   1    kind of alternatively calling.

   2        A.      Back and forth on each other, yes.

   3        Q.      You do.     Okay.     So you were aware of that.   And

   4    just so we're on the same page here --

   5                MR. POULTON:        By the way that -- what am I up

   6        to 13 now, Rob?

   7                MR. HOLBORN:        Yes.

   8                (Exhibit No. 13 was designated to be marked for

   9        identification.)

  10    BY MR. POULTON:

  11        Q.      Okay.     So there was a report that on November

  12    17, 2016, the report was disturbance juvenile in

  13    progress.     It was a domestic disturbance.        Brother is

  14    going crazy, is spitting on people.           Were you present

  15    for that one?

  16        A.      I don't recall.

  17        Q.      It says the caller was Tyler.        That would have

  18    been your daughter; correct?

  19        A.      Yes.

  20        Q.      So she called the 911 to report that Donnie,

  21    date of birth               , was going crazy and spitting on

  22    people.     You see that?

  23        A.      I do see that.

  24        Q.      Okay.     And then about twelve days later --

  25        A.      Donnie called on her.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 52 of 127 PageID 2676

                                                                             52

   1        Q.     Right.    She had sprayed him in the face with

   2   mace?

   3        A.     Oh, yeah, I do remember that.

   4        Q.     You do remember that one?

   5        A.     I do.

   6        Q.     Were you home for that one?

   7        A.     I was.

   8        Q.     Okay.    And do you remember what the outcome of

   9    i t was?

  10        A.     I think that's when she ended up moving out.

  11               COURT REPORTER:       Is that another exhibit?

  12               MR. POULTON:    Yes.        Sorry.    What am I on?

  13               COURT REPORTER:       14.

  14               MR. POULTON:    14.

  15               (Exhibit No. 14 was designated to be marked for

  16        identification.)

  17   BY MR. POULTON:

  18        Q.     Do you have a neighbor named Samantha Martinez?

  19        A.     No.

  20        Q.     Okay.

  21        A.     I mean, I could.       I    just don't know

  22        Q.     You just don't know.          Okay.    That's fair.

  23               (Court reporter asked for clarification.)

  24        A.     I could have a neighbor named Samantha

  25   Martinez.     I just don't know who that person is.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 53 of 127 PageID 2677

                                                                              53


   1    BY :MR. POULTON:

   2           Q.      Do remember a Baker Act transportation of

   3    Donnie in July of 2017 regarding Pinellas County

   4    Sheriff's Office had called because Donnie there was a

   5    report had attempted to kill himself in Palm Harbor

   6    before he came home?         He had some red marks on his left

   7    arm.        Does that ring a bell?

   8                   I ' l l show you the -- I ' l l show you the report

   9    on that one.

  10           A.     Okay.

  11                  MR. POULTON:    And this is going to be Exhibit

  12           what, 15?

  13                   COURT REPORTER:    Yes.

  14                   (Exhibit No. 15 was designated to be marked for

  15           identification.)

  16    BY MR. POULTON:

  17           Q.     Okay.   And it's dated July 22, 2017.       Reporting

  18    deputy is Garmon.         See the address is 3229 Primrose

  19    Drive; right?

  20           A.     That says location of incident, but you said

  21    this was in Pinellas.         I'm not in Pinellas.

  22           Q.     Well, okay, I ' l l explain or I ' l l let the

  23    report

  24           A.     Because i t said location of the incident.

  25           Q.     Well, that's where I think he -- they contacted
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 54 of 127 PageID 2678

                                                                              54


   1    him and ultimately Baker Acted him from.         The suicide

   2    report had come from Pinellas County, you see?             I'll let

   3    you read the report and just see if that refreshes your

   4    recollection.

   5        A.     Yes, that sounds familiar.

   6        Q.     Okay.     There's a note in here that you -- at

   7    first you were hostile, but then once the deputy

   8    explained why he was there, you became cooperative.            Do

   9    you see that?

  10        A.     Yes.

  11        Q.     Okay.     Do you remember that?

  12        A.     Well, yes.     I'm glad my son was okay.

  13        Q.     Okay.    Do you recall an incident in May of

  14    2017?    And I    apologize I went backwards.    Tell you what.

  15    We 1 l l just share screen.    Why not?

  16               MR. POULTON:     This will be Exhibit 16?

  17               MR. HOLBORN:     Yes.

  18               (Exhibit No. 16 was designated to be marked for

  19        identification.)

  20    BY MR. POULTON:

  21        Q.     Okay.     This is a CAD report dated May 6, 2017.

  22    You see the location is 3229 Primrose.          It was a

  23    trespassing, and the caller was Jeff Zander.          I think

  24    it's misspelled, but they have i t as S-A-N-D-E-R here.

  25    And the notes were caller advised his stepson had
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 55 of 127 PageID 2679

                                                                             55


   1    friends over, possibly juveniles and possibly in

   2    possession of alcohol containers.        Caller stated

   3    everyone left, adding stepson left too, adding his

   4   mother was okay with it.         Advised caller to call PSO if

   5    subjects come back so juveniles can be assessed for

   6    curfew and alcohol containers.        Do you see that?

   7           A.   I don't remember this.

   8           Q.   Okay.   Let me close some of these.

   9                About a week later, May 13, 2017, do you recall

  10    an incident where deputies came to your home because

  11    they were looking for a young lady that was refusing

  12   Donnie's sexual advances and that she claimed that

  13   Donnie was holding onto her phone?

  14           A.   I don't recall any of that.

  15           Q.   Were there ever occasions when Pasco deputies

  16    came to the residence to speak to Donnie and you told

  17    them that he was asleep, so they agreed to come back

  18    later?

  19           A.   I don 1 t recall.

  20           Q.   Do you know when i t was that Donnie was first

  21    designated as a prolific offender?

  22           A.   I didn't know about this whole program until i t

  23    was happening to us.       I didn't know about what all this

  24    was.

  25           Q.   Well, at some point did a deputy tell you that
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 56 of 127 PageID 2680

                                                                             56

   1    the reason that they were making some of the visits was

   2    because of Donnie's status as a prolific offender?

   3        A.      I think at some point I was advised, but not

   4    until later on after like this had been going on and

   5    they kept coming and coming and coming and coming.

   6        Q.      Do you remember how i t was you first learned

   7    that Donnie had at any point been labeled as a prolific

   8    offender?

   9        A.      I don't recall when.

  10        Q.      All right.     The first one that I see that is

  11    labeled as a prolific offender check for Donnie -- and

  12    what am I up to now, 17?

  13                MR. HOLBORN:    Yes .

  14                (Exhibit No. 17 was designated to be marked for

  15        identification.)

  16   BY MR . POULTON:

  17        Q.      -- is dated May 14, 2017.        There may be others.

  18    I'm just saying this is the first one that I'm seeing as

  19    we're going through this.           I mean, we'll all look at i t

  20    at some point together, but I ' l l ask you if I remember

  21    this incident based on the notes from the Sheriff's

  22    Office.     It's dated May 14, 2017.        The address is 3229

  23    Primrose Drive.     You see in the nature field here i t

  24    says prolific offender check, and then the note says I

  25    attempted to make contact with the listed prolific
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 57 of 127 PageID 2681

                                                                             57


   1    offender.     I made contact with Tammy Lynne Heilman.        She

   2    advised me that he was sleeping.        She did not wish to

   3    wake him up.        He has not been involved in any criminal

   4    activity.

   5                Does that refresh your memory at all?

   6        A.      No.

   7        Q.      Okay.

   8        A.      He didn't do anything.     So, I mean, they were

   9    just coming to check on my child that's sleeping.

  10        Q.      Right.     And you didn't want to wake him up, and

  11    then you told them that he had not been involved in any

  12    criminal activity, and that's all that 1 s reported in the

  13    document.     I'm just wondering if you remember anything

  14    about it, if you remember anything differently or more

  15    or less than what is written here?

  16        A.      It just says he was not -- he has not been

  17    involved in any criminal activity.        I mean, no, I don't

  18    recall.     They were at the house so many times, I don't

  19    recall.

  20        Q.      Well, I guess my question is do you have any

  21    reason to disagree with the information contained in

  22    that report?

  23        A.      I -- No.     I mean, I can't object to something I

  24    don't recall.

  25                MR. POULTON:     Are you okay to go about another
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 58 of 127 PageID 2682

                                                                             58

   1        fifteen minutes, maybe ten, and what I ' l l do is

   2        we 1 l l take a little bit longer break than I thought,

   3        and we 1 11 take like an hour and fifteen minutes so I

   4        can have any associate gather those 2015 reports and

   5        get them to you, and give you a little extra time?

   6        That okay?     Go about ten more minutes?

   7              MS. BROTHERS:     Are you okay with ten minutes?

   8              THE WITNESS:    Yes.

   9              MR. POULTON:    Okay.   So you get a little bit

  10        longer break for lunch.

  11              I think I'm up to Exhibit 18 or 19.        What do

  12        you think, Madam Court Reporter?        What am I up to?

  13              COURT REPORTER:     18, sir.

  14              MR. POULTON:    18, okay.

  15              (Exhibit No. 18 was designated to be marked for

  16        identification.)

  17    BY MR. POULTON:

  18        Q.    So 18 is an event report dated June 15, 2017.

  19    You see i t has your address?

  20        A.    Yes.

  21        Q.    Right.   And it's listed as a prolific offender

  22    check.   Looks like 8:30 in the morning Corporal Brock

  23    and whoever the deputy is that 1 s responding -- i t will

  24    be by number -- state they made contact with Donnie

  25   McDougall.    Advised he 1 s been staying out of trouble and
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 59 of 127 PageID 2683

                                                                             59

   1    is currently in a relationship with Jasmine Young.

   2         A.     Okay.

   3         Q.     Now is Jasmine Young his girlfriend currently

   4    or then or -- I 1 m trying to just get i t straight in my

   5    own head.

   6         A.     Well, i t says there that it was his girlfriend,

   7    so

   8         Q.     Right.

   9         A.        I would have to say that that's his

  10   girlfriend.

  11         Q.     Well, what -- Donnie's in -- currently

  12    incarcerated; correct?

  13         A.     Correct.

  14         Q.     Was there a battery associated on a young lady

  15    that led to that?

  16         A.     Not that I am aware of, no.

  17         Q.     Okay.    Were you aware that he had been arrested

  18   at some point for domestic violence on like a pregnant

  19   girlfriend?

  20         A.     Yes.

  21         Q.     Was that Jasmine Young or somebody else?       Do

  22   you recall?

  23         A.     That was not Jasmine, no.

  24         Q.     Okay.    Do you remember Jasmine Young?

  25         A.     Yes, I do.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 60 of 127 PageID 2684

                                                                             60


   1        Q.    Okay.   But then Donnie went on to advise that

   2    he believed that Brenden Showalter might be involved in

   3    car hopping in an unknown area of Pasco.        Do you

   4    remember Brenden Showalter?

   5        A.    Yes.

   6        Q.    Can you elaborate on that at all what was going

   7    on with that?

   8        A.    Well, i t looks to me that my son is not in any

   9    trouble here, you're doing a check, and that he offered

  10    information because they probably came out and were

  11    saying that there was someone doing car hopping.          So

  12    they came to my son, and my son is telling them somebody

  13    that he knows of that is possibly doing this type of

  14    thing is what this is right here.

  15        Q.    Okay.   Well, did you have -- did you ever talk

  16    to Donnie about what was going on with car hoping or

  17    Brenden Showalter?

  18        A.    I don't recall, no.

  19        Q.    And just so we're clear, let me make sure we

  20    have the same definition.      Car hopping is auto

  21    burglaries; right?

  22        A.    That's what -- yes.

  23        Q.    Did you ever have any conversations with Donnie

  24    where he acknowledged to you that he had at any point

  25    engaged in car hopping?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 61 of 127 PageID 2685

                                                                             61

   1        A.      When he was initially -- when he was charged

   2    with car hopping or burglary of a vehicle was really

   3    when I found out about it.

   4        Q.      Okay.   Do you know if he was like involved with

   5    any sort of a group of juveniles that organized and

   6    called themselves any sort of a name?

   7        A.      Not to my knowledge, no.

   B        Q.      Okay.   Have you ever heard of the name or the

   9   phrase The Squad?

  10        A.      No.

  11        Q.      Okay.

  12        A.      I've never heard that before.

  13        Q.      It's in connection with a different person I

  14    will just tell you.        I'm sure your lawyer will update

  15    you, but I was just wondering if there might have been

  16    any connection there?

  17        A.      Oh, not that I'm aware of, no.

  1B                MR. POULTON:    Okay.   I tell you what.   You know

  19        what?     Now is a good time to stop because there are

  20        some videos that I wanted to show you, at least one.

  21        So let,s go ahead and take a break until one.          And,

  22        Counsel, what I will do in the meantime is the

  23        reports that I have for 2015 we will email to you.

  24        Okay?     And then we can go back if we need to to

  25        those.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 62 of 127 PageID 2686

                                                                             62


   1              MS. BROTHERS:     And we'll get the 2014 and

   2        earlier reports?

   3              MR. POULTON:     Right, right.       We'll get those to

   4        you as well.     I   just want to get the '15 ones now,

   5        there's only I think four or five, just so you could

   6        have them for the deposition.

   7              MS. BROTHERS:     Right.     Okay.

   8              MR. POULTON:     Okay?     All right.    And I'm sorry

   9        if there's been any confusion over that on our end,

  10        but we'll get you that.         We'll get you all of them

  11        whether we talked about them today or not.

  12              MS. BROTHERS:     Great.

  13              MR. POULTON:     Okay.     So let's come back at one,

  14        and I will have my associate email you that other

  15        material.

  16              MS. BROTHERS:     Okay.

  17              MR. POULTON:     All right.     Thank you.

  18              (A break was taken at 11:45 a.m., and the

  19        deposition resumed at 1:00 p.m.)

  20   BY MR . POULTON:

  21        Q.    All right.     Ms. Heilman, we went back and

  22   provided some of the reports that we might talk about to

  23   your counsel.      And, you know, if we come across one that

  24   you don't remember and want to take a look at as we go

  25   again, just let me know and I ' l l put i t up on the screen
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 63 of 127 PageID 2687

                                                                             63

   1    and let you read i t through.

   2              Let me ask you -- and I'm going to finish kind

   3    of where I left off moving forward and then go back to

   4    2015.

   5              There was an incident reported -- I guess i t

   6    was Mr. Zander, your husband, reported that Donnie had

   7    pointed a revolver at him in March of 2018.         Do you have

   8    any knowledge of that?

   9        A.    I wasn 1 t home at the time.      So I can't say

  10    either way.    I wasn't there.       I didn't witness anything.

  11        Q.    Did you hear about it?

  12        A.    I heard about it.

  13        Q.    From Mr. Zander?

  14        A.    Both.

  15        Q.    Oh, from both?     Okay.    Do you know who called

  16    law enforcement during that incident?

  17        A.    I believe i t was Mr. Zander.

  18        Q.    Do you know what caused it?

  19        A.    Again, I wasn't there.        So I'm not really sure

  20    what exactly transpired.

  21        Q.    Okay.   Were you home when Donnie was

  22    interviewed regarding that incident or another incident

  23    the next day coming back from Pinellas County?

  24        A.    I don't recall.

  25        Q.    Okay.   Do you know whether Donnie McDougall was
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 64 of 127 PageID 2688

                                                                               64

   1    ever served with a domestic violence injunction order?

   2        A.     I believe so.

   3        Q.     Do you know what the -- what led to that?

   4        A.     Who are you referring to?

   5        Q.     Well, I don't know.           That's part of what I 1 m

   6    asking.    I guess we could go back and look at the

   7    reports.     I ' l l share screen.

   8               MR. POULTON:     This will be Exhibit 19.         Is that

   9        right?

  10               COURT REPORTER:        Yes.

  11               (Exhibit No. 19 was designated to be marked for

  12        identification.)

  13    BY MR. POULTON:

  14        Q.     Okay.     Let's see.      The date of the report is

  15    9-17-18 on Primrose Drive address, domestic violence.

  16    Donnie McDougall was served with the domestic violence

  17    injunction.     I don't think this -- I don't think this

  18    particular document tells us who applied for i t and

  19    obtained it.       Do you happen to remember it?

  20        A.     No, I do not.

  21        Q.     Was there a point at which Mr. Zander forced

  22    Donnie to move out?

  23        A.     What do you mean by forced?

  24        Q.     Well, that's -- I guess that's subject to

  25    interpretation.      Was there a point at which Mr. Zander
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 65 of 127 PageID 2689

                                                                             65


   1    demanded that Donnie McDougall move out?

   2        A.    No.

   3        Q.    I ' l l show you -- this will be number 20.      This

   4    is an a CAD report from the Sheriff's Office dated

   5    9-29-18, Primrose Drive.      It's a prolific offender

   6    check.   All right.    I ' l l let you just read the notes

   7    section there.

   8               (Exhibit No. 20 was designated to be marked for

   9        identification.)

  10    BY MR. POULTON:

  11        Q.    Do you see this line here that the deputy is

  12    speaking with Anthony McDougall, and Anthony McDougall

  13    said -- he stated their stepdad Jeff kicked him out

  14    about a month ago.     Do you see that?

  15        A.    Okay.

  16        Q.    First of all, were you there during this

  17    conversation between Anthony McDougall and the deputies?

  18        A.    Please don 1 t do that.

  19        Q.    I 1 m so sorry.   I ' l l ask -- I was moving up and

  20    down in the report to the see if there was any other

  21    information for us there .

  22              I ' l l ask the question again.    Were you present

  23    when the deputies had this conversation with Anthony

  24    McDougall about Jeff having kicked out Donnie about a

  25    month prior?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 66 of 127 PageID 2690

                                                                             66

   1          A.   Well, i t says here that they met with Anthony,

   2    so I 1 m gonna say no.

   3          Q.   Do you remember one way or the other whether

   4    you were present?

   5          A.   No.

   6          Q.   Do you recall an incident in 2019 -- this would

   7    be in March of 2019 -- when you had advised that a

   8    nephew of yours threatened to slit your throat and kill

   9    everyone in the house?

  10          A.   No.     Do you have something to review?

  11          Q.   Yeah, I don't know that I have that one.

  12          A.   That's a pretty big accusation.      I'd like to

  13    see

  14          Q.   Yeah, I -- Give me just a second.       Let me see

  15    if I can't locate that.       Hang on.

  16               Okay.     I do have that one.   This will be what,

  17    Exhibit 21 I think we're up to.

  18               (Exhibit No. 21 was designated to be marked for

  19          identification.)

  20    BY MR. POULTON:

  21          Q.   This one may take a little while to read

  22    through if you 1 ve not seen i t before, but the date of

  23    this incident report is March 25, 2019, and you see that

  24    the location of the incident is 3229 Primrose Drive;

  25    correct?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 67 of 127 PageID 2691

                                                                             67


   1        A.    Correct.

   2        Q.    And I ' l l just let you start reading there.      You

   3    let me know when you're ready for me to toggle down.

   4        A.    You can scroll down.

   5        Q.    Okay.

   6        A.    Go ahead and scroll down.

   7              You can scroll down.

   8        Q.    Okay.

   9        A.    Okay.

  10        Q.    All right.    So there's a lot going on here in

  11    this one, but i t looks like as I understand i t the

  12    initial report came in to Child Protective

  13    Investigations and deputies came out to investigate.          Do

  14    you remember how all that transpired?

  15        A.    Well, i t just shows right here what happened.

  16    They interviewed everybody.

  17        Q.    Okay.   But do you know how i t was -- This was

  18    in March of 2019; correct?

  19        A.    That's what i t said, yes.

  20        Q.    Well, I mean, do you have         is your memory any

  21    different?

  22        A.    What do you mean?

  23        Q.    Well, if the report indicates that the response

  24    to the agency or response by the agency was on March

  25    25th regarding an incident occurring on March 24th, do
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 68 of 127 PageID 2692

                                                                             68


   1    you have any reason to disagree with that?

   2          A.   I don't even recall the date, so --

   3          Q.   Okay.

   4          A.   That's what it's saying.       Then I can only

   5    assume that that's the correct date.

   6          Q.   Okay.   And who is Camron Heilman?

   7          A.   That's my nephew.

   8          Q.   That's your nephew.    Okay.     Is that the son of

   9    your brother?

  10          A.   Correct.

  11          Q.   This is the brother who currently lives with

  12    your parents?

  13          A.   Correct.

  14          Q.   Was Camron living at your house at the time?

  15          A.   Yes.

  16          Q.   Why?

  17          A.   Because I had custody of him.

  18          Q.   You had custody of Camron.       Okay.    How long had

  19    Camron been living at the house?

  20          A.   (No response . )

  21          Q.   That's a poorly-worded question.         Let me reask

  22    it.

  23               Do you remember -- do you remember

  24    approximately how 1ong Camren had been living at the

  25    house prior to incident in late March of 2019?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 69 of 127 PageID 2693

                                                                             69

   1        A.    So he was living there -- I had him since he

   2    was ten months old, so --

   3        Q.    Okay.

   4        A.    And this was -- so like I had him for -- he was

   5    born in seven.

   6        Q.    Okay.   So roughly eleven years?

   7        A.    Yes.    I'd say, yeah, probably around eleven

   B    years.

   9        Q.    Okay.   All right.    And according to the first

  10    page of the substantive notes, there was an altercation

  11    -- a physical altercation between Mr. Zander and Camron.

  12   Did you witness that interaction?

  13        A.    No.

  14        Q.    Did you tell the deputy as reported here about

  15    an incident where you asked Camron to assist with chores

  16    and the dishes, he refused, his wifi was disconnected,

  17    and he then stated to you things such as, "I'll do

  18    whatever the fuck I want.      Fuck you, you fat bitch.

  19    I'll fucking slit your throat.       I ' l l kill you and

  20    everyone in this house"?

  21        A.    Well, what are you asking me?

  22        Q.    Well, I 1 m asking you first do you remember

  23    telling the deputy that Camren had said these things?

  24        A.    This was a long time ago.       If i t says i t in the

  25    report that that 1 s what I said, then that's what I said.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 70 of 127 PageID 2694

                                                                             70


   1        Q.    Well, I mean, did that happen?           Did Camron say

   2    those things to you?

   3        A.    I don't remember.

   4        Q.    So Camron would have been about twelve?

   5        A.    Yes.

   6        Q.    And this was in 2019.       So i t was a little less

   7    than that three years ago and you don't remember --

   8        A.    No.

   9        Q.    Let me finish the question.       You don't remember

  10    that a little less than three years ago your

  11    twelve-year-old nephew was telling you,       11   1 1 11 do

  12    whatever the fuck I want.        Fuck you, you fat bitch.

  13    I ' l l fucking slit your throat.     I'll kill you and

  14    everyone in this house 11   --   you don't remember that?

  15        A.    I don't remember exactly what transpired.

  16        Q.    Okay.

  17        A.    You know, I don't remember every word that's

  18    ever been said out of anybody's mouth on that specific

  19    date.

  20        Q.    Do you remember any conversation like that with

  21    Camren at all ever?

  22        A.    I mean, i t wasn't like him to speak like that.

  23    So, I mean, I really don't recall.        I recall there being

  24    an incident at some point, but I don't recall -- I mean,

  25    I'm reading i t here, but I don't recall all of the
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 71 of 127 PageID 2695

                                                                             71


   1   details.

   2          Q.    Do you know whether or not it was -- Well,

   3    okay.      You'd had interaction with Child Protective

   4    Investigative Services before; correct?

   5          A.     For?

   6          Q.    Anything?    Donnie, Anthony, any of the other

   7    children, Tyler?

   8          A.    Not to my knowledge.    No, I don't believe I

   9   had.

  10          Q.    Was this the first time you recollect Child

  11   Protective Investigative Services being involved?

  12          A.     Yes, I believe so.

  13          Q.    Okay.   Do you remember Camren being Baker Acted

  14   as a result of this incident with Mr. Zander and the

  15   fight over the beer?

  16          A.    Allegedly.    Now i t says here if you read i t - -

  17   can you please stop doing that?         I can 1 t read i t while

  18   you're moving it.

  19          Q.     I'm just trying to find the place where i t 1 s

  20    listed.     Go ahead.

  21          A.     I remember taking him to the Baker Act, yes.

  22          Q.    Do you remember why you were taking him?       And

  23    this is Camron.      Do you remember why you were taking

  24   Camren to Baker Act?

  25          A.    Because he had been acting out and he needed
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 72 of 127 PageID 2696

                                                                             72


   l    some type of help.     He was off the wall.     Obviously,

   2    saying things like that, he needed some help.

   3         Q.   Okay.   Before you move on and before I forget,

   4    I   just want to go back to that first set of questions

   5    that we were talking about about the scope the damages

   6    and then your comment on the heart attack, and I just

   7    wanted to make sure that we were all still on the same

   8   page that the damages that you're claiming in the case

   9    are financia1 damage you're claiming in the case are the

  10    one dollar in nominal damages plus you seek

  11    reimbursement for the code violations and any costs

  12    associated with those, and reimbursement for expenses

  13    related to your criminal cases.       Am I correct?

  14         A.   That's correct.

  15         Q.   So you're not claiming damages for anxiety or

  16   emotional pain and suffering in this case; correct?

  17         A.   That's correct.

  18         Q.   Do you recall an incident in April of 2019

  19    where there was a altercation between Jeff Zander and

  20   Anthony McDougall over Jeff's medical marijuana which

  21    led to a physical altercation and Anthony being sent to

  22    a adult or to a youth diversion program?

  23         A.   I don't remember the details.

  24         Q.   Well, do you remember the incident at all?

  25         A.   Vaguely.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 73 of 127 PageID 2697

                                                                             73


   1        Q.    Do you know who i t was that called the

   2    Sheriff 1 s Office on that occasion?

   3        A.    No.

   4        Q.    Was there a time in June of 2019 where --

   5              I1m sorry?     Oh, I    thought I   heard something.

   6    Sorry.

   7              Do you recall a time in June of 2019 where

   8    there was a concern that one of your children had been

   9    the subject of a alleged sexual battery and you allowed

  10    deputies to speak to the child but did not believe that

  11    the deputies would -- or that she would speak with you?

  12        A.    Yes.

  13        Q.    What was that about?

  14        A.    Well, pull up the report.

  15        Q.    I 1m looking for that particular one, but I'm

  16    just curious as to what your memory was if you have one

  17    of it.   Was this Tyler or one of the other children?

  18        A.    One of the other children.

  19        Q.    Okay.

  20              MR. POULTON:     Let's see.     I'm on what now ,

  21        Exhibit 21?

  22              COURT REPORTER:        22.

  23              MR. POULTON:     22.     Thank you.

  24              (Exhibit No. 22 was designated to be marked for

  25        identification.)
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 74 of 127 PageID 2698

                                                                             74

   l   BY MR. POULTON:

   2        Q.    So this is a report -- incident report dated

   3    June 18, 2019, listed as juvenile problem/disturbance.

   4    The people that are listed there is Camron Heilman,

   5                      , and Nautica Sky Walters.     We already

   6    talked about Camron and              , but who is Nautica?

   7        A.    That was my son's girlfriend who lived with me.

   8        Q.    Anthony's girlfriend or Donnie's?

   9        A.    Donnie's.

  10        Q.    Let you read the substance of it.

  11        A.    Yes, I remember.

  12        Q.    Okay.   Do you remember who i t was that would

  13    have reported this to either law enforcement or to Child

  14    Protective Investigation?      Do you know how that

  15    transpired?

  16        A.    Yeah, I'm not sure who did because when this

  17    happened, I freaked the hell out to be honest with you.

  1B   This is my little girl, you know, and I freaked out as

  19   any parent would and called my parents and told them to

  20    come get him.     He has not been back since.      So I took

  21    care of the situation.

  22        Q.    This was Camren -- you had your parents come

  23   get Camren?

  24        A.    Yeah.

  25        Q.    Is that when Camren left the house for good?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 75 of 127 PageID 2699

                                                                               75


   1           A.      Yes.

   2           Q.      Okay.

   3           A.      So I'm not really sure who made a call 'cause,

   4    like I said, we had already taken care of the situation.

   5    There was no need to put my children through this and

   6    put their             You know, i t was terrifying enough I'm

   7    assuming for my child.           But, yeah, I'm not sure who made

   8    the         who made the report.

   9           Q.      Okay.

  10           A.      Does i t say in here?

  11           Q.      I think i t might, but I'm not sure that         that

  12    might be protected by the statute.           So I 1 ll talk to your

  13    lawyers about that.           If you don't know, that's good for

  14    our purposes and we'll just -- we'll deal with that a

  15    bit later.

  16           A.      It may have been a friend of mine because I had

  17    told my friend what had happened and she --

  18           Q.      She might have

  19           A.      That's the only person -- like I only -- I just

  20    told one person 'cause that's quite embarrassing and --

  21           Q.      Okay.     Go ahead.   I didn't mean to interrupt

  22    you.        Go ahead.

  23           A.      Yeah.     I didn't want my children to go through

  24    any more than they already had to, so

  25           Q.      Please understand I'm not        I don't have the
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 76 of 127 PageID 2700

                                                                             76


   1    least bit of interest in embarrassing you about this

   2   either by pointing it out.           I'm just -- part of the case

   3    is trying to distinguish between those incidents where

   4    law enforcement are coming out for prolific offender

   5    check versus incidents where it's some other cause.

   6   Okay?       So I'm just trying to understand -- you know, get

   7    kind of a broad view if you will of the different types

   8    of interactions that might be going on.          Some are

   9   prolific offender checks and some are not, would you

  10    agree?

  11          A.     Yeah.

  12          Q.    Okay.     All right.    Do you know what the outcome

  13    of that was?         Did Child Protective Investigations do

  14    anything?

  15          A.     They spoke -- they met up with my mom and my

  16    nephew, and they spoke with him.          I don't know if

  17    anything was done because we kind of took care of i t

  18    ourselves.      We separated, you know, took him away from

  19    the situation.         So I don't know what -- what more they

  20    could have done.        As far as I know, that was the end of

  21    it.

  22          Q.    One sec here .

  23                All right.      I am back.

  24                Let's see here.        In July of 2019, do you

  25    remember deputies being called out to your residence
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 77 of 127 PageID 2701

                                                                             77

   l   because of a ongoing dispute between Donnie and another

   2    teen named Marcus Garmon?

   3          A.     The name sounds familiar, but I'm not sure.

   4           Q.    Okay.     Let me show you a report to see if

   5    this        well, I ' l l show you the report and just let you

   6    read it.       See if it helps with your recollection of

   7    this.       So this will be exhibit twenty whatever I'm on,

   8    twenty

   9                 COURT REPORTER:     23.

  10   BY MR. POULTON:

  11           Q.     -- 23.    It's a incident report dated June 26,

  12    2019.

  13                  (Exhibit No. 23 was designated to be marked for

  14           identification.)

  15    BY MR. POULTON:

  16           Q.     I 1 ll go down to the -- it's apparently Nautica

  17   Walters who called.

  18           A.     Oh, okay.

  19           Q.     I ' l l just let you read that.   Let me know when

  20    you         if this -- when you get to a point where you

  21    remember it.

  22           A.     Yes, I do remember.

  23           Q.     Okay.    What do you remember about this

  24    incident?

  25           A.     I remember Marcus was somebody that would just
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 78 of 127 PageID 2702

                                                                             78


   1    -- he didn't live in Florida, live in Florida.          He came

   2   down here and would visit.         My son just knew him 'cause

   3    he was friends with -- Marcus is a friend of            who was

   4    a friend of mine actually -- a friend -- I have a friend

   5    Stacy, and her son -- she moved here from Ohio.          So this

   6    is somebody that she knew from Ohio.           He's around my

   7    son's age, so -- and she also has teenagers as well.            So

   B    they would come down here and visit.           So we didn't like

   9    know them from anywhere else other than from her.           So my

  10    son like was friends with them -- became friends with

  11   him.        So I didn't really personally know him, but he was

  12    just somebody that he became friends with while he was

  13   here.       And Marcus was       i t says here that they were

  14    involved in a car crash, and that's what happened was

  15   Marcus had stole some of my son's things, and he

  16   confronted him about it, and then he told him that he

  17   was gonna shoot up my house.          He was gonna pour gas all

  1B   over, set my house to fire, all kinds of things.

  19          Q.     Excuse me.     This was Marcus saying this?

  20          A.     Yes, yes.

  21          Q.     Okay.    And so as I read i t Nautica, you son's

  22   girlfriend, called the police -- the Sheriff's

  23   Department to report this ongoing feud because she was

  24   getting concerned about the threats from Marcus; fair?

  25          A.     Right.    She's getting -- yes.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 79 of 127 PageID 2703

                                                                             79


   1        Q.    Okay.    And the indication here is they spoke to

   2   you and that you were aware of the fight.         So in this

   3   particular one the threats are against Donnie

   4    specifically, but then just you -- you and the house --

   5   everybody in the house as well; fair?

   6        A.    Correct.     Yes.

   7        Q.    Okay.    Now Nautica -- was Nautica pregnant at

   8   this point?

   9        A.    I'm not sure if she was or not.

  10        Q.    Was there a point at which the Sheriff's Office

  11   was called because Donnie had - - was alleged to have

  12   beaten her up?

  13        A.    There was a -- yes.

  14        Q.    What can you tell me about that incident?         What

  15   do you remember?

  16        A.    It was actually a feud between my daughter and

  17   my son going back to the sibling rivalry.

  18        Q.    This would be Tyler?

  19        A.    Correct.

  20        Q.    All right.     So go ahead.   I didn't mean to

  21   interrupt.    I'm just trying keep everybody straight.         Go

  22   ahead.

  23        A.    Right.     So my daughter and son had a

  24   confrontation between each other, and she didn't want my

  25   son there.    Like I    said, they had -- they loved each
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 80 of 127 PageID 2704

                                                                             80

   1    other, but they -- i t was a love-hate relationship.         So

   2    she had actually was the one that called the police and

   3    said that that had happened, which i t did not happen,

   4    and she even told them that i t didn't happen, so -- but

   5    my son wasn't there when they came.

   6        Q.      Do you know if there was any sort of an outcome

   7    in any of Donnie's criminal cases as a result of that

   8    incident?

   9        A.      I 1 m not sure I understand.

  10        Q.      Well, was Donnie McDougall on probation at the

  11    time?

  12        A.      Yes.

  13        Q.      Do you know whether or not his probation was

  14    violated?

  15        A.      Yes, his probation was violated.

  16        Q.      And do you know what the outcome of that was,

  17    that probation violation?      Was i t sustained or

  18        A.    Well, he went to -- they arrested him for his

  19    violation, and he was in jail, and I guess they told him

  20    not to speak with her because she was a victim, and he

  21    thought at this point that she was pregnant with his

  22    child, so he still spoke with her.         And because of that,

  23    he got himself in trouble for that, yes.

  24        Q.      Okay.   So they violated his -- was he in jail

  25    as a result of this report that he had beaten up Nautica
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 81 of 127 PageID 2705

                                                                             81

   1    and then as a condition he was supposed to not speak to

   2    Nautica, but then he did, and so his probation was

   3    vio1ated?     Have I got i t right?

   4         A.     I mean, he was arrested when he went to -- he

   5    turned himself in to his probation because the police

   6    wanted to speak with him, and he didn't live in the --

   7    he didn't live with us.      So when he turned himself in to

   8   probation, I guess the officers that wanted to talk with

   9   him or whatever, but you're not allowed to have any

  10   contact at all with law enforcement when you're on

  11   probation, so he was violated.         And while he was in

  12    there awaiting to go to trial or whatever, he was

  13   advised by the judge I guess not to speak with her, and

  14   he had been speaking with her.         So he violated that

  15    judge's order.

  16         Q.     Is that when Donnie went to prison?

  17         A.     Yes.

  18         Q.     Do you know what the -- what he was convicted

  19   of?

  20         A.     He was convicted of the charge because they

  21   said that either way he was gonna get convicted with the

  22   charge.      They weren't lowering i t or they weren't doing

  23   anything with it.      So he would either take the charge

  24   for four years, or he would take i t to trial and they

  25    told him you're not gonna win, you're gonna end up doing
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 82 of 127 PageID 2706

                                                                             82

   1    eight years.       So he took the -- he took the charges.

   2        Q.     Okay.     So he ultimately -- your understanding

   3    is he ultimately pled guilty to a battery on Nautica?

   4        A.     He had no other option.     There was no other

   5   choice.

   6        Q.     Okay.     I understand you're giving the reason,

   7   but I'm just trying to understand the sequence of

   8   events.

   9               So he gets arrested .    There's a probation

  10   violation in association with it, and he ends up

  11   pleading guilty to physically battering Nautica;

  12   correct?

  13        A.     I mean, he didn't take i t to trial.      So he

  14   didn't get his chance to actually speak and say what he

  15   wanted to.      But, yes, I guess in essence that is what

  16   happened.

  17        Q.     And your explanation is that i t didn't actually

  18   happen, but that his alternative was to go to trial, and

  19   if he lost at trial, he was told, perhaps by his

  20   attorney, that he could be facing a longer sentence?

  21        A.     Correct.    It was in his best interest to just

  22   plead out to i t regardless and to take the -- whatever

  23   they were giving him -- they were offering.

  24        Q.     Okay.    Do you recall an incident in September

  25   of 2019 when your husband contacted the Sheriff's Office
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 83 of 127 PageID 2707

                                                                              83

   1    to complain that Anthony was threatening him, meaning

   2   Mr. Zander?

   3          A.     I don 1 t recall.

   4          Q.     All right.      Let's see if I have a report for

   5    that.      All right.     We'll put i t up on the screen for

   6   you.

   7          A.     Okay.

   8                 :MR. POULTON:     This will be Exhibit 24?

   9                 COURT REPORTER:      Yes.

  10                 (Exhibit No. 24 was designated to be marked for

  11          identification.)

  12   BY :MR. POULTON:

  13          Q.     September 28, 2019.         You see the caller is

  14   Joseph Zander and --

  15          A.     I don ' t know   a Joseph Zander.
  16          Q.     He's Jeff Zander; right?

  17          A.     Correct.     But that's -- the information is

  18   incorrect then.

  19          Q.     I understand, but it's 3229 Primrose Drive;

  20   correct?

  21          A.     That part's correct.

  22          Q.     Okay.   Let's see here .       Caller advised that

  23   stepson is threatening him, name Anthony McDougall .

  24   Made contact with Joseph.           He advised of a verbal

  25   argument with stepson Anthony.              No physical contact.   I
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 84 of 127 PageID 2708

                                                                             84


   1    attempted to speak with Anthony, but he had departed the

   2    location.     Do you see that?

   3        A.      I do see that.

   4        Q.      Okay.   Had you heard anything about that from

   5    Mr. Zander or from Anthony?

   6        A.      I mean, it's not giving me very much

   7    information here.      It just says that he called and that

   8    there was -- there was no physical altercation or

   9    anything.     So I'm not really sure.

  10        Q.      Okay.   Well, the note is that the stepson,

  11    meaning Anthony McDougall, was threatening Mr. Zander,

  12    and I'm just wondering if you had any information one

  13    way or the other whether that happened or whether the

  14   phone call was made to the Sheriff's Office by

  15   Mr. Zander or what the outcome was?

  16        A.      Yeah, I can't say whether --

  17        Q.      Okay.

  18        A.      I don't know.

  19        Q.      Do you recall an incident in December of 2019,

  20   December 5th, where Mr. Zander could see your son

  21   Anthony throwing things around the house trying to break

  22   any cameras that you had installed?

  23        A.      No,

  24        Q.      This is Exhibit 25 I believe now.      This is a

  25   CAD report dated December 5.       This time they have him as
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 85 of 127 PageID 2709

                                                                             85


   1    Jeff Dander.

   2        A.     Nice.

   3        Q.     Yeah, well -- and it's 3229 Primrose Drive.

   4               MR. HOLBORN:    Tom, I have this down as 26.

   5               MR. POULTON:    Sorry.     26 then.

   6               MR. HOLBORN:    Is that correct?

   7               COURT REPORTER:    I have i t down as 25.       Really?

   8               MR. HOLBORN:    Do you?     Okay.

   9               MR. POULTON:    Well, then maybe we missed one.

  10               MR. HOLBORN:    I'm sorry.      Did you do 8490?    I

  11        have that down for 24.

  12               COURT REPORTER:    For 24 I have the date of 9-28

  13        of '19.

  14               MR. POULTON:    Okay.     No.   I missed one.    It's

  15        my fault.      Madam Court Reporter, you say for 24 you

  16        have

  17               COURT REPORTER:    9 - 28 of '19.

  18               MR. POULTON:    Okay.     Let's do this.   Let's

  19        leave that at 24.

  20               COURT REPORTER:    Okay.

  21               MR. POULTON:    And we will make Exhibit 25 the

  22        report dated 7-10-2019.

  23               (Exhibit No. 25 was designated to be marked for

  24        identification.)

  25               MR. HOLBORN:    Thank you.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 86 of 127 PageID 2710

                                                                             86


   1              MR. POULTON:      So we're just -- we've got them

   2        slightly reverse order there, but just for ease of

   3        the court reporter.

   4               COURT REPORTER:       Okay.    And then for 26 it's

   5        going to be 12-5 of      1
                                         19?

   6              MR. HOLBORN:      Right.

   7               COURT REPORTER:        Okay.   Thank you.

   8               (Exhibit No. 26 was designated to be marked for

   9        identification.)

  10   BY MR. POULTON:

  11        Q.     So let's just take a look at what the notes are

  12   here.     Caller at work watching video camera, and son is

  13    throwing stuff in house trying to break video cameras.

  14   Do you recall having video cameras set up inside the

  15   house?

  16        A.    No.

  17        Q.     Says son at home with wife Tammy -- Heilman,

  18   Tammy.    Do you see that?

  19        A.     I do see that.

  20        Q.    Okay.   And then upon arrival I made contact

  21   with homeowner Tammy Heilman who advised everything is

  22   okay at the residence.        Tammy advised she told her son

  23   Anthony not to invite any girls at the residence.            She

  24   advised he did not like i t and became upset.           Further

  25   advised Anthony left the residence on foot to cool off.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 87 of 127 PageID 2711

                                                                             87


   1    No further action.

   2              Does that refresh your memory at all?

   3        A.    Not really.

   4        Q.    Okay.    But you didn't have cameras     in   the home?

   5        A.    Not in my house, no.

   6        Q.    Do you know why Mr. Zander might have called

   7    the Sheriff 1 s Office to say that he was at work and

   8    watching video cameras and that Anthony was throwing

   9    things around the house trying to break the cameras?

  10        A.    Probably because he -- I mean, you can look at

  11    these reports and see that my husband has called on my

  12    kids prior times.      So there's obviously -- he's the

  13    stepfather.    So there's obviously friction between them.

  14        Q.    Okay.    And so I meant to ask -- we have -- you

  15    know, as you're well aware, there's body cam video

  16    footage for some of the incidents in the case from the

  17    Sheriff 1 s Office.   Did you make any of your own videos

  18    of your interactions with Pasco County deputies at any

  19    time?

  20        A.    I used to have surveillance at my house, but I

  21   don't have any any longer.       Well, I don't have -- that's

  22    not correct.      I do have some now, but at the time my --

  23    what recorded all of the information had broke.           So I

  24   don't have access to any of my footage.         It's gone.

  25        Q.    So you had the cam- -- when we say that at the
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 88 of 127 PageID 2712

                                                                               88


   1    time, let 1 s be specific.         Okay?     So let 1 s say -- well,

   2    do you recall when i t was you put cameras in?

   3        A.     Well, I had cameras back then when these things

   4    were happening.

   5        Q.     Okay.       So say 2015 forward?

   6        A.     Probably somewhere around there.             But at one

   7   point the cam.eras stopped working.              So any type of

   8    information that I        would have had I      no longer have.

   9        Q.     So as we sit here today, you don't have any

  10   video yourself of these incidents; correct?

  11        A.     No.     I   wish I   did.   I   really wish I did.

  12        Q.     Are you aware of anybody else having any video

  13   of any of your interactions with the Pasco Sheriff 1 s

  14   Office?

  15        A.     Not to my knowledge.

  16        Q.     Okay.       Did Anthony have a girlfriend named Ava?

  17        A.     Yes.

  18        Q.     Do you recall an incident in April of 2020

  19   where Mr. Zander reported that Anthony had physically

  20   attacked him?

  21        A.     No.

  22        Q.     Let me show you a report for -- this will be

  23   dated       this is number 27 I guess we're on -- April 25 ,

  24   2020 .    You see the address is 3229 Primrose.             The

  25   reported crime was domestic violence .              And go down to
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 89 of 127 PageID 2713

                                                                             89


   1    the thing here and I ' l l just let you read this, and just

   2    let me know when you're ready for me to scroll down

   3    because there's quite a bit to this one.

   4              (Exhibit No. 27 was designated to be marked for

   5        identification.)

   6        A.    I'm a little confused here because i t says here

   7    where i t says after speaking to Jeffrey they said they

   8    met him at the 7-Eleven, but i t says here that he -- i t

   9    doesn't make sense here.

  10    BY MR. POULTON:

  11        Q.    Well, yeah.    I mean, I'm not asking you whether

  12    it's factually accurate.      I'm just seeing if reading

  13    this refreshes your memory of this incident where there

  14    was this allegation against Anthony and the deputies are

  15    called out and they interview everybody i t looks like

  16    including you of being in a verbal confrontation with

  17   Mr. Zander and that -- and that Anthony punched

  18   Mr. Zander in the face.       Do you see where i t says that

  19    you told the deputy that?

  20        A.    Yes, I do see that.

  21        Q.    Okay.   And then there was a -- you stood in

  22    between them trying to break i t up presumably; right?

  23        A.    Yes.

  24        Q.    And then Jeffrey and Anthony engaged in a fight

  25    in the kitchen/dining room area.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 90 of 127 PageID 2714

                                                                             90


   1        A.    Yes, I do see that.

   2        Q.    Okay.   Do you remember telling the deputy about

   3    that?

   4        A.    Vaguely.    This -- I was taking care of my sick

   5    daughter at the time, so I vaguely remember this.         My

   6    husband ended up moving out of the house at this time.

   7        Q.    Mr. Zander?

   8        A.    Yes.

   9        Q.    Has he moved -- he's moved back then since

  10    then?

  11        A.    Yes.

  12        Q.    Okay.   Do you know if Anthony was arrested as a

  13    result of that incident?

  14        A.    I don't recall.

  15        Q.    Do you know if Anthony has ever been listed as

  16    a prolific offender?

  17        A.    I'm not sure.

  18        Q.    Okay.   It's okay if you don't know.       I'm just

  19    asking if you know one way or the other?

  20        A.    No, I don't.

  21              MR. POULTON:    Okay.   Now want to take a quick

  22        break -- restroom break here?       It's 2:00.    We've

  23        been going an hour.      Why don't we do that?     I'm

  24        going to show you just some videos and ask some

  25        questions about them, but we're probably within an
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 91 of 127 PageID 2715

                                                                             91

   1        hour of being finished if that helps with you

   2        scheduling.    Okay?    So why don't take like a quick

   3        ten-minute break .

   4              MS. BROTHERS:     Sound good.

   5              MR. POULTON:     Okay.    Thanks.   Be back in ten.

   6              (A break was taken at 2:00 p.m., and the

   7        deposition resumed at 2:15 p.m.)

   8   BY MR. POULTON:

   9        Q.    All right .    So, Ms. Heilman, I wanted to show

  10   you some videos -- body cam videos some of the

  11   interactions starting with the one associated -- let 1 s

  12   see here -- with I believe this is going to be with the

  13       let 1 s see if this is the right one.        Hang on.   Okay.

  14   It is not the right one.       Hang on.

  15              Okay.   This video is -- the first one I'm going

  16   to show you -- so this will be Exhibit 27?

  17              COURT REPORTER:     28.

  18              MR. POULTON:     Madam Court Reporter, you 1 re on

  19        -- I don't -- Oh, you know what?          Sorry.   I have to

  20        turn on the sound, don't I.        27, correct?

  21              COURT REPORTER:     No, it's 28.

  22              (Exhibit No. 28 was designated to be marked for

  23        identification.)

  24   BY MR. POULTON:

  25        Q.    All right.     This is body cam footage related to
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 92 of 127 PageID 2716

                                                                             92

   1    the citation violation for the chickens.         So let me

   2    share screen.    On my computer this is Extraction 1.1

   3   County Ordinance Chicken, but it's also part of -- there

   4   are two of them.     There are two deputies there.          The

   5   incident number is 16-008432.

   6              COURT REPORTER:     Both videos are you going to

   7        use as 28?

   8              MR. POULTON:    No, no, just the one.      They show

   9        the same thing, just one deputy is standing to the

  10        side and one's closer you can hear better.

  11              MS. BROTHERS:     You can probably put the video

  12        name in the Zoom chat too if that would be useful to

  13        like just copy and paste it.       Only if i t would be

  14        useful to Judy I'm suggesting that.

  15              MR. POULTON:    That's okay.       You know, some of

  16        them have the -- you know, the numbers at the top --

  17              MS. BROTHERS:     Right.

  18              MR. POULTON:    -- in the ton right-hand corner.

  19        This one does not.      Some do, some don 1 t.    I think i t

  20        had to do with the beta testing and whatnot that was

  21        going on, but at any rate that's how it's been

  22        produced to me is Extraction 1.1 County Ordinance

  23        Chicken you can see right there in the lower

  24        left-hand corner.

  25              COURT REPORTER:     Yes.   Okay.    Thank you.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 93 of 127 PageID 2717

                                                                             93


   1    BY MR. POULTON:

   2         Q.    All right.     So I'm just going to play this.

   3    It's about four and a half minutes long.        Then I'm going

   4    to show you some other videos and then just sort of have

   5    some collective questions about them.        Okay?

   6         A.    Okay.

   7               (Video was played at this time.)

   8               MR. POULTON:    Video doesn't start until later

   9         on some these.     Here we go.

  10               (Video was played at this time.)

  11   BY MR. POULTON:

  12         Q.    Let me ask you, can you hear something now?

  13         A.    Yes.

  14         Q.    Just want to make sure it's coming through.

  15   Okay.

  16               (Video was played at this time.)

  17   BY MR. POULTON:

  18         Q.   All right.      I'm going to keep going here in

  19    just a minute, but we're about a minute and twelve into

  20   it.     Can we agree this is your house on Primrose?

  21         A.    Yes, that's correct.

  22               (Video was played at this time.)

  23   BY MR. POULTON:

  24         Q.   All right.      So we're at 1:34 into the video.

  25   Is that your husband Mr. Zander?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 94 of 127 PageID 2718

                                                                               94


   1        A.      Yes.

   2        Q.      Okay.        And you're kind of cutting up a little.

   3    It's probably because I'm playing a video, but I didn't

   4    catch it.     Yes, that is your husband?

   5        A.      Yes.

   6        Q.      Okay.

   7                MR. POULTON:           Are you getting that, Madam Court

   B        Reporter?            She seems a little choppy to me.

   9                COURT REPORTER:           I got it.

  10                MR. POULTON:           Okay.

  11                (Video was played at this time.)

  12   BY MR. POULTON:

  13        Q.      All right.        This is at about 2:50 that you come

  14    to the door; right?

  15        A.      Yes.

  16        Q.      Okay.

  17                (Video was played at this time.)

  1B   BY MR. POULTON:

  19        Q.      Okay .       And we see a little girl here in the

  20   window of the door there.               Is that Tyler or   --
  21        A.      That's             .

  22        Q.               ?

  23        A.      Yes.

  24        Q.      Okay.

  25                (Video was played at this time.)
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 95 of 127 PageID 2719

                                                                             95

   1    BY MR. POULTON:

   2        Q.    Okay.   And just as you said,     11
                                                         Get you're

   3    fucking nose out of my property," there's a young man to

   4    your left.   Who's that?

   5        A.    That's Camron.

   6        Q.    Okay.

   7              (Video was played at this time.)

   8    BY MR. POULTON:

   9        Q.    All right.    So now that correlates -- that was

  10    on March 3, 2016, and I believe we talked about this

  11    before that you acknowledge that there were chickens

  12    there; right?

  13        A.    Correct.

  14        Q.    Okay.   Did you think that i t was in any way

  15    unlawful for the deputies -- Did you think at that time

  16    that i t was unlawful for the deputies to have given you

  17   a citation for that?

  18        A.    Yes.

  19        Q.    Did you do anything about that?

  20        A.    I went to court.

  21        Q.    Okay.   Did you complain to anybody at the

  22   Sheriff's Office?

  23        A.    I'm not sure what you're asking me.           Prior to

  24   going to court?

  25        Q.    Well, did you go online and file a complaint or
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 96 of 127 PageID 2720

                                                                             96

   1    call their supervisors, anything like that?

   2        A.     I didn 1 t know that was an option.

   3        Q.     Okay.     Do you know if that code violation had

   4    anything to do with the prolific offender status of

   5    Donnie or Anthony?

   6        A.     Yes, i t did.

   7        Q.     How do you know that?

   8        A.     Because if I remember correctly, they were just

   9    out a few days prior for the numbers on the mailbox, and

  10    they had been coming by.        So they -- anytime that they

  11    didn't get information they wanted to, they would give

  12    out citations.

  13        Q.     Okay.     So you believe that I guess i t would be

  14   Donnie at the time was a prolific offender under the

  15    program?

  16        A.     I believe so.      I can't say a hundred percent

  17    sure, but knowing what I know now, I believe so.

  18        Q.     What did you think was unlawful about the

  19    them giving you the citation that day?

  20        A.     1
                       Cause they came out I believe, like I said, i t

  21   was a day prior, maybe two days prior.         They said

  22    something about mailbox -- numbers on my mailbox, gave

  23   me a citation then.         And I guess that same day that they

  24   were there they had gone into my neighbor's yard saying

  25   that they had -- they were investigating a crime.           So
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 97 of 127 PageID 2721

                                                                             97


   1    she let them in her back -- in through her house into

   2    her backyard to look over my fence to look and see if I

   3    had any crime going on or anything that I could be cited

   4    for.        Then they came back two days later with this

   5    chicken violation.         And we did check to see if you were

   6    allowed to have chickens, and there was no law stating

   7    that you could not.        As matter of fact, when I was in

   8    court, they had said that they were going by the

   9    surrounding counties because nothing was implemented in

  10    Pasco County that says you could not have them.

  11           Q.     All right.   But as of the day that i t happened

  12    on March 3, 2016, did you believe that the issuance of

  13    the citations was unlawful, or is that something you

  14    just decided later?

  15           A.     Did I think i t was unlawful for the citation?

  16           Q.     On that day March 3, 2016, did you think i t was

  17    wrongful for them to have issued the citations?

  18           A.     Yes.

  19           Q.     Okay.   Now that video I think we can agree was

  20   pretty confrontational; right?

  21           A.     Correct.

  22           Q.     Were all of the visits by Pasco deputies in say

  23    the last four or five years confrontational?

  24           A.     For the most part, probably.

  25           Q.     Well, isn't i t true that there were plenty that
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 98 of 127 PageID 2722

                                                                                98

   1    were very cordial, polite, joking around?

   2        A.    It depends on the officers that came out if

   3    they wanted to be respectful or if they wanted to

   4        Q.    Okay.

   5        A.    It all depended on how they approached us at

   6    that point, but after being harassed so many times, you

   7    get to a point where you're just -- you 1 re sick of it.

   8        Q.    My point is they weren't all conducted in the

   9    same manner; fair?

  10        A.    Fair.

  11        Q.    Okay.     Let's look at a couple of others.       I 1m

  12    sorry.   Let me do these in date order as best I can.

  13              MR. POULTON:     All right.   Madam Court Reporter,

  14        this is going to be -- all right.        This is one that

  15        has all those numbers at the time.        This is November

  16        7, 2017.      There's an X number at the top which is

  17        X83015724.

  18              COURT REPORTER:      Thank you.    This will be

  19        Exhibit 29.

  20              MR. POULTON:     Exhibit No. 29.     Thanks.

  21               (Exhibit No. 29 was designated to be marked for

  22        identification.)

  23    BY MR. POULTON:

  24        Q.    And this video is about three minutes long.              So

  25    let 1 s watch this.    Okay?   And then -- well, let's watch
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 99 of 127 PageID 2723

                                                                             99

   1    that.

   2              COURT REPORTER:      It's not on our screen.

   3              MR. POULTON:      Know what?   That's because I

   4        didn't hit share screen.        I'll go back to the

   5        beginning.    It's only a few seconds.

   6               (Video was played at this time.)

   7              MR. POULTON:      Can you see that?     Can you see

   8        that, everybody?

   9              COURT REPORTER:      Yeah.

  10              MR. POULTON:     Okay.    Can you hear it?

  11              MS. BROTHERS:      Yes.

  12              MR. POULTON:      There's no talking yet.     Okay.

  13              (Video was played at this time.)

  14    BY MR. POULTON:

  15        Q.    All right.      So we're at 1:49 there on the

  16    video.   Is that Donnie

  17        A.    Donnie, yes .

  18        Q.    -- coming out the door there?         Okay.

  19              And so far they've asked him if he's committing

  20    any auto burglaries or break-ins and they're asking if

  21    he's going to school; right?

  22        A.    Yes.

  23              (Video was played at this time.)

  24   BY MR. POULTON:

  25        Q.    Okay.   So in that video would you agree with me
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 100 of 127 PageID 2724

                                                                            100


    1   that the deputies were encouraging him not to commit

   2    crime because he was about to turn 18?

    3                MS. BROTHERS:     Could you hear i t okay?

    4                THE WITNESS:     I mean, you couldn't hear it very

   5         well.

    6                MS. BROTHERS:     The volume is kind of low.

    7                MR. POULTON:     Do you want me to go back?    I can

    8        turn i t up as much as I can.        I'm not sure -- on

    9        your end I don't know how much of it -- it's only

  10         another minute.        Let me do i t from here.   I'm going

  11         to turn up i t as loud as I can on my end.

  12                 MS. BROTHERS:     Okay.   We can hear you just

  13         fine, but the video is --

  14                 MR. POULTON:     Faint?

  15                 MS. BROTHERS:     Yeah.

  16    BY MR. POULTON:

  17         Q.      Okay.   What I want you to listen for, and then

  18    we'll double back afterwards, is that the deputies              I

  19    think he says he's going to St. Pete.          Is that junior

  20    college do you know?

  21         A.      Yes.

  22         Q.      Okay.   And well, I'll just let i t speak for

  23    itself .     You can listen.

  24                 (Video was played at this time.)

  25    BY MR. POULTON:
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 101 of 127 PageID 2725

                                                                            101


    1        Q.    Can you hear that?     They ask him if he 1 s 17,

    2   and what do you turn 18, and he says a few months.          Were

    3   you able to hear that on your end?

    4        A.    Yes.

    5        Q.    Okay.

    6              (Video was played at this time.)

    7   BY MR. POULTON:

    8        Q.   Were you able to hear that better?

    9        A.    Yes.

   10        Q.    Okay.     So this is a much more cordial reaction

   11   than or interaction let's say than the first video,

   12   would you agree?

   13             MS. BROTHERS:      I ' l l just object that the video

   14        speaks for itself.

   15   BY MR. POULTON:

   16        Q.    Okay.    Well, I mean, we heard on this video

  17    that the deputies are encouraging him not to commit

   18   crime especially 'cause he's about to turn 18.          Fair?

   19   Ms. Heilman?

  20         A.    Did they come to the house just to encourage

  21    him not to commit crime?       I mean, why are they there to

  22    begin with?       It's obviously nighttime.   Why are they

  23    there?

  24         Q.   Well, they were checking -- did you hear the

  25    part about it being during his curfew, they were making
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 102 of 127 PageID 2726

                                                                             102

    1   sure he was abiding by his curfew?

    2              MS. BROTHERS:     Same objection.

    3   BY MR. POULTON:

    4        Q.    Did you hear that part?

    5        A.    (No response. )

    6        Q.    You can answer.     Your counsel is just objecting

    7   to the form of the question, but you could still answer

    8   unless she tells you not to.

    9        A.    Oh, yes.

   10        Q.    Okay.    You were able to hear that they were

   11   making sure that he was abiding by his curfew; correct?

   12        A.    Sure.

   13        Q.    Okay .   And then they're encouraging him to get

   14   a job down by the college and to not commit any crime
   15   since he's on the cusp of turning 18; right?

   16              MS . BROTHERS:    Same objection.

   17   BY MR. POULTON:

   18        Q.    You could answer.

   19        A.    They're encouraging him to move to another

  20    county.

  21         Q.   Well, they're encouraging him to get a job and

  22    an apartment down there; right?

  23         A.    But why would you encourage him to leave the

  24    county?

  25         Q.    Okay.    That's what you took from that?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 103 of 127 PageID 2727

                                                                            103

    1        A.    Yeah, i t is actually because that's their whole

    2   tactic is to get you to either move or sue.

    3        Q.    I see somebody's been reading the Tampa Bay

    4   Times.

    5        A.    When you're in it, it's a little hard not to~

    6        Q.    Yeah.   Well, it's --

    7              (Indecipherable simultaneous crosstalk.)

    8              (Court reporter asked for clarification.)

    9              COURT REPORTER:     I didn't hear it.

  10              MR. POULTON:     Doesn't matter.

  11               COURT REPORTER:    Okay.

  12    BY MR. POULTON:

  13         Q.    Did you see Donnie and the deputies gave each

  14    other a little first bump at the end?

  15              MS. BROTHERS:      Same objection.

  16         A.    Yes.

  17    BY MR. POULTON:

  18         Q.    Okay.   So I'm going to show you now a video.

  19    This will be what?      This is Exhibit 30?

  20               COURT REPORTER:     Yes.

  21               (Exhibit No. 30 was designated to be marked for

  22         identification.)

  23              MR. POULTON:     Okay.      And this is dated -- this

  24         is dated 7-26-2018, and we've got the number at the

  25         top X83015725.     This is only a few minutes long, so
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 104 of 127 PageID 2728

                                                                            104

    1        we'll watch this.

   2               (Video was played at this time.)

    3   BY MR. POULTON:

    4        Q.   This is a minute and 30 seconds or so, and

    5   that's you that came to the front door?

    6        A.    It looks like it, yes.

    7        Q.   One thing that I think we just need to note as

    B   we move forward, the time up here is 2:02:18, and i t has

    9   a Z which I 1 ve always thought meant Zulu, but I think

  10    you 1 re about to tell them the reason that you can't talk

  ll    to them is because you're cooking dinner.         So you

  12    wouldn't have been cooking dinner at two in the morning

  13    or eight in the morning; right?

  14         A.   Correct.

  15         Q.   Okay.

  16               (Video was played at this time.)

  17    BY MR. POULTON:

  1B         Q.   All right.     So now that's -- I think you

  19    mentioned earlier that in your opinion a lot of what

  20    drove the -- whether the interaction with you was

  21    confrontational was the demeanor of the deputies; right?

  22         A.   Correct.

  23         Q.   So this would be an example where you had a

  24    cordial and polite back and forth, fair?

  25              MS. BROTHERS:     Object that the video speaks for
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 105 of 127 PageID 2729

                                                                             105


    1          itself.

    2   BY MR. POULTON:

    3          Q.   You can answer.

    4          A.   Yes.

    5          Q.   You don't have a particular problem with this

    6   particular visit, do you?

    7               MS. BROTHERS:     Object.   Same objection.

    8   BY MR. POULTON:

    9          Q.   You can answer.

   10          A.   Other than the fact that they keep coming out,

   11   yes.

   12          Q.   Okay.   But other than that, other than the fact

   13   of the visit itself, there's nothing in the visit itself

   14   that was particularly problematic, was there?

   15          A.   Not this one.

   16               MS. BROTHERS:     Same objection.

   17               MR. POULTON:    Okay.   This is going to be number

   18          31, and this is dated May 23, 2018, with the number

   19          up at the top is X83046953.      This is a few minutes

   20          as well, so we'll watch that one.

   21               (Exhibit No. 31 was designated to be marked for

   22          identification.)

   23               (Video was played at this time.)

   24   BY MR. POULTON:

   25          Q.   All right.     So this is at 1:43.   In the video
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 106 of 127 PageID 2730

                                                                            106


    1   is that you there at the front door about to start

    2   speaking with the female deputy?

    3              MS. BROTHERS:     I   just object that the video

    4        speaks for itself.

    5              MR. POULTON:     I'm asking if that's her.

    6        A.    Yes.

    7              (Video was played at this time.)

    8   BY MR. POULTON:

    9        Q.    All right.     Let me just ask you a quick

   10   question here or a couple questions before we move on.

   11   About 2:20 here we've stopped, and I believe you've

   12   indicated to the deputies that at this point Donnie has

   13   moved out of the house.

   14              MS. BROTHERS:     Same objection.

   15   BY MR. POULTON:

   16        Q.    Is that right?

   17        A.    I mean, from what I can hear, i t sounded like

   18   maybe that's what was said.

   19        Q.    Well, had Donnie moved out of the house as of

   20   May of 2018?

   21        A.    I couldn't tell you whether he did or not.

   22        Q.    There was something about him working for

   23   somebody out of Tennessee.        Does that ring a bell?

   24        A.    No.

   25        Q.    Let me -- If you can't hear i t very well, let
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 107 of 127 PageID 2731

                                                                            107


   1    me turn up the volume.      We're doing this over Zoom.      So

   2    it's not always the same on my end as yours.

   3               (Video was p1ayed at this time.)

    4   BY MR. POULTON:

   5         Q.    I misspoke.    I believe you said that he 1 s

    6   working for an agency?

    7             MS. BROTHERS:     Same objection.

    8   BY MR. POULTON:

    9        Q.   Did you hear that?

  10         A.    I couldn't hear what they were saying.

  11         Q.   Okay.    Let me just stop right there at 2:30

  12    well, start at 2:27 to 2:32 and just ask you to pay

  13    close attention to this interaction.        I'll turn it up as

  14    loud as I can on my end.

  15               (Video was played at this time.)

  16    BY MR. POULTON:

  17         Q.   Did you catch that back and forth you had with

  18    the deputy when he said you got quite the guard dog

  19    there?

  20              MS. BROTHERS:     Same objection.

  21         A.    I honestly couldn't hear what they were saying .

  22    BY MR. POULTON:

  23         Q.    You couldn't hearing yourself joking with the

  24    deputy that he's ferocious?

  25              MS. BROTHERS:     Same objection.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 108 of 127 PageID 2732

                                                                             108

    l        A.    No, I couldn't.     I can only hear parts of it.

    2   BY MR. POULTON:

    3        Q.    I'm going to rewind i t a little bit for you so

    4   you could try to hear it.       You're spelling your name,

    5   and i t sounds to me as though the deputy says you got,

    6   you know, a guard there and you joke with him that the

    7   dog is ferocious, obviously, being, what's the word, in

    B   a joking manner, but let's watch i t and you tell me if

    9   you agree.

   10              MS. BROTHERS:     Same objection.

   11              (Video was played at this time.)

   12   BY MR. POULTON:

   13        Q.    Did you hear that?

   14        A.    Yes.

   15        Q.    Okay.   So you were joking with the deputy a

   16   little bit at least in this incident at this particular

   17   one --

   18              MS. BROTHERS:     Same objection.

   19   BY MR. POULTON:

   20        Q.    -- about the dog; right?

   21        A.    Okay.

   22        Q.    I'm asking you if that's a fair

   23   characterization of what we see here.

   24        A.    Not every interaction is gonna be the same.

   25   So, yeah, sure.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 109 of 127 PageID 2733

                                                                            109


    1              (Video was played at this time.)

   2    BY MR. POULTON:

    3        Q.    Okay.   At the end there you asked them if they

    4   had a card if Donnie needed to call, and they said, no,

    5   just keep him out of trouble.       And what do you say at

    6   the end?    No problem I think; right?

    7              MS. BROTHERS:    Same objection .

    8   BY MR. POULTON:

    9        Q.    Did you hear that right at the very end about

  10    the five seconds to go mark?

  11         A.    Yes.

  12         Q.    Okay.   So that would be another example of a

  13    cordial interaction; right?

  14               MS. BROTHERS:    Object to the vague phrasing .

  15    BY MR. POULTON:

  16         Q.    Do you know what I mean?

  17         A.    Yes.

  18         Q.    Would you agree that that was a pleasant,

  19    courteous interaction of a couple of minutes, and you

  20    were just relaying that as far as you knew Donnie was

  21    out of trouble and had a job and you even asked if he

  22    needed to contact somebody; fair?

  23               MS. BROTHERS:    Same objection.     The video

  24         speaks for itself.

  25         A.    I asked if he needed to speak with somebody
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 110 of 127 PageID 2734

                                                                            110

    1   because they're at the house.       So why are they there?

    2   BY MR. POULTON:

    3          Q.   Okay.

    4          A.   I am pretty sure we already told them he moved

    5   out.

    6          Q.   Did the deputies always come out the same day

    7   of the week?

    8          A.   No.

    9          Q.   I mean, just looking at the paperwork, i t

  10    doesn't look like they came out like in any sort of like

  11    a pattern, like there could be sometimes where i t was a

  12    few times a week and sometimes maybe once a month.          Is

  13    that your recollection?

  14                MS. BROTHERS:   Object to the word pattern.

  15           A.   I don't know that i t was a patter as to when

  16    they came out.      They just sporadically showed up.

  17    BY MR. POULTON:

  18           Q.   Okay.   I mean, were there sometimes where i t

  19    was only a day or two apart?

  20           A.   Yeah, there could be days, or there could be

  21    days that they came every day or several times a day.

  22           Q.   Could there be a week where they didn't come

  23    out that week at all?

  24           A.   There is a possibility, yes.

  25           Q.   So all of the videos and all of the incidents
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 111 of 127 PageID 2735

                                                                            111


    1   that we looked over -- and there are others on top of

    2   that; right?

    3        A.    Correct.

    4        Q.    I only detected or I'm only aware of code

    5   violations on three occasions, that being the numbers on

    6   the mailbox, the cinder block and the hurricane debris

    7   being the second one, and the chickens being the third.

    B   Fair?

    9        A.    To my knowledge, that's all I can recall.

  10              MS. BROTHERS:      I ' l l object that the records

  11         speak for themselves.

  12              MR. POULTON:     Well, that's why I'm asking her

  13         is were there any other code violation incidents or

  14         episodes other than those three in the entire length

  15         of her interactions with Pasco Sheriff's Office.

  16              MS. BROTHERS:      Same objection.

  17    BY MR. POULTON:

  18         Q.    You can answer.

  19         A.   Yes, as far as I -- as far as I can recall.

  20         Q.   As far as you can recall, those three are the

  21    only three?

  22         A.    Correct.

  23         Q.   And then there were just the two arrests,

  24    right, the one out of the car for battery and then the

  25    one with the door slamming incident; right?
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 112 of 127 PageID 2736

                                                                                   112


    1        A.       Correct.

    2                 MS. BROTHERS:       Same objection.

    3                 MR. POULTON:       Tell you what.     Let's take a

    4        five-minute break, and I may be done .             I just want

    5        to kind of look over everything and make sure.                I

    6        told you i t would be about an hour, so I 1 m right on

    7        time.      So if we could take a five-minute break and

    B        come back, and I think I'll finish up.              Okay?

    9                 THE WITNESS:       Okay.

  10                  MR. POULTON:       Thanks.

  11                  (A break was taken at 2:55 p.m., and the

  12         deposition resumed at 3:05 p.m.)

  13                  MR. POULTON:       Okay.     Probably the first time in

  14         recorded history the questioner was dead on right an

  15         hour .     I don't have anything further to ask you.

  16         Your attorneys might want to follow up with you.                  I

  17         don't know.         Turn i t over to them .

  18                                CROSS EXAMINATION

  19    BY MS. BROTHERS:

  20         Q.       All right .    I   just have a couple questions for

  21    you, Tamm .

  22         A.       Okay.

  23         Q.       To return to the video that you were shown

  24    where the deputy visited your home and you told him that

  25    you were cooking dinner, in the top right-hand corner i t
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 113 of 127 PageID 2737

                                                                              113


    1   looked like i t said 2 a.m., and if I were to represent

    2   to you that that is 2 a.m. Greenwich Mean Time which

    3   means about 10 p.m. Eastern, is that a reasonable time

    4   for you to be cooking dinner?

    5        A.    Yes.

    6        Q.    Okay.   And when you told the -- did you -- in

    7   that video did you tell the deputy that you didn 1 t want

    8   to talk right then?

    9        A.    Yes.

  10         Q.   What do you think the deputy should have done

  11    at that point?

  12              MR. POULTON:     Object to the form.      Object to

  13         the form.     Go ahead.

  14         A.    Should have probably listened and left.

  15    BY MS. BROTHERS:

  16         Q.   Okay.    And counsel characterized this visit and

  17    a couple other visits as nonconfrontational.           Does an

  18    interaction have to be confrontational in order for i t

  19    to violate your rights?

  20              MR. POULTON:     Object.      Object to the form.      Go

  21         ahead.

  22         A.   No, i t doesn't.

  23              MS. BROTHERS:        Okay .   I don't have any other

  24         questions.

  25              MR. POULTON:     All right.       Thanks very much.
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 114 of 127 PageID 2738

                                                                            114


    1        You want to explain to her -- I assume you 1 re going

    2        to read.

    3                MS. BROTHERS:     Yes.

    4                MR. POULTON:     Okay.     I want to order the

    5        deposition.      I don't know if you caught the

    6        conversation just before you came back, but Rob has

    7        kept track -- my Rob has kept track of the exhibits

    8        and is going to email out the bundle to the court

    9        reporter, and we'll also copy you.

  10                 MS. BROTHERS:     For all the exhibits from this

  11         deposition?

  12                 MR. POULTON:     All the exhibits from this

  13         deposition, thirty whatever there are of them will

  14         be in presumably Dropbox because it's got video.

  15                 MS . BROTHERS:    Right.     Okay.

  16                 MR. POULTON:     So you'll have i t all in one

  17         spot.

  18                 MS. BROTHERS:     Got it.

  19                 MR. POULTON:     All right?      Thanks .

  20                             * * * * * *
  21                 (THEREUPON, THE TAKING OF THE DEPOSITION WAS

  22         CONCLUDED AT 3:08 P.M.)

  23                             *    *   *   *   *   *
  24                           S T I P U L A T I O N

  25            It was thereupon stipulated and agreed by and
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 115 of 127 PageID 2739

                                                                            115


    1   between counsel present for the respective parties and

    2   the deponent that the reading and signing of this

    3   deposition is not waived.

    4                          * * *      *   *   *
    5

    6

    7

    8

    9

  10

  11

  12

  13

  14

  15

  16

  17

  1B

  19

  20

  21

  22

  23

  24

  25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 116 of 127 PageID 2740

                                                                            116

    1                         CERTIFICATE OF OATH

   2    STATE OF FLORIDA

    3   COUNTY OF PASCO

    4           I, the undersigned au·thori ty, certify that

    5   TAMMY HEILMAN appeared before me via Zoom and was

    6   duly sworn on March 23, 2022.

    7           WITNESS my hand and official seal this 10th

    B   day of April, 2022.

    9

  10

  11
                                Ju   An ~son
  12                            Notary ublic - State of Florida
                                Commission No.: GG 276821
  13                            My Commission Expires: 1-5-2023

  14

  15

  16

  17

  1B

  19

  20

  21

  22

  23

  24

  25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 117 of 127 PageID 2741

                                                                            117


   1                        CERTIFICATE OF REPORTER

   2

   3    STATE OF FLORIDA

   4    COUNTY OF PASCO

   5

    6           I, JUDY ANDERSON, Court Reporter, certify that I

   7    was authorized to and did stenographically report the

   8    foregoing deposition and that the transcript is a true

    9   record of the testimony given by the witness.

  10

  11            I further certify that I am not a relative,

  12    employee, attorney, or counsel of any of the parties,

  13    nor am I a relative or employee of any of the parties 1

  14    attorney or counsel connected with the action, nor am I

  15    financially interested in the action.

  16

  17            Dated this 10th day of April, 2022.

  18

  19

  20

  21

  22

  23

  24

  25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 118 of 127 PageID 2742

                                                                            118


    1   DALANEA TAYLOR; TAMMY
        HEILMAN; DARLENE DEEGAN;
    2   and ROBERT A. JONES, III,

    3     Pl.aintiffs,

    4   vs.                          Case No.: 8:21-cv-00555-SDM-CPT

    5   CHRIS NOCCO, in his
        official capacity as
    6   Pasco County Sheriff,

    7     Defendant.
        _____________!
    8

    9                      DEPONENT'$ SIGNATURE PAGE

  10

  11                I HAVE READ THE FOREGOING TRANSCRIPT OF MY

  12          DEPOSITION AND HEREBY SUBSCRIBE TO THE FOREGOING

  13          DEPOSITION, SAID SUBSCRIPTION TO INCLUDE ANY

  14           CORRECTIONS AND/OR AMENDMENTS HERETO.

  15

  16

  17    Tammy Heilman

   18

   19   Date

  20

  21

  22

  23

  24

   25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 119 of 127 PageID 2743

                                                                            119


    1                             ERRATA SHEET

    2   PAGE     LINE                    CORRECTION

    3

    4

    5

    6

    7

    8

    9

  10

  11

  12

  13

   14

   15

   16

   17

   18

   19

  20

   21

   22

   23

   24

   25
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 120 of 127 PageID 2744

                                                                                                                                         Page 120

                   A                1111swer 7:133:5102:6,7       attention 107:13                91:10,25                    70: 1,4,21 71: 13,23,24
       a.m 1:15 62:18 ll3:l,2            102:18105:3,9 111:18     attorney 42: I l 82:20       bond 12: 18 13 :5              74:4,6,22,23,25 95:5
       abide 11:24                  llnswcring 7:2                   ll 7:12,14                born 69:S                   capacity I :7 118:5
       !¼biding 102:1,11            answers 7:6,7                 attorneys 11 :24 13: ll      bothers 30:22               car 25:18 35:143:16
       able 47:10 49:3 101:3,8      Anthony 8:18,21,22 9:22          50:15 112:16              Boulcvnrd 2:3                  60:3,11,16,20,25 61:2
          102:10                        65:12,12,17,23 66:l       authority 116:4              Box 1:23                       78:14 111:24
       access 87:24                     71:6 72:20,21 83:1,23     autbori7.cd 117:7            b1·cak 7:11,15 28: 11       card 109:4
       nccumnlntion 25:2                 83:25 84:1,5,l 1,21      auto 60:20 99:20                42:19 58:2, 10 61:21     can 25:23 74:21 75:4
       llccurate 22: 19 23:8 30:4       86:23,25 87:8 88:16       Ava 46:1,3 88:16                62: 18 84:21 86:13          76:17 90:4
          89:12                         88:19 89:14,17,24         available 12:13                 87:9 89:22 90:22,22      Clll"oline 2:6 43 :22
       accurately 38:2                  90:12,15 96:5             avoid 41:8                      91:3,6 112:4,7,11        case 1 :6 14:2 22:15 23:9
       accusation 41 :2166:12       Anthony's 74:8                awaiting 81:12               b1·cak-i11s 99:20              41:3 50:12 72:8,9,16
       achieve 11:14                anxiety 48:18 49:7 72:15      llWRl"C 44:21 50:25 51:3     b1·cathing 47:23 49:12         76:2 87:16 118:4
       acknowledge 20:2 95:ll       anybocly 9:21 47:7 88:12         59:16,17·61:17 79:2       Breuden 60:2,4,17           cases 14:14 72:13 80:7
       acknowledged 60:24               95:21                        87:15 88: 12 111:4        bl'ick25: 19                catch 94:4 107:17
      Act 47:12 53:2 71:21,24       anybody's 70: 18                                           broad 76:7                  caught 114:5
      Acted 47:7,18,19 54:1         anytime 96: 10                            B                Brock 58:22                 cause 49:16 75:3,20 76:5
          71:13                     anyway 39:21                  n 4:1  5:1                   b1·oke 87:23                   78:2 96:20 101:18
       I\Cting 32:20 71 :25         apart 110:19                  back 7:15 19:25 29:19        bl'Other l0:15 51;13 68:9   caused 63: 18
      action 87: 1117: 14,15        apa1·tment 102 :22               30:10 31:9 41:7 42:23        68:11                    Celeste 16:17
      activity 57:4,12,17           apo.logize 54: 14                44:7 46: 12,21,23         b1·othcr's 10:14,17         Cet•tificnte 3:4,5116:1
      adding 55:3,3                 appitrently 77:16                50:15 51 :2 55 :5,17      Brothers 2:6 3:3 24:1,7         117:1
      add1·ess 7:23 17:3 45 :7      appear 43:12                     61:24 62: 13,21 63 :3        24:10,14,21 31:25        certify 116:4 117:6,1 l
          48:13 53:18 56:22         APPEARANCES 2: I                 63:23 64:6 72:4 74:20        35:4 37:13 40:25 43:3    Cgbrothers@ij.org 2:8
          58:19 64:15 88:24         appeared 116:5                   76:23 79:17 88:3 90:9        43:20,24 44:2,14,18      Chagrin 2:3
      adjudicated 22:16 23:18       appears 17:5                     91:5 97:1,4 99:4 100:7       46:5,8,10, 12,15,22,24   chnlkbonrd 29 :20 30:3
      adjudicating 22:7             applied 64:18                    100:18 104:24 107:17         47:3 58:7 62:1,7,12,16   chance 50:14 82:14
      adjudicatio11 17:6 25:7       Appreciate 9:2                   112:8 I 14:6                 91:4 92:11 ,17 99:11     characteriz11tion 108:23
          27:5                      appro11ched 38:10 98:5        backwards 54: 14                100:3,6,12,15 101 :13    characterized 113: 16
      adult 35:23 72:22             approximately 68:24           backyard 18:17 20:3,6           102:2,16 103:15          charge 17:3,9 23: 12
      advance 42:23                 April 38:22 72: 18 88: 18        97:2                         104:25 105:7,16106:3         81 :20,22,23
      aclvauccs 55:12                   88:23 116:8 117:17        bail 12:18 13:5                 106:14 107:7,20,25       cl1Rrged 21:22 23:13
      advise 60:1                   ftl'Ca 60:3 89:25             Baker 47:7,11,18,19 53:2        108:10,18 109:7,14,23       26:25 42 :15 61:1
      advised 54:25 55:4 56:3       ugumcnt47:17 83:25               54:l 71:13,21,24             110:14111:10,16          cl1arges 23:15,19 82:1
          57:2 58:25 66:7 81:13     Arlington 2:7                 based 44:15 56:21               112:2,19 113:15,23       chat 92: 12
          83 :22,24 86:21,22,24     Rt"lll 53:7                   basically 13: 16               114:3,10,15,18            check 56:11,24 57:9
          86:25                     111..-est 26:20 27:20 48:17   battel'cd 41 :21             bullied 33:3                    58:22 60:9 65:6 76:5
      advises 45:14                 anested 21:19 26:21           battering 82: l 1            bump 103:14                     97:5
      Atlidavit 4 :6                    43:15 44:10 59:17         battery 4:6 22:3 23:12,15    bunch 11:8                  chccl<ing IO 1:24
      afraid 30:17,21 38:12             80:18 81:4 82:9 90:12        27:1,21,22 29:11          bundle 114:8                checl.s 76:9
      -age 34: 11 50:23 78:7        arresting 43:7                   40:12 59: 14 73:9 82:3    burglaries 60:21 99:20      chicken 92:3,23 97:5
      agency 44:9 67:24,24          arrests 12:19 13:6,18            111:24                    burglary 61 :2              chickens 4:5 5:8 18:17
          107:6                         14:15 27:17 28:2,3        Bny 103:3                    button 48:5                     20:1,3,5,10,22 21:10
      ages 8:17                         50:6 111:23               bear ll: 11                                                  27:19 92:l 95:11 97 :6
      ago 28:21 31:2,8,23           ari-ival 86:20                beaten 79: 12 80:25                     C                    111 :7
          32:22 36:6 65:14          art 28:23 30:5 31 :20         beer 71:15                   C 11:25 12:6                child 31 :9 57:9 67:12
          69:24 70:7,10             asked 15:18 24:4 30:1         beginning 11 :25 50: 13      C.112:7                         71:3,1073:10 74:13
      agree 76:10 93:20 97:19           47:13 50:12 52:23            99:5                      C.2 12:7                        75:7 76: 13 80:22
          99:25 101:12 108:9            69:15 99:19 103:8         believe 1.4:14 17:24 18:1    CAD 4:13,14,15,16,18        child's 25: 18 26: 11
          109:18                        109:3,21,25                  20:9,13 21:2,323:24          4:19,20,21,22 5:4,6      children 8:2,7 9:3 71:7
      agreed 13:20 50:4 55:17       aslcing 6:25 15:6 31:11          25:15 26: 10,25 33:12        46:5 54:2165:4 84:25         7 3:8, 17,18 75:5,23
          114:25                        38:9 64:6 69:21,22           35:9 42:6 46:10 63: 17    call 10:4 26:22 36:15       choice 82:5
      ahead l 0:9 40:24 42: 18          89:11 90:19 95:23            64:2 71:8,12 73:10           55:4 75:3 84: 14 96: l   choppy 94:8
          61:2167:671:20                99:20 106:5 108:22           84:24 91: 12 95:10           109:4                    chores 69:15
          75:21,22 79:20,22             111 :12                      96:13,16,17,20 97 :12     called 11:25 15:7,20 32:8   CHRIS 1:7 118:5
          113:13,21                 asleep 55:17                     106:11107:5                  32:19 33:2 34:19         chronological 25:1
      alcohol 55:2,6                assaulting 39: 10             believed 60:2                   35:19,20,21 36:14,23     cinder 25:16,18,19 26:10
      alcrti11g 43 :6               assessed 55:5                 bcll 37:25 38:23 53:7           44:22 47:22,24 48:21         111 :6
      allegation 28:22 29: 18       assist 69:15                     106:23                       48:21,22 49:16 51:20     circumstances 40:5
          42: 1,2 89: 14            assistance 39: 14             benefit 16:4                    51:25 53:4 61:6 63:15    citation 4:4,5,7 14:14,20
      allegations 36:4              11ssociatc 36:16 41 :5 58:4   best 7:1 82:21 98:12            73:174:1976:25               16:10,12,12 17:15
      alleged 73 :9 79: 11              62:14                     beta 92:20                      77:17 78:22 79:11            18:10,17 19:12,14,21
      Allegedly 71:16               associated 59: 14 72:12       better 14:192:10 101:8          80:2 84:7 87:6,11            19:25 20:l 21:9 24:25
      nllowed 36:4 43:14 73:9           91:11                     bicycle 26: 11                  89:15                        25:2,3 26:l ,9 92:1
          81:9 97:6                 associating 36: 17            big 66:12                    caller 45:10,14,19 51:17        95:17 96:19,23 97: 15
      altercation 69:10,11          association 16:25 82:10       bike 30:25                      54:23,25 55:2,4 83:13    citations 12:17 27: 17,18
          72: 19,21 84:8            assume 34:4 45:16 68:5        birth 33 :24 51 :21             83:22 86:12                  96:12 97:13,17
      altc1·11ative 82: 18              114:1                     bit 7:13 13:8 30:13 34:8     calling 36:8,9 38:8 39:8    cited 97:3
      alte1·11atively 51: I         assumed 48:2                     38:7 58:2,9 75 :15 76:1      47:15 49:12 51:l         City l:23
      nmbulance 49:20               assuming 26:8 75:7               89:3 108:3, 16            Clllll 5:8,9,10,11 87:15    claim 13:10
      AMENDMENTS 118:14             ass11rnption 34: 17           bitch 69: 18 70: 12             91:10,25                 claimed 50:12 55:12
      iUIIOUllt 13:1                attacl1ing 35:9               block 25:16,18,19 26:10      cam- 87:25                   claimillg 49:25 50:1,5
      Anclotc 32:5                  attack 48: 1,19 49:7,22          111:6                     camera 86: 12                   72:8,9,15
      ;rnd/01· 40:19118:14              72:6                      blood 10:13                  cameras 84:22 86:13,14       clarificntiou 30 :1 52:23
      Amlerson 1:18,22              attacked 88 :20               blown 25:22                     87:4,8,9 88:2,3,7            103:8
          116:11117:6,19            attempted 53:5 56:25          Blvd 2:11                    Camron 68:6,14,18,19         cla1·ify 12:24
                                        84:l                      body 5:8,9,10,11 87:15          68 :2469:11,15,23         class 28:23 30:5 31:20
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 121 of 127 PageID 2745

                                                                                                                                      Page 121

      classroom 29: 19           convicted 81:18,20,21        curfew 55:6 101:25             16:2[ 62:6,19 91 :7          35:22 39: 10 40: 12
      clear 14:1 15:12 25:25     Cook@dcbcvoisepoult...          102:1,11                    112: 12 ll4:5,ll,13,21       41:2142:4,1543:6,14
         49:3 60:19                 2:14                      e urious 73 :16                115:3 117:8 ll8:12,13        44:2145:1047:16,22
      close 10:9 55:8 107:13     cooking 104:11,12            currently 7:21,25 8: 13     deputies 20:1043:6,14           50:20,21 51:20,25
      closer 49:13 92:10            112:25 113:4                 8:16 9:10,22 59:l,3,ll      55:10,15 65:17,23            53:3,4 55 ;13,16,20
      Co-counsel 2:9             cool 86:25                      68:11                       67:13 73:10,11 76:25         56:7,1158:2460:l,16
      code 12:16 13:4,17 14:14   cooperative 54:8             cusp 102:15                    87:18 89:14 92:4             60:23 63:6,21,25
         21:10·24:17,25 27:17    copy 24:!8 92:13 114:9       custody 68:17,18               95:15,16 97:22 100:1         64:16,22 65:1,24 71:6
         27:18,24 50:6 72:ll     col'dinl 98:1101:10          cut 47:16                      100:18101:17103:13           77: 1 79:3, 11 80: 10
         96:3111:4,13               104:24 109: 13            cutting 94 :2                  104:21 106:12 l 10:6         81:16 96:5,14 99:16
      collective 93 :5           corner 92: 18,24 112:25                                  deputy 16:13 31:15,18           99:17 103:13 106:12
      college 100:20 102: 14     Corporal 16:17 39:16                     D                  40:1,2 42:4 53:18 54:7       106:19 109:4,20
      come 7:15 17:10 18:8          58:22                     D 3:1                          55:25 58:23 65: 11         Donnie's 30:22 55:12
         20:15 24:16 25:14       COl'l'Cct 8:6,14 9:4,11      D-0-R-E-N-D-A 10:7             69: 14,23 89:19 90:2         56:2 59:1174:8,980:7
         30:20 49:1 50:15 54:2      10:20 11:5 13:6,24        D-O-R-1-N-D-A 10:8             92:9 106:2 107:18,24       door 26:22 27:23 94:14
         55:5,17 62:13,23          20:12 21:4 23: 19 26:8     D11de I :23                    108:5,15 112:24 113 :7       94:20 99:18 104:5
         74:20,22 78:8 94:13        32: 17 42: I 50:2,6       DALANEA 1:3 118:1              113:10                       106:I 111:25
         101:20 110:6,22112:8       51:18 59:12,13 66:25      damage 13:2 72:9            designated 11:16 16:22        Dora 10:2
      comes 9:25 10:21 31:16       67:1,18 68:5,10,13         d1unages 12:1,3,9,13           21 :13 22: 12 25:11        DoJ'indn 10:6,12,2111 :2
      coming 31:18 56:5,5,5,5      71:4 72:13,14,16,17           13:1,2,9,12,14,24 14:2      27:13 29:5 37:19           double 100: I 8
         57:9 63:23 76:4 93:14     79:6,19 82:12,21              50:1,9,12 72:5,8,10,15      38: 19 40: 15 45 :3 48:9   dovetails 44:7
         96:10 99:18 105:10         83:17,20,21 85:6          Daude1· 85:1                   51:8 52:15 53:14           Drive 7:24 8:1 29:22
      comment 72:6                  87:22 88:10 91:20         Daniel 29:12                   54:18 55:21 56:14            31:17 45:8 48 :13
      Commission 116:12,13          93:21 95:13 97:21         DARLENE 1:3 118:1              58:15 64:1165:8              53:19 56:23 64:15
      commit 100:1 101:17,21        102:ll 104: 14,22         date 1:14 14:18 26:1,2         66:18 73:24 77:13            65:5 66 :24 83 :19 85:3
         102:14                     111:3,22112:1                33:24 46:5,24 47:20         83:10 85:23 86:8 89:4      driving 39: 17 49: 19
      committing 99: 19          CORRECTION 119:2                51:2164:14 66:22            91:22 98:21 103 :21        Dropbox 114:14
      communicated 40:6          CORRECTIONS                     68:2,5 70:19 85:12          105:21                     drove 104:20
      compensation 12:16            118:14                       98:12 118:19             details 36:149:25 71:1        duly6:2 ll6:6
      complain 83:1 95:21        correctly 96:8               dated 17:2 19:12,14            72:23
      complaint 4:6,8 27:11      correlates 95 :9                26:17,20 27:7 29:8       detected 111 :4                            E
         33:9 95:25              costs 12:9,19 13:6,17           37:17 38:2245:6          diagnosed 49 :21              E 2:2 3:14:1 5:1
      compliance 17:10 18:9        20:16,19 25:9 72:1.l          48:12 53:17 54:21        different 11:813:914:14       earlie1· 46:18 50:4 62:2
         20:15 25:15             counsel 2:5,14 37:8             56:17,22 58:18 65:4         46:24 61:13 67:21             104:19
      composite 19:9,10,11,17      61:2262:23 102:6              74:2 77:1 l 84:25           76:7                       ease 86:2
         19:19,21 21:9,13,17        113:16115:1117:12            85:22 88:23 103:23,24    differently 57:14             Eastern 113 :3
         22:11,12 23:24 25:6        117:14                       105:18 117:17            dinner 104:11,12112:25        Edward 10: 18 l1 :2,3
         25:1126:3 27:12,13      counties 97:9                daugl1ter 9:8 32:9,12,15       113:4                      eight 82: 1 104:13
      Computation 12:1           county 1:8 5:8 17:1             32:20 33 :3 34:3 36:4    Direct 3:3 6:6                either 24:2 27:17 32:2
      computer 92:2                 19:13 20:14 43:6,16          36:12,25 51:18 79:16     disagree 57:21 68:l              35:8 39:7 40:8 63:10
      concern 73:8                 53:3 54:2 63:23 87:18         79:23 90:5               Disclosm·e 11 :23 19:20          74:13 76:2 81:21,23
      concerned 39:9 78:24         92:3,22 97: 10 102:20      daughter's 33:20            Disclosures 4 :3                 103:2
      conclude 50:16                102:24116:3 117:4         D11vidso11 38 :23 39:5      disconnected 69:16            elaborate 60:6
      CONCLUDED 114:22             118:6                      day 26:14 50:16 63:23       discussed 42:8                elementary 32:4
      condition 81: 1            couple 11 :7 12: 15 18: 16      96:19,21,23 97:11 ,16    discussion 14:8 31:15         eleven 45:1 69:6,7
      condolences 9: 18              49: 17 98: 11 106:10        110:6,19,21,21116:8         35:.12                     cmall 41:5 61:23 62:14
      condom 28:23 29: 12,12         109:19 112:20 113:17        117:17                   disl1es 69: 16                   114:8
         31:7 35:8               court 1:1,18,22 7:4 12:19    days 17:10 18:16 20:16      dhpatche1·'s 46:2             embarrassing 75:20 76:1
      Condom's 39:6                  13:6 14:10,22 15:l,5        30:17,2149:5 51:24       disposition 25 :5             emergency 48:3
      conducted 98:8                 15:15,1716:1,4,21           96:9,2197:4110:20        dispute 77:l                  Emily 28:23 29:12,18
      coufroutatiou 41: 18           17:6,8,22 18: 11,20,21      110:21                   distiuguisl1 76:3                30:5,9, 13,16,20,22,24
         79:24 89:16                 19:7,10,13,16,23         de8d 112:14                 DISTRICT 1:1,1                   30:25 31:7,15 35:8
      confrontational 97:20,23       20:14,19,19,22 21 :7     deal 43:2 75:14             distm·bance 51: 12, 13           39:1,6
         104:21113:18                21:12 22:7 23:11         l)ebevoise 2: 11            diversion 72:22               emotional 12:10 13:12
      confrontations 41:19           24:22 25:7,9,25 26:10    debris 25:3 27:20 111:6     DMSION 1:2                       13:1 5,23 14:2 72:16
      confronted 78:16               27:10 29:1,3 30:1        December 27:7 40:10,10      DJJ 44 :12                    em1>athctic 46: 17
      confused 19:7 89:6             37:18 38:18 44:12           40:14 41: 16 84:19,20    document 13:13 15:20          em1>loyec 117:12,13
      confusion 62 :9                45:2 48:8 52:11,13,23       84:25                       15:22 17:14 38:14          JGMS 47:22
      connected 117: 14              53:!3 58:12,13 64:10     decided 97: 14                 41:1 57:13 64 :18          encourage 10 I :20
      connection 19:14 61:13         73:22 77:9 83:9 85:7     DEEGAN 1:3 118:1            documentation 13:10              102:23
         61:16                       85:12,15,17,20 86:3,4    Defendant 1:9 2:14             35:5 44: 15                encouraging 100: I
      consider 34:22                 86:7 91:17,18,21 92:6       118:7                    docmnents 14:11,23 15:7          101:17102:13,19,21
      considered 20: l l             92:25 94:7,9 95:20,24    definitely 9: l 46:21          19:2,4 22:22 24:2,22       ended 22:7 49:5,19 52:10
      constr:tints 7:17              97:8 98:13,18 99:2,9     definition 60:20               27:16                         90:6
      contact 56:25 57:1 58:24       103:8,9,11,20 114:8      degree 27:4                 dog 107:18 108:7,20           ends 17:14 82:10
         81:10 83:24,25 86:20        117:6,19                 delivery 26:15              doing 18:7,9 28:11,12         enfo1·ce111e11t 12: 16 22:5
         109:22                  courteous 109:19             demanded 65:1                  50:9 60:9,11,13 71: 17        27:1,21,23 63:16
      contacted 33: 10,13, 15    c,·ash 78: 14                dcmca1101· I 04:21             81 :22,25 107:1               74:13 76 :4 8.1:10
         34:5,18 36:3 43:14      Cl'RZY 51:14,21              demonstrate 35:17           dollar 12:25 13:2 72: 10      engaged 60 :25 89:24
         53:25 82:25             c1·ied 30:21                 denied 17:5 20:15 25:7      dollars 21: 1                 entered 17: I 27 :4
      contained 57:21            crime 88:25 96 :25 97:3      departed 84: l              domestic 51:13 59:18          entii-e. 111:14
      containers 55 :2,6             100:2 101:18,21          Department 78:23               64:1,15,16 88:25           episode 31 :20
      contest 17:7 20: 17            102:14                   depended 98:5               Donald 9:5                    episodes 111:14
      conversation 65:17,23      c,·imiual 22:I 5 23:9 57:3   dcpe11ds 98:2               Donnie 9:3,4,6,7,9 28:16      Erratn 3:6 119:1
         70:20 114:6                 57:12, 1772:13 80:7      deponent 115:2                 28:17 29:18,23 30:7        especially 6:24 10 I:l 8
      convcrs11tions 60:23       Cross3:3112:18               Dcponent's 3:5 118:9           30:10,15,17,21,24          ESQ 2:6
      conveyed 30:20             crosstalk l 03 :7            deposition 1:12 6:20           31:1,6,17,20 33 :9         ESQUIRE 2:2,10,JO
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 122 of 127 PageID 2746

                                                                                                                                             Page 122

      CSSCHCe 82: 15                fight 38:11 71:15 79:2         gather 58:4                  hands 15:23                   37:3 57:18 66:9 68:14
      event 46: 14 49: 12 58: 18        89:24                      getting 17:15 50:10          Hang 38:16 66:15 91:13        68:19,25 69:20 70:14
      events 41: 17 82:8            file 95:25                        78:24,25 94:7                91:14                      74:25 78:17,18 79:4,5
      eventually 21: 16             filing 17:820:18               GG 116:12                    lu1ppcn 31:12 64:19 70:1      84:21 86:13,15 87:5,9
      everybody 67:16 79:5,21       filled 11 :24                  girl 39:2 74:18 94:19           80:3,4 82:18               87:20 90:6 93:20 97:1
         89: 15 99:8                fi111111cial 13:2 72:9         girlfric11d 10:14 44:23,24   lrnppc11ed 14:13,15 30:15     101:20 106:13,19
      exactly ~0:2 63:20 70:15      financially I I 7: 15             46:3 47:18 59:3,6,10         33:16 38:3 39:23,25        II0:1
      Examination 3:3,3 6:6         find 11:1048:4 71:19              59:19 74:7,8 78:22           67:15 74:17 75:17        hundred 20 :).5 34:9
         112: 18                    fine 15:4,2517:7,11 18:5          88:16                        78:14 80:3 82: 16          96:16
      examined 6:3                      18:6 19:6 20:16 23:5       git-ls 86:23                    84:13 97:11              hurric1rnc 25:4 111.:6
      example 25:16 35:20               24:8 25:8 31:22,24         gist 38:4                    ha1>pcning 43:25 55:23      husband 8:2 20:10 21:2
         104:23 109: 12                 100:13                     give 8:16 14:11 45:20           88:4                       63:6 82:25 87:1190:6
      Excuse 78: 19                 fines 12: 16 13:3 26:16           50:14 58:5 66:14          happens 39:22 49:7            93:25 94:4
      exhibit 11: 16,19 14:5        finish 6:25 7:2,15 63:2           96:11                     harassed 98 :6              husband's 8:3
         16:21,22 18:19 19:3,5          70:9 112:8                 given 16:13 95:16 117:9      lfarbor 53:5
         19:11,16,20,20,21          fi11isl1ed 91:1                giving 22:4 23:10,13         hard 15:23 103:5                         I
         21:9,13,17 22:11,12        fire 47:23 48:24 78:18            43:8 82:6,23 84:6         harm 12:10                                       8:25
         23:24 25:6,1126:3          first 4:3 6:2,.14,16,18           96:19                     Hatfiehl 40:2,7             ID 46:14
         27:12,1 3 28:25 29:5           7:21 8:20 14: I 9 16: 10   glad 9:2 54:12               bead 7:7 59:5               identification 11: 17
         35:9 37:15,19 38:17            20:21 22:20 29: 15         Gfobe 2:7                    l1car 6: 10 43:22 63: 11       16:23 21:14 22:13
         38:19 40: 13,15 45:1,3         3 l:5 40:23 54:7 55:20     go 7:13 10:9 12: 1 14:12        92:1.0 93:12 99:10          25:12 27:14 29:6
         48:6,7,9 51 :8 52: 11,15       56:6,10,18 65:16 69:9         23:2 24:5,25 30:6,19         100:3,4,12 101:1,3,8        37:20 38:20 40: 16
         53:11,14 54:16,18              69:22 71:10 72:4              35:ll 40:24 42:10,18         101:24 102:4,10 103:9       45:4 48:10 51:9 52:16
         56:14 58: 11,15 64:8           91:15101:11103:14             42:23 43 :9 46:23            106:17,25 107:9,10,21       53:15 54:19 56:15
         64:11 65:8 66: l 7,18          112:13                        49:19 57:25 58:6             108:1,4,13 109:9            58:16 64:12 65:9
         71:21,24 77:7,13 83:8      five 8: 12 20:2,5 26:4,5          61:21,24 62:24 63:3       beard 12:23 23: I l 61 :8      66:19 73:25 77:14
         83:10 84:24 85:21,23           42:21 62:5 97:23              64:6 67:6 71 :20 72:4        61:1263:12 73:5 84:4        83: 11 85 :24 86:9 89:5
         86:8 89:4 91:16,22             109:10                        75:21,22,23 77:16            101:16                      91 :23 98:22 103:22
         98:19,20,21 103:19,21      five-minute 112:4,7               79:20,2181:12 82:18       hearing 18:11 20:23            105:22
         105:21                     FL 1:23 2:12                      88:25 93:9 95:25 99:4        26: 10 107:23            II 2:10
      exhibits 16:6 19:2 114;7      flagged 39:11,18,19               100:7 109:10 113:13       heart 48:1,18 49:22 72:6    III 1:4118:2
         114:10,12                  Florida 1:1,19 7:24 78:1          113:20                    Heidi 40:19                 implemented 97 :9
      expanding 50:8                    78:1 I 16:2,12 117:3       goes 17:14 20:14             Heights 2:3                 impm·tant 6:25 7:7 50:10
      expenses 50:5 72: 12          focused 23:12                  going I 1:15 14:23 15:13     Heilman 1:3,12 6:1,8,18     incarcerated 9:10 59:12
      Expires 116: 13               folder 19:2,4                     17;22 19:3,8,9,11,17         6:20 10:19 12:14         incident 4:9, I0,11,12,17
      explain 13:8 53:22 114:1      folders 11 :8 19: 1               19:25 24:7 28:8,14           15:10 35:18 57:1            4:23,24 5:3,5,7 21:5,6
      explained 30:16 54:8          follow 112:16                     31:834:3 41:2,4 42:17        62:2168:6 74:4 86:17        2 1:18 22:2 26:22
      cxpla11atio11 82: 17          following 4 7: 17                 48:6 49:5 51:14,21           86:2191:9101:19             27:22,23 28: 15,19
      extent 12: 13                 follows 6:4                       53 :1156:4,1960:6,16         116:5118:1,17               29:8,25 30:4 31:7 32:1
      extrn 58:5                    foot 86:25                        63 :2 67;10 76:8 79:17    lleilman's 34:3                34:20 35:15,21,25
      Extraction 5:8 92:2,22        footage 5:8,9,10,11               86:5 90:23,24 91:12       hell 74:17                     36:2 37:2,17 38:22
                                        87:16,24 91 :25               91:15 92:6,21 93 :2,3     help 16:5 17:13 45:21          39:10,1S 40:7,13,21
                    F               forced 64 :21,23                  93:18,18 95:24 97:3,8        72:1,2                      42:12 44:16 47:9,2 1
      face 52: l 89: I 8            foregoing 117:8 118:1 I           98:14 99:21 l 00:10,19    htl1)s 77:6 91: 1               53:20,24 54:13 55:10
      faciug 82:20                      118:12                         103:18 105:17 108:3      HERETO 118:14                  56:21 63:5,16,22,22
      fact 44:6 97:7 105:10,12      forget 72:3                       114: 1,8                  Hey 19:l                       66:6,23,24 67:25
      facts 21:18                   form 21 :9 27: 11 I 02:7       gonna 14:18 33:6 42:7,7      high 32:5                      68:25 69:15 70:24
      fnctnnlly 89:12                   113:12,13,20                  42:8 66:2 78:17,17        history 112:14                 7 1: 14 72:18,24 74:2
      Faint 100:14                  forth 38 :3 51 :2 104:24           81 :21,25,25 108:24      bit 48:5 99:4                  77: 11,24 79: 14 80:8
      fair 17:21 18:14 39:8             107:17                     good 6:8,9 7:20 14:5         HOLUOUN 2:10 19:1               82:24 84:19 88: 18
         46:19 52:22 78:24          forward 63:3 88:5 104:8            15:816:728:14 61:19        26:5 37: 15 48:6 51 :7        89: 13 90: 13 92:5
          79:5 98:9,10 101 :18      fo1md 61:3                        74:25 75:13 9.1 :4          54:17 56:13 85:4,6,8          108:16111:25
          104:24 108:22 109:22      four 15:23 18:20 42:21         gotten 26:12                   85:10,25 86:6              incidents 28:8 35:6 46 :20
          111:8                         62:5 81 :24 93 :3 97:23    government 17:9              Holborn@debevoisepo ...        76 :3,5 87: 16 88:10
      false 22:4 23: 11,13          frankly 24:16                  GPS45:16                       2:13                          110:25 111: 13
      familiRr 6:23 34:7 36: 18     freaked 74:17,18               GRACE2:6                     holding 55: 13               INCLUDE 118:13
          54:5 77:3                 friction 87: 13                Great 24:21 62:12            Holiday 7:22,24              including 89: 16
      family 10:12                  friend 9:25 34:12,14,24        Greenwich 113 :2             home 30:7 31:18 34:10        income 12:9
      far 23: 15 76:20 99:19            75: 16,17 78:3,4,4,4       ground 35:23,24                35:20 38:13 39:3           incorrect 83: 18
          109:20 l ll:19,19,20      friend's 34:15,18,25           group 61:5                     47:24 52:6 53:6 55:10      Indecipherable 103:7
      fat 69:18 70 :12              friends 33:13 36:12 55:1       growing 32:25 47: 12           63:9,2186:17 87:4          indicate 43:13
      father 29:12                      78:3, 10,10,12             g11a1·d 107: 18 108:6          11 2:24                    indicated 13: 11 ,13 28: 15
      fault 85:15                   front 27:20 30:8 I 04:5        guess 9:24 16:20 18:20       homeowner 86:21                 106:12
      tbit 6:12                         106:1                         25:6 39:2 40:13 47:11.    honest 11 :9 74:17           indicates 12 :8 13:13
      February 32:18 33:7           fnck 69:18,18 70:12,12            50:7 57:20 63:5 64:6      honestly 18:4 39:25             16:12 20:2 22:2 30:4
          36: 10 43:5               fucking 69:19 70:13 95:3          64:24 80:19 81:8,13         107:21                        67:23
      fee 17:8,8,8 20: 18,18,19     full 6:14                         82:15 88:23 96:13 ,23     hopefully 44: 11             iudication 32:7,18 33:1,8
      feeling 30:18                 folly 7:8 22:25                guilt 27:5                   hoping 60: 16                   34:2 36:20 46: 1 79:l
      fees 12:18,19 13:5            f1111d 17:9                    guilty 22:2,8,16,16 23:18    hopping 60:3, 11,20,25       Influence 34: 14
      felony 27:5                   fm'thcr 30:13 86:24 87:1          23:18 27:4 82:3,ll          61:2                       information 22:4 23:I 1
      female 28:17 49:6 106:2           112:15 I 17:11                                          hosp- 48:20                     23:14 43:9 47:25
      fence 25:21 97:2              future 12:9                                H                hospital 33: 12, 14 36:24       57:2160:10 65 :21
      ferocious 107:24 108:7                                       H 4:1 5:1                      49:2,5,15,18,19               83:17 84:7,12 87:23
      feud 78:23 79:16                         G                   H-E-T-L-M-A-N 6: 19          hostile 54:7                    88:8 96:ll
      field 56:23                   gang 38:12 39:4                half 93 :3                   hour 7:14 58:3 90:23         informed 30:13
      fifteen 58:1,3                Garmon 53:18 77:2              hallway 31: I                  91 :1112:6,15              initial 4:3 11 :22 67:12
      fifty-six 21: 1               gas 78:17                      hand 116:7                   house 34:15,18,25 36:17      initially 13:10 61:1
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 123 of 127 PageID 2747

                                                                                                                                          Page 123

       inj1111ction 64:1,17           36:4 44:6,8 51:12 74:3     LEO 23:12                      91:18 94:7 98:13            mistake 39: 13
       inside 86:14                 juveniles 36:5,11 55:1,5     let's 8:11 14:19 16:16       nuilbox 4:4 16:14,15          mom 76:15
       installed 84:22                61:5                           18:25 24:24 35:11           17:16,18 18:10,12,25       month 31:2 65:14,25
       Institute 2:2,6                                               36:21 38: 15 48:4          96:9,22,22 111:6              110:12
       internction 69:12 71:3                      K                 61:2162:13 64:14         making 32:9 33 :4 44 :14      months 22:9,17 27:6
           101:11 104:20 107: 13    keep 14:24 15:6 16:5             73:20 76:24 83:4,22        44:23 46:17,18 56:1           69:2 101 :2
           108:24 109:13,19             28:14 79:21 93:18            85:18,18 86:11 88:1,l       101:25102:11               morning 6:8,9 58:22
           113:18                       105: 10 109:5                91:11,13 98:11,25,25     male 35:23 38:9                 104:12.13
       interactions 76:8 87:18      l{cpt 56:5 114:7,7               101:11108:8 112:3        man 41:22 95:3                mother 29:23 55:4
           88:13 91:11111:15        ){CY 37:3                    Jil{eS 17:23                 ma1111cr 98:9 108:8           moutl, 70: 18
       intercourse 36:5             !deiced 30:24 31:1 65:13     line 45:19 49:6,6 65: I 1    March 1:1416:1118:15          move 64:22 65:1 72:3
       inte,·est 47:12 76:1 82:21       65:24                        119:2                       19:3,4,13,25 63:7 66:7       102:19 103:2 104:8
       interested 117: 15           ldds 32:24 49:16 87:12       list 12:8                      66:23 67: 18,24,25            106:10
       interim 26:13                l<ill 45: 15 53:5 66: 8      listed 12:7 29:.13 35:14       68:25 95:10 97:12,16        moved 21:8 78:5 90:9,9
       interpretation 64 :25            69:19 70:13                  45:10 56:25 58:21           116:6                        106:13,19 110:4
       interrupt 75:21 79:21        ldnd 12:1 14:13 24:16            71:20 74:3,4 90:15       Marcus 77:2,25 78:3,13        moving 52:10 63:3 65:19
       interview 29:20 43: 14           29:24 34:8 51:1 63:2     listen 22:22 100:17,23         78:15,19,24                   71:18 90:6
           89:15                        76:7,17 94:2 100:6       listened 113: 14             ma,·iju11na 72:20
       interviewed 63 :22 67: 16        112:5                    little 7: 13 13 :8 30: 13    mal'k 109:10                               N
       investigate 67: 13           ldnds 78:18                      34:8 38:6 58:2,5,9       mal'lied 11:1616:22           N 2:7 3:1 114:24
       investigating 96:25          Mtclm1/dining 89:25              66:2170:6,1074:18          21:14 22:13 25:12           name 6:15 8:3 10:2,5,17
       Investigation 74: 14         kucw78:2,6109:20                 89:6 94:2,8,19 103:5       27:14 29:5 37:19               17 :130:2333:20
       Investigations 67:13         knock 30:25                      l03: 14 108:3,16            38:19 40:15 45:3 48:9         38:24 45:18,20 46:1,2
          76:13                     lmow 7:11,18 9:14 10:24      live 9:22 10:15,21 11:2         5 1:8 52:15 53:14            46 :2 61 :6,8 77:3 83 :23
       Investigative 71:4,11            16:3 18:7,12,13 19:17        78:1,1 81 :6,7              54:18 56:14 58:15             92:12 108:4
       hivite R6:23                     22:25 23:4 24: 17        lived 74:7                      64:1165:866:18             11amed 28:23 46:3 52:18
       involved 57:3,I 1,17 60:2        25:19 32:4,23 33:15      lives 7:25 l 0:23 11 :3         73:24 77:13 83:10             52:24 77:2 88:16
          61:4 71:1178:14               34: 13,20,23 35: 18          68:ll                       85:23 86:8 89:4 91:22      names 8:20 40:18,22
       involving 33 :9                  36:10 37:11,22 38:1.     living 8:8,10 20:3 68: l 4      98:21 103:21 105:21        nal'rative 41 :15
       isolate 38:6                     38:24 39:7,25 42:14          68:19,24 69:1            marlis 53:6                   nature 56:23
       issuance 97:12                   43: 1 45:21,23,24,25     local 17:9                   Mal'tincz 52:18,25            Nantica 74:5,6 77:16
       issue 29:1 l                     46:2 47:20 48:3 49:4     locate 28:7 66:15            mntch 15:22                      78:2179:7,780:25
       issued 18: 11 97: I 7            50:25 52:21,22,25        location 45:16,17 53:20      material 62: 15                  81:2 82:3,11
       issues 33:3 48: 18               55 :20,22,23 61:4,18         53:24 54:22 66:24        materials 24: 18              neck 37:3
       items 16:5                       62:23,25 63:15,18,25         84:2                     matter 97:7 103 :lO           necklace 37:3
                 8: 19,25 9:22          64:3,5 66:11 67:3,17     long 31:8,9 32:22 68:18      McDougall 8:18 9:4            need 7:18 14:21,2128:ll
          74:5,6                        70:17 71:2 73:1 74:14        68:24 69:24 93:3            28:16,17 29:23 30:7           40:22 61 :24 75:5
                                        74:18 75:6,13 76:6,12        98:24 103:25                33:9 45:10 47:16              104:7
                   J                    76:16,18,19,20 77:19     longc1· 58:2,10 82:20           58:25 63:25 64:16          needed 21:8 71:25 72:2
      jail 80:19,24                     78:9,1180:6,13,16            87:21 88:8                  65: 1,12,12,17,24             109:4,22,25
      J11nu11ry 26:2,17                 81:18 83:15 84:18        look 12:5,7 15.:20 16:11        72:20 80:10 83:23          neighbor 52: 18,24
      Jasmine 59:1,3,21,23,24           87:6,15 89:2 90:12,15        17:23 20:8 22:21,22         84:11                      neighbor's 96:24
      Jeff 54:23 65:13,24               90:18,19 91: 19 92:15        23:3,21 24:6 36:22,22    mean 18:12 23:8 24:16         neighborhood 39:ts
         72:19 83:16 85:1               92:16 96:2,3,7,17 99:3       41:8 48:16 56:1 9           31:9 36:19 38:4 48:2       nephew 66:8 68:7,8
      Jetl's 72:20                      100:9,20 108:6 109: 16       62:24 64:6 86:11            52:2156:1957:8,17             70:11 76:16
      Jeffrey 8:4 9:21 89:7,24          JI0:15 112:17 114:5          87:10 97:2,2 98:11          57:23 64:23 67:20,22       never 61 :12
      Jeremy 40:1.8 41:19,22        !mowing 96:17                    110: 10 112:5               70:1,22,23,24 75:21        Nice 85:2
         42:1                       knowledge 61 :7 63 :8        lookcd Jl l:I 113:l             79:20 81 :4 82: 13 84:6    nighttime 101:22
      ,job 102:14,21 109:21             71:8 88:15 111:9         looking 11:14 18:24             87: l O 89: 11 100:4       NOCCO 1:7 118:5
      JOHNSON 2:2 15:12,24          )mows 60:13                      19:18 22:23 44:4            101:16,21 !06:17           nods 7:6
          16:7                                                       45:18 55:l 1 73:15          109: 16 l 10:9,1 8 113:2   nominal 13:2 72:10
      joke 108:6                                 L                   110:9                    meaning 83:1 84:11            no11confrontatio1111l
      joldng 98:l 107:23 108:8      L 114:24                     lool<S 12:15 13:16 20:25     means 22:2245 :16 113:3          113:17
          108:15                    L-A-V-A-S 10: 10,11              22:8 39:5 42:21 48 :21   meant 87:14 104:9             nonverbal 7 :5
      Jones 1:412: 18 118:2                                          58:22 60:8 67: 11        mechanism 6:24                nose 95:3
                                    h1bclcd 56:7,11
      Joseph 83:14,15,24                                             89: 15 104:6             Mcdlleet 49:13                Notary 1:19 116:12
                                    lack 17:3
      judge 17: 1,22 81:13                                       lost 12:9 82: 19             medical 48:3 50: 10 72:20     note 40:25 43:24 44:19
                                    lady 55:11 59: 14
      judge's 81:15                                              lot 10:23 14:23 17:13        memory 28:18 33:19               54:6 56:24 84: 10
                                    Large 1:19
      judgment 4:4,5,6,7,8          late 68:25                       32:24 67:10 104:19          34:8 43:17 57:5 67:20         104:7
          17:118:23,24 19:13        Lavas 10:10,11,12            loud 100: 11107:14              73:16 87:2 89:13           noted 20:17
          19:22 20:13,14 21:10      lllW 12:14 22:4 27:1 ,21     love-hate 80: I              mentioned 26:11104:19         notes 43:13,2144 :1,15
         22: 1,19 24:2 26:2,17          27:22 63:16 74:13        lovcll 79:25                 met2\l:22 66:1 76:15             45: 13 54:25 56:21
         27:12                         76:4 81:10 97:6
                                                                 low 100:6                       89:8                          65:6 69:10 86:l l
      Judy 1:18 92:14116:ll                                      lower 92:23                  MIDDLE 1:1                    November 32:7 36:20
                                    lawsuit 11 :7,12 12:4
          117:6,19                  lawyer 61:14                 lowering 81:22               mind 14:22,25                    37:24 51:11 98:15
      Judy@andersoncourtr...        lawyers 75: 13               lunch 41:5 58:10             n,ine 75:16 78:4              numbel' 58:24 65:3
          1 :24                     learned 56:6                 lunchtime 7: 14              minute 11:10 15:5 37:9           88:23 92:5 98:16
      July47:15 53:3,17 76:24       leave 85:19 102:23           Lynne 57:1                      93:19,19 100:10 104:4          103:24 105:17,18
      jumped 39:2                   leaves 10:23                                              minutes 41 :7 58:l,3,6,7      numbers 16:14,15 17: 16
      ,lune 28:15 29:8 31:19        led 59:15 64:3 72:21                     M                   93:3 98:24 103:25              17:1818:10,12,25
         44:21 45:6 46:7,25         left 34: 12 53:6 55:3,3      M-A-C-H-M-E-R 40:19             105: 19 109:19                27:19 92:16 96:9,22
         47:158:1873:4,7 74:3           63:3 74:25 86:25 95:4    mace 52:2                    misdemeanors 22:5                98:15 111:5
         77:11                          l1 3:14                  Machmer 40:19                missed 85:9,14
       juuior 100:19                left-hand 92:24              mad 45:14                    missing 14:16 27: 19 34:6                0
       junk 25:2                                                 M11d1tm 16:21 18:20 21:7        34:22
                                    legal 12:18 13 :5                                                                       0 I 14:24
       ,Justice 2:2,6               length 111:14                  25:6,25 27:10 37: 17       misspelled 9:1 54:24
                                                                                                                            Oath 3:4 116:1
       juvenile 32:8 33 :3 34:3,6                                  48:7 58:12 85:15           misspoke 107:5
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 124 of 127 PageID 2748

                                                                                                                                                 Page 124

      object 31:25 57:23              61 :4,8, 1 )J 8,24 62:7,8      97:24 IO I :25 102:4          59: 18 60:24 64:21,25     1irobably 16:16 32:10
         JOI :13 104:25 105:7         62:13,16 63:15,21,25        part's 83 :21                   70:24 77:20 79:8,lO           38: 15 47:9,25 49:1,24
         106:3 109:14 110:14          64:14 65:15 66:16           pRrticula1· 11: 1 12 :3          80:2188:798:6,7,8            50:22 60: 10 69:7
         111:10 113:12,12,20          67:5,8,9,17 68:3,6,8,18        26:18 32:2147:12              106:12 113:11                87:10 88:6 90:25
         113:20                       69:3,6,9 70:16 71:3,13         64:18 73:15 79:3           pointed 63:7                    92:11 94:3 97:24
      objecting 35:4 102:6            72:3 73:19 74:12 75:2          105:5,6 108:16             pointing 76:2                   112:13 113:14
      objection 102:2,16              75:9,21 76:6, 12 77:4       particularly 24: 17           police 78:22 80:2 81 :5      probation 22:8,17 27:6
         103:15 105:7,16              77:18,23 78:21 79:1,7          105:14                     polite 98: l 104:24             80:10, 13,15,17 81:2,5
         106:14 107:7,20,25           80:24 82:2,6,24 83:7        parties 115:1117:12           poorly-worded 68:21             81:8,11 82:9
         108:10,18 109:7,23           83:22 84:4,10,17 85:8       pa1·1ics' 117: 13             possession 55:2              problem 15:25 41:9 44:7
         lU:16112:2                   85:14,18,20 86:4,7,20       parts 108:1                   possibility 110:24              105:5 109:6
      obstructing 21 :23 22:3         86:22 87:4,14 88:l,5        pa,·ty 39:7                   )IOssible 32:10,25 36:14     problem/disturbance
         23:16                        88:16 89:21 90:2,12         Pasco 1:8 17:1 33:8              36:19                        74:3
      obtained 64:19                  90:18, 18,21 91:2,5,13         40:1155:15 60:3            JJOssibly 55: 1,1 60: 13     problematic 105: 14
      obviously 44:12 72:1            91:15 92:15,25 93:5,6          87: 18 88: 13 97:10,22     posted 17:3                  problems 49:12
         87:12,13 101:22 108:7        93:15 94:2,6,!0,16,19          111:15116:3117:4           Poulton 2:l0,113:3 6:7       proceed 44:12
      occasion 73:2                   94:24 95 :2,6, 14,21           118:6                         11:18 14:6,9,25 15:3,8    PROCEEDINGS 1:12
      occasions 35:19 55:15           96:3,13 97:19 98:4,11       pass 9:16                        15:9,16 16:2,8,9,20,24    produced 92:22
         111:5                        98:25 99:10,12,18,25        passed 9: I 3 32:16              18:19,23 19:6,8,12,19     program 12:17,20 13:5
      occurred 21 :6                  100:3,12,17,22 101:5        paste 92:13                      19:24 21:7,15 22:14          55:22 72:22 96:15
      occurrh1g 67:25                 101:10,16 102:10,13         patient 49 :7                    24:3,9,12,15,22,23        progress 45 :7 51: 13
      October 25:1 26:1,9             102:25 103:11,18,23         patter 110:15                    25:13,25 26:6,7 27:10     prolific 55:21 56:2,7,11
         33:18 34:1 35:21 36:3        104:15 105:12,17            pattern I 10: 11,14              27: 15 29:2,4,7 30:2         56:24,25 58:21 65 :5
      off-ngain JO: 14                107: 11 108: I 5,21         pay 13:4 17:7,10,22 18:2         31:4 32:3 35:7,13 37:6       76:4,9 90:16 96:4,14
      OtT-thc-rccord 14:8             109:3,12 110:3,18              20:25 25:8 26:16              37:14,16,2138:17,21       property 36:11 95:3
         35:12                        I 12:8,9,13,22 113:6           107:12                        40:17 41:2,1142:17        protected 75:12
      offender 55:21 56:2,8,11        113:16,23 114:4,15          paying 17:25                     43:4,22 44:1,3,17,19      Protective 67:12 71:3,11
         56:24 57:l 58:21 65:5     old 28:20 31:9 69:2            people 51:14,22 74:4             44:20 45:5 46 :7,9,11        74:14 76:13
         76:4,9 90:16 96:4,14      older 32:15 33:19              percent 34:9 96:16               46:14,16,23 47:1,5,6      111·ovidcd 62:22
      offered 60:9                 on-again 10:14                 perfectly 18:5 31 :22            48:7,1151:5,1052:12       PSO 55:4
      offering 82:23               once 54:7110:12                person 52:25 61 :13              52:14,17 53:1,11,16       Public 1:19 116:12
      Office 32:8,19 33:2,8,15     one's 92:10                       75:19,20                      54:16,20 56:16 57:25      pull 24:6 28:10 40:12
         34:5,19 35:22 36:3,9,9    ones 8:10 41:6 62:4            person's 38:24                   58:9,14,17 61 :18 62:3       44:25 73:14
         36:15,23 38:8 39:9,14     ongoing 77: l 78:23            personally 78: 11                62:8,13,17,20 64:8,13     puncl1ed 28:16,17,23
         40:6 43:6 44:22 47: 16    online 95 :25                  Pete 100:19                      65:10 66:20 73:20,23         29:18 30:10 89:17
         48:22,25 53 :4 56:22      Oops 48:5                      pets 20: 11                      74:177:I0,1583:8,12       punished 32:20
         65:4 73:2 79:10 82:25     opened 1 I :8                  phone 55:13 84:14                85:5,9,14,18,21 86:1      purposes 15:2,14 75:14
         84:14 87:7,17 88:14       opinion 104:19                 phrase 61 :9                     86: 10 89: 10 90:21       push 41:24
         95:22111:15               optiou 82:4 96:2               phrasing 109:14                  91 :5,8, 18,24 92:8,15    pushed 35:23
      officer 21 :23 22:3 23: 16   order 14:1918:8 25:1           physical 69:11 72:21             92:18 93:1,8,11,17,23     put 15:13 16:13 18:13
         27:1,21,23 39:17,20          27:7 64:1 81:15 86:2           83:25 84:8                    94:7,10,12,18 95:1,8         45: 19 62:25 75:5,6
      oflicers 81 :8 98:2             98:12113:18 114:4           physically 82:11 88:19           98:13,20,23 99:3,7,10        83:5 88:2 92:11
      official 1:7 116:7 118:5     orderi11g l 7:22               picked 26: 14                    99:12,14,24 100:7,14      putting 18:10
      Oh 2:3 9:14 16:16 21:7       Ordinance 5: 8 92:3,22         picking 30:23                    100:16,25 101:7,15
         22:21 25:4 39:l,19        organized 17:14 61:5           piclmp26:15                      102:3,17 103:10,12,17                     0
         47:150:18,21 52:3         out-of-pocket 13:16 50:5       piece 25:19,21                   103:23 104:3,17105:2      question 6:25 7:2 57:20
         61:17 63:15 73:5          outcome 22 :15 23:9 27:3       piecemeal 24:17                  105:8, 17,24 106:5,8        65 :22 68:21 70:9
         77:18 91:19102:9             52:8 76:12 80:6,16          Pinellas 43:5,16 44:11           106:15 107:4,8,16,22        102:7 106:10
      Ohio 78:5,6                     84:15                         53:3,21,2154:263:23            108:2,12,19 109:2,8       questioner 112: 14
      olmy6:10,14,23 7:3,8,12      outline 14:12,13               place 1: 17 71:19                109:15 110:2,17           questions 11 :7 50:13
         7:15,16,20 8:3,23 9:7     outside 39:22                  placed 22:8, 16 27:6             lll:12,1 7 112:3,10,13      72:4 90:25 93:5
         9:18 10:3,5,11 ,15,21     overdose 33 :9                 plniutiff 11: 13                 113:12,20,25 114:4,12       106:10 112:20 113 :24
         11 :1,6,14,22 .12:4,12                                   t>laintiffs 1:5 2:5,9 12:8       114:16,19                 quick 14:6 23 :22 35:11
         13:8,20,23 14:5,16,24                  p                    12:13,15 118:3             Poulton@debcvoiscpo...         90:2191:21.06:9
         15:5,6,2417:13,18,2 1     Pl !4:24                       Plaintiffs' 4:3                  2:13                      quite 28:2 1 75:20 89:3
         18:2,5,6,14,22 19: 1.0    P.A 2:ll                       plnn 7:13                     pour 78:17                     107:18
         19:16,23 20:5,13 21:3     p.m 1:15 62:19 91:6,7          piny 93:2                     pi·c-2016 41 :3              quote 12:17,17 30:5
         21:5,ll,2222:1,7,11           112:11, 12 113:3           played 93 :7,10,16,22         pregnant 59: 18 79:7
         22:19,21,25 23:1,6,7          114:22                        94:11,17,25 95:7 99:6         80:21                                     R
         23:15,25 24:9,14,15       P.O 1:23                           99:13,23 100:24 101:6     preliminary 11 :7
         24:24 26:3,6,16,20                                           104:2, 16 .105:23 106:7
                                                                                                                             rate 92:21
                                   page 3 :2,5 4:2 5:2 11 :25                                   presence 43:15,15
         27:3,10 28:2,5,12,13                                                                                                1'117.01'   ~7:17
                                       11:2512:2,25 51:4              107:3,15108:11109:l       1uescnt 42:5 51:14 65:22
         28:14,22,25 29:15,23                                     t>lnying 94 :3                   66:4 115:1
                                                                                                                             reached 39:13
                                      69:1072:8 118:9                                                                        reaction 101:10
         31:11,22 32:3 33:7,14         119:2                      t>lea 27:4                    presumably 89:22
         33:18 34:1,19 35:3,16                                    plead 82:22                                                read 22:24 29:17,17,21
                                   pnid 21:3                                                       114:14
         36:8,14 37:14 38:l,6                                     pleading 23: 17 82: 11                                        29:24 37:9,25 40:22
                                   pain 13:12,15,23 14:2                                        pretty 66: 12 97:20 I 10:4
         38:22,25 40:1,4,10,24                                    plcas;rnt 109: 18                                             41:15 ,23 54:3 63:1
                                      72:16                                                     Primrose 7:24 8:1 9:23
         41:8,14,15 42:7,24                                       please 8:17 ll:1146:13                                       65:6 66:2171:16,17
                                   Palm 53:5                                                       29:22 31:16 45:8
         44:2,18 45:23 46:8,11                                                                                                  74:10 77:6,19 78:21
                                   paperwork 110:9                    65:18 71:17 7S:25            48:13 53:18 54:22
         46:15,16,23 47:5,11                                                                                                    89:l 114:2 118:11
                                   Pardon 12 :22                  pied 22:2,16 82:3                56:23 64:15 65:5
         47:15,2148:16 49:3                                       plenty 97:25                                               rcacling 67:2 70:25 89: 12
                                   parent 74: 19                                                   66:24 83:19 85:3
         49:24 50: 16,17 5 I :3                                   plus 17:7 20:1625:8                                           103:3 115:2
                                   plll'elltS 11 :3,4 30: 18                                       88:24 93:20
         51: 11,24 52:8,20,22                                         72:10                     principal 30:14              ready 67 :3 89:2
                                      68:12 74:19,22                                                                         renl 10:13 14:6 23:22
         53:10,17,22 54:6,11       parents' 35: I                 point 7:10 18:13 24: 19       prior 46:20 65:25 68:25
         54: 12,13,21 55:4,8                                                                                                    35:l 1
                                   Par), 2:1 2                        34:2135:2,1641:4             87:12 95:23 96:9,21
         57:7,25 58:6,7,9,14                                         44:9 46:17,18 49:2                                      rcali7.c 23:10,13 31:22
                                   part 15:19 29:15 49:25                                          96:21
         59:2,17,24 60: 1, 15                                         50:15 55:25 56:3,7,20                                  really 31 :8 61 :2 63:19
                                      50: 1 64:5 76:2 92:3                                      prison 81:16
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 125 of 127 PageID 2749

                                                                                                                                          Page 125

          70:23 75:3 78:11 84:9        90:2,5 96:8                  9:9,2111:6 12:22 14:5     seal 116:7                    Showalter 60:2,4, I 7
          85:7 87:3 88:11           remembe1·cd 47:9 48:3           14:10 I 5:4,15 16:7,ll    sec 76:22                     showed 110: 16
      reask68:21                    removing 13:14                  17:218:15 21:5 23:8       second 14:1122:21             shown 112 :23
      reason 11:156:157:21          rephrase 14:1                   23:21,23,23,25 25:20         66:14 111:7                shows 67:15
          68:1 82:6 104:10          report 4:9,10,11,12,13          25:24 26:14,25 27:16      seconds 99:5 104:4            sibling 79:17
      reasonable 113 :3                4: 14,15,16,17,18,19,20      28:5 30:3,6,10 31:14          109:10                    siblings 50:23
      ,·ec11ll 17:15,20 18:4           4:21,22,23,24 5:3,4,5,6      32:6 33:22 35:8 36:2      section 11 :25 65:7           sick 30:J 8,19 90:4 98:7
          21:19' 25:3,1726:22          5:7 21:24 30:4 31:16         37:1,7 39:1141:2,22       see 9: I 11 :20 12:6,10       side 92: 10
          28:21,24 31:2134:23          32:2,8,19 33:2 34:2,6        42:17,25 43 :3,12             13:18 14:15,19,19,20      Signature 3:5 118:9
          35:20 36: 1,2,7,8,9,13       35:15,22 36:21 37:12         44:14 46:22 47:3              15:10 16:16,18 17:2       signed 16:17
          36:25 37:5 39: 15 40:9       37:17 38:22 40:1,11          48:17 49:10 50:18,19          17:1120:3,19 21:23        signing 115:2
          42:13 43:8 47:21             41:16 43: 12 44:3,22         52:1 53:19 56:10             22:5,9 24:24,25 27:1,7     similar 25:9
          51:16 54:13 55:9,14          44:25 46:6 47:16,23          57:10 58:21 59:8             29:9,10,13,14 36:21        sim11ltancous I 03 :7
          55:19 56:9 57:18,19          51 :11,12,20 53:5,8,23       60:14,21 62:3,3,7,8,17        37:11 38:15 40:2,3        sir 38:18 58:13
          57:24 59:22 60:18            54:2,3,2157:2258:18          62:2164:965:6 67:10          42:25 43 :10,10 45:6       sister 3 8: 11 39:6
          63:24 66:6 68:2 70:23        64: 14 65:4,20 66:23         67:15 69:9 76:12,23          45:1l48:4,13,1349:6        sit 88:9
          70:23,24,25 72:18            67:12,23 69:25 73:14         78:25 79:20,23 81:3          49:13 51:22,23 53:18       sitting 30: 11
          73:7 82:24 83:3 84:19        74:2,2 75:8 77:4,5,11        83 :4,5,16 86:6 89:22         54:2,3,9,22 55:6 56: 10   situation 33:11 74:21
          86:14 88:2,18 90:14          78 :23 80:25 83 :4           91:9,13,14,2592:17            56:23 58:19 64:14            75:4 76:19
          111:9,19,20                  84:25 85:22 88:22            92:23 93:2,18,24              65:11,14,20 66:13,14      skip29:15 41:4 42 :8,8,17
      recognize 40:18                   117:7                       94:13,14 95:9,12              66:23 73:20 76:24            42:18
      recollect 25:9 71 :10         reported 1:18 28:16 29:8        97:11,20 98:13,14             77:4,6 83:4,13,22 84:2    Sky 74:5
      recollection 26:17,19            57:12 63:5,6 69:14           99:15,21102:15,22             84:3,20 86:18,19          slRmming 111 :25
          27:25 28:132:21 33:5         74:13 88:19,25               104:13,18,21 105:25           87: 11 88:24 89: 18,20    sleeping 57:2,9
          37:1141:17 54:477:6       reporter l: 18 3 :5 7:4         106:9,16 107:1 l              90:l 91 :12,13 92:23      slightly 86:2
          110: 13                       14:22 Vi:1,.'i,15,17        108:?.0 109:6,9,13            94:19 97:2,5 99:7,7       slit66:8 69:1970:13
      record 14:7 15:13,19              16:1,4,21 18:20,21          111:2,24,25 112:6,14          103:3,13 108:23           slowly24:5
          32: 1 35:11 36:5 117:9        19:7,10,16,23 21:8,12       112:20 113:8,25           seeing 22:20 50:24 56: 18     smoked 33:10
      recorded 14:22 87:23             25:7 26:127:1129:1,3         114:15,19                     89:12                     SOlllebody 35:19 39:2,10
          112:14                       30:1 37:18 38:18 45:2     right-hand 92:18 112:25      seek 12:3,13,25 72:10            59:21 60: 12 77:25
      recording 15:13 16 :3            48:8 52:11,13,23          rights 113:.19               seeking 12:1613:1 1,14           78:6,12 106:23 109:22
      records 44:8,9 50: 10            53:13 58:12,13 64:10      ring 37:25 38:23 53:7            13:15,21,23 14:2             109:25
          111:10                       73:22 77:9 83:9 85:7         106:23                    seen 20:8 24:2 32: 1          somebody's 103:3
      recove1·y 17:7,8 20:17,18        85:12,15,17,20 86:3,4     rivalry 79: 17                   66:22                     son 28:20 35:23 38:10
      red 53:6                         86:7 91:17,18,21 92:6     Rjolmson@ij.org 2:4          secs 12:20                       39:3 41:1947:19
      refer 39:21                      92:25 94:8,9 98:13,18     Road 2:7                     Semoran 2:11                     48:20 54:12 60:8,12
      ret'erencing 43 :21,25           99:2,9 103:8,9,11,20      Rob 51:6 114:6,7             send 24:19 44:13                 60:12 68:8 78 :2,5,10
      referring 8:10 43:20              114:9117:1,6,19          Robel't I :4 2:2,10 12:18    sending 24:3                     79:17,23,25 80:5
          64:4                      reporting 1:22 34:22            118:2                     sense 89:9                       84:20 86:12,17,22
      rtfrcsh 33:19 41:16              53:17                     room 30:9 89:25              sent 42:23 72:21              son's 74:7 78:7,15,21
          43:17 57:5 87:2           reports 28:6,9 42:20,22      roomnmte 9:24                se11tcnce 82:20               soon 38:16
      refreshes 37:10 54:3             42:25 44:4,16 46:18       roughly 69:6                 scp11rated 76:18              sorry 8:9 9:14,19 IC:2,4
          89:13                        46:19 50:24 58:4          Ruic 4:3 11 :22,23 19:20     September 21:6 33:l              12:23 18:23 21:7 30:2
      refused 45:20 69:16              61:23 62:2,22 64:7        rules 6:23 11 :23                47:21,22 48:12 82:24         34:16 43: 18 45:21
      refusing 55:11                   87:11                     run 34:10                        83:13                        47:148:550:19 52:12
      rcgardiug 37:2 40:6 53:3      represc11t 113: l                                         sequence 41 : 17 82:7            62:8 65:19 73:5,6 85:5
          63:22 67:25               reputational 12: 10                      s                served 64:1,16                   85:10 91:19 98:12
      regardless 82:22              Rescue 47:23 48:24           S 2:114:15:1114:24           service 35:20                 sort 11 :9 35 :25 6 l :5,6
      regards 3 9 :14               reside 7:21 8:13,16          S-A-N-O-E-R 54:24            Services 71:4, 11                80:6 93:4 110:10
      reimbursed 13:3               1·esidcnce 55:16 76:25       Samantha 52:18,24            set 72:4 78:18 86: 14         sorts 26:12
      reimbursement 72: 1 l, 12        86:22,23,25               sat 30:14                    sets 27:18 38:2               sound 34:7 36:18 91:4,20
      relate 27:17                  i-csisting 21:22 22:3        saying 15:2131:12 41:25      seven 69:5                    sounded 106:17
      related 12:9 21:10 27:21         23:16                        56:18 60:1168:4 72:2      severe 48: 18                 sounds 16:7 54:5 77:3
          39:24 72:13 91:25         resource 39:17,19               78:19 96:24 107:10,21     sexual 36:5 55:12 73:9           108:5
      relation 10:U 18:24 22:1      respectful 98:3              says 12:12,14 13:7 34:3      Shaker 2:3                    spawned 49:12
          31:643:l.6                respective 115:1                39:2,1151:17 53 :20       shakes 7:6                    spcal< 31:1955:16 70:22
      relationship 59: 1 80: I      respond 38:9                    56:24,24 57:16 59:6       share 11:15 28:18 32:6           73:10,11 80:20 81 :1,6
      relative 10:13 117:11,13      responded 29:22 33:8            66:169:24 71:16               37:7 54:15 64:7 92:2         81:13 82:14 84:l
      relaying 109:20               responding 58:23                78: 13 84:7 86:17 89:6        99:4                         100:22 109:25 111 :11
      released 15:17 30:6           1·esponsc 40: 11 67:23 ,24      89:7,8,18 97:10           Sl1ect 3:6119:l               speaking 13:1 65:12
      relevant 12: 14                  68:20 102:5                  100:19 101:2 108:5        slleriffl:8 39:12118:6           81:14 89:7106:2
      l'CIIIClllbCI' 17:21 18:6,9   rest 29:24                   scattered 11: I 0            SllCl'ill's 32:8,Jl) 33:2,8   speaks 31 :17101:14
          20:21 28:8,22 29:25       restroom 90:22               scheduling 91 :2                 33:15 34:5,19 35:22          104:25 106:4 109:24
          31 :5,11,13,18,23         result 12:17,19 13:4         Schell 16: 13                    36:3,8,9,14,23 38:8       specific 70:18 88:l
          33:1135:24,25 38:2,8         20:22 47:8 71:14 80:7     school 30:14,19,20 31 :2         39:9,13 40 :6,11 43:6     speeificnlly 79:4
          3 9:4,8 40:4,8,21,22         80:25 90:13                  31:3,6 32:4,5 33:4            44:22 47:16 48:22,24      speed 24:7
          41:1842:3,l l 43:5        resumed 62:19 91:7              39:3,16,19,22,24              53:4 56:2165:473:2        spcll 8:20
          47:7,11,13, 15 49:14          112:12                      99:21                         78:22 79:10 82:25         spelling 6: l 5 30:8 108 :4
          52:3,4,8 53:2 54:ll       return 112:23                Sch,·eiber 40:18                 84:14 87:7,17 88:13       spice 33:10
          55:7 56:6,20 57:13,14     l'eturued 30:9               scope 72:5                       95:22111:15                spit 30:24
          59:24 60:4 62:24          reverse 86 :2                screen 11 :15 12:615:10       shoot 38:13 78:17             spitting 51:14,21
          64:19 66:3 67:14          review66:JO                     22:24 26:22 27:8,23        sltortly 49:4                 spoke 42:4 76:15,16 79: I
          68:23,23 69:22 70:3,7     1·evision 12:12                 37:7 54:15 62:25 64:7      shoulder 30: 11                  80:22
          70:9,14,15, 17,20         revolver 63 :7                  83:5 92:2 99:2,4           sllow28:25 53:8,8 61:20       spoken 38: 16
          71:13,21,22,23 72:23      rewind 108:3                 SCl'Oll 37:22,23 41:10, 13       65:3 77:4,5 88:22          sporadically 110: 16
          72:24 74: 11,12 76:25     rid 20:22 26:12                 46:12 67:4,6,7 89:2           90:24 91 :9,16 92:8        spot 114:17
          77:21 ,22,23,25 79:15     right 6:12 7:10 8:7,15       sc1·olling 22:23                 93:4 103:18                sprnyed 52:l
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 126 of 127 PageID 2750

                                                                                                                                        Page 126

      Squad 61:9                   sm·veillnnce 87:20               75:11 92:1995:14,15      truth 6:2,3,3                   98:24 99:6,13,16,23
      SRO 40:7                     suspect 30:7 34:4 38:12          96:18 97:15,16,19        try l l :15 28:9 38:6 41:4      99:25 100:13,24 101 :6
      St 100:19                      45:14, 16                      100:19 104:7,9,18           41:4 108:4                   101:11,!3,16 103:18
      Sfacy 78:5                   suspect's 38:11                  109:6 112:8 113:10       trying 24:25 28:7 35:16         104:2,16,25 105:23,25
      standing 92:9                suspended 31 :2,6             thinks 45: 17                  35:17 45:15 59:4             106:3,7 107:3,15
      start7:l 8:1129:2141:7       sustained 80: 17              third 27:4 111 :7              71:19 76:3,6 79:21           108: 11 109: 1,23
          46:2150:967:2 93:8       swm·n 6:2 116:6               thirty 17: 11 114: 13          82:7 84:21 86:13 87:9        112:23 113:7 114:14
           106:t"107:12            sympathetic 46: 16            THOMAS2:I0                     89:22                     vicleogrnphei· 15:18
      starting 91:11                                             thought 12:23 24:4 58:2     tum 6:12 91:20 100:2,8       videos 61 :20 87: 17 90:24
      state 1:19 42:11 58:24                     T                  73:5 80:21 104:9            100:11101:2,18 107:1         91:10,10 92:6 93:4
           116:2,12 117:3          T 4:1 5:1 114:24,24           thous1md 3 I :18 33:23         107:13 112:17                110:25
      stated 31:1 34:5 38:11       T-A-M-M-Y 6: 18               threat 45:7                 turned 81 :5,7               vicw 76:7
          55 :2 65: 13 69: 17      tactic 103 :2                 threatened 30:25 38:10      turning 102:15               violate 113:19
      statement 23 :9              take 7:5,10,14 12:5 22:21        38:13 66:8               melve 22:9,17 51:24          violated 80:14,15,24
      STATES 1:1                       23:3 37:8 40:24 41:7      threatening 83: 1,23           70:4 93 :19                  81:3,11,14
      stnth1g 97:6                     58:2,3 61 :21 62:24          84:11                    twelve-year-old 70:11        violation 17:6 20:15
      status 56:2 96:4                 66:2181:23,2482:13        threats 32:9 33 :4 44:23    twenty 77:7,8                   21:10 26:18 80:17,19
      statute 75:12                    82:22 86:11 90:21            78:24 79:3               two 9:3 12:20 14:14             82: IO 92:1 96:3 97:5
      sh1ying 34:25 58:25              91:2 112:3,7              three 8:8,13,15 22:5           23:18 28:3 31:18             111: 13
      st11ys 9:25                  taken 6:2125:22 35:1             27:18,25 42:21 70:7         33:23 36:5,10 42:21       violations 13:4,17 27:24
      Ste 2:3,7,11                     62:18 75:4 91:6              70:10 98:24 111 :5,14       43:7 50:23 92:4,4            50:6 72: 11 111 :5
      stemmil1g 12:19                  112:11                       111:20,21                   96:2197:4104:12           violence 21 :23 22:4
      stcnographiully 117:7        takes II: 1.0                 thrnnt 66:8 69: 19 70: 13      110:.19 111:23               23:17 59:18 64:1,15
      stcpdad 65:13                talk 37:10 50:14 60:15        throwing 84 :21 86: 13      Tyler 9:8,12,13,16 33:21        64:16 88:25
      stepfather 87:13                 62:22 75:12 81:8             87:8                        33:22,23 34:4 36:16       visible 16:14
      step.,011 54:25 55:3 83:23       104:10 113:8              tln·own 35:22                  36:23 50:20 51:17         visit78:2,8105:6,13,13
          83:25 84:10              talked 30:15 62:11 74:6       thumb 23:4                     71:7 73:17 79:18             113 :16
      stipulated 114:25                95:10                     time 1:15 7:17 10:24           94:20                     visited 112:24
      stipulation 3:4 16:3         tall<ing 50:11 72:5 99:12        22:20 24:6 26:9,9        Tyler's 33 :23 37:3          visits 56:l 97:22 113:17
      stole 78:15                  Tamm 112:21                      28:20 30:8 31:8,9,10     type 60:13 72:1 88:7         volume 6:12100:6107:1
      stolen 34:2,20,24 43:7,16    Tammy 1:3,12 6:1,18              31:23 32:22 34:23        types 13:9 76:7              vs 1:6 118:4
      stood 89:21                      12:14 29:23 57:1             40:24 44:6 49:8,11,15
      stop 32:6 61:19 71:17            86:17,18,21,22 116:5         49:17 58:5 61:19 63:9                u                            w
          107:11                       118:1,17                     68:14 69:24 71:10        U 114:24                     W2:10
      stopped 88:7 106: 11         Tampa 1:2103:3                   73:4,7 80:11 84:25       nh-huh 7:6                   Wait 15:5
      straight 59:4 79:21          TAYLOU 1:3 118:1                 87:19,22 88:1 90:5,6     uh-uh 7:6                    waived 115:3
      street 7:23                  teen 17:8 20:18 77:2             93:7,10,16,22 94:11      ultimately 54:182:2,3        wake 57:3,10
      strikes 34:8                 teenagers 32:25 78:7             94:17,25 95:7,15         underlying 2 1: 18           walked 30:8
      striking 36:25               tell 6:211:1319:11 42:7          96:14 98: 15 99:6,13     undersigned 116:4            walking 29:19
      strue k 36 :24                  44:25 47:10 54:14             99:23 100:24 101:6       understand 9:9 12 :22        wall 72:l
      student 28:17,23                 55:25 61:14,18 69:14         104:2,8,16 105:23           27:3 41 :25 67: 11        Wnlters 74:5 77:17
      stuff 86:13                     79:14 104:10 106:21           106:7 107:3,15 108:11       75 :25 76:6 80:9 82:6,7   want 7: 10 11 :6 12:1,24
      subdivision 38:10                108:8 112:3 113:7            109:1 112:7,13 113:2        8.3:19                      13:3 14:12 22:21,24
      subject 12:1 2 16:14         telling 60: 12 69:23 70: 11      113:3                    understanding 15 :25           23:4 24:5,5,10 29: 17
          45:17,19,19 64:24           90:2                       times 49:17 57:18 87:12        23:17 82:2                  29:24 36:22 37:9,22
          73:9                     tells 64:18 102:8                98:6 103:4 110:12,21     understood 16:2                38:157:1062:4,24
      subjects 55:5                ten 17:10 20:16 28:20         todny 7:17 30:5 62:11       unit 49:13                     69:18 70:12 72:4
      SUBSCRIBE 118:12                 31:9 36:6 58:1,6,7           88:9                     UNITED 1:1                     75 :23 79:24 90:21
      SUBSCRIPTION                    69:2 91:5                  toggle 67:3                 universe 24:20 50:8,1 I        93:14 100:7,17 112:4
          118: 13                  ten-minute 91 :3              told 20: 10 30 :5,18,24     unlmown 30:7 60:3              112:16113:7114:1,4
      subsection 12:6              Tennessee 106:23                 39:3 47:14 55 :16        unlnwful 95:15,16 96:18      wanted 10:24 18:22
      substance 23 :2 74: 10       terms 13:1                       57:1174:1975:17,20         97:13,15                     34:2136:1761:20
      substantive 69: 10           terrifying 75:6                  78:16 80:4,19 81:25      update 61:14                   72:7 81:6,8 82:15 91 :9
      sue 103:2                    testified 6:4                    82:19 86:22 89:19        updated 12:8                   96:11 98:3,3
      suffering 13:12,15,24        testimony 117:9                  110:4 ll2:6,24 113 :6    upset 45: 14 86:24           warnings 16: 13
          14:3 72:16               testing 92:20                 Tom 19:1 24:1 37:15         USC 92:7                     wasn't 30:19 49: 11 63:9
      suggesting 92:14             Than!, 9:2,15,20 16:1,7          43:20 85:4               useful 92:12,14                63:10,19 70:22 80:5
      suicidal 32:9 33:4              19:23 29:4 33:22           ton 92:18                   usually 49: I                watch 98:25,25 104:1
      suicide 44:23 45:7 54:J         37:16 48:7 62:17           top 92:16 98:16 103:25                                     105:20 108:8
      suing 11:13                     73:23 85:25 86:7              105:19111:1112:25                    V                watching 86: 12 87:8
      supervisors 96: l               92:25 98:18                total 8: 11 17:23
                                                                                             VA2:7                        way 16:16 28:l 1 29:19
      Supplcme11tal 4:3 11:22      Thanks 91:5 98:20             toy 26:11
                                                                                             vague 15:21109:14              30:10 39:3 40:8 42: 14
      SllllPOSC 38:5                  112:10 113:25 114:19       track 14:24 16:5 114:7,7
                                                                                             vaguely 72:25 90:4,5           51:5 63:10 66:3 81:21
      s1111poscd 81:l              theory 14:10                  transcript 117:8 ll 8: 11
                                                                                             variety 13:9                   84:13 90:19 95:14
      sure 8:2110:24 12:2,25       thing 41:23 60:14 89:l        tra11scriptio11 45: 13
                                                                                             vd1icle 21:19 27:22 34:2     we'll 20:8 21:17 22:11
          15:3,4 16:8 24:1,10,12      92:9 104:7                 transpired 63:20 67:14
                                                                                                34:20,24 43:7 6 1:2         23 :23,23 24:12,18,18
          34:9 35:10 40:24         thiugs 11:9,12 13:12             70:15 74:15
                                                                                             verbal 83 :24 89: 16           26 :22 27:11 35:10
          41:1244:14 46:14            24:16 25:17 26 :12         transportation 53:2
                                                                                             nrbnlize 7:7                   36 :15 37:941:642:19
          49:2, 16,17 50: 11          32:24 50:9 69: 17,23       trash 26:14
                                                                                             vers11s 76:5                   43 :2 44:11,13 46:19
          60:19 61:1463:19            70:2 72:2 78:15,18         trespassed 36: 12,18
                                                                                             vice 30:14                     46 :23 50:15 54:15
          72:7 74:16 75:3,7,ll        84:21 87:9 88:3            trespassing 36:11 54:23
                                                                                             victim 29:1 I 80:20            56:19 58:2,3 62:1,3,10
          77:3 79:9 80:9 84:9      think 8:22 25:21 32:1         trial 81: 12,24 82: 13,18                                  62:10 75:1 4,14 83:5
          90:17 93:14 95:23                                         82:19
                                                                                             vicleo 20:8 86:12,13,14
                                      35:138:15 39:23 41:2                                      87:8,15 88:10,12             100:18 104:1105:20
          96:17 100:8 102:1,11        43:1,1144:5 49:18,20       trouble 58:25 60:9 80:23
                                                                                                91 15 92:11 93:7,8,10        I 14:9
          102:12108:25 110:4          50:4 52:10 53:25               109:5,21                                             we're 12:2,25 14: 1,16,23
          112:5                                                                                 93 16,22,24 94:3,11
                                      54:23 56:3 58:11,12        troublemakers 36:15                                         19:8,18 21:1624:7
      surrounding 97:9                                                                          94 17,25 95:7 97:19
                                      62:5 64: 17, 17 66: 17     true 97:25 117:8                                           28 :7 35:9,16 44:4 50:8
Case 8:21-cv-00555-SDM-CPT Document 124 Filed 06/06/22 Page 127 of 127 PageID 2751

                                                                                                                                   Page 127

         50:1151:4 56:19                8:18,23 9:22 94:21     2:27 107:12                  32792-5512 2:12            9-18-2018 26:21
         60:19 66:17 86: l          94:22                      2:30 107:11                  33526-2426 I :23           9-28 85:12,17
         88:23 90:25 93:19,24     zoom 1:17 2: 1 6:24 14:21    2:32 107:12                  352 1:24                   9-28-16 4: 14
         99:15 107:1                14:2192:12107:1            2:50 94:13                   37 4:10                    9-28-19 5:4
      we've 8:22 24:l, 15 32:1      116:5                      2:55 112:11                  384: 11                    9-29-18 4:22 65:5
         86:1 90:22 103:24        Zulu 104:9                   20 4:22 9:17 31:19 65:3,8    31·d 18:16                 900 2:7
         106: 11                                               2010 28: 15 29:8 31: 19                                 901 2:7
      wcck55:9110:7,12,22,23                  0                   32:7,14                              4               91 5:8
      WCllt 28:3 32:24 36:24                                   2011 32:18 33:1              4 4:6 11:25 21:17 22:11    91148:21,2251 :20
         48:20 49:2,4,14,18,20                I.               2012 33:7 34:1 35:21            22: 12 23:24 37:24      98 5:9
         54:14 60:1 62:21                                         36:3                      4-25-20 5:7
                                  1 4:3 11 :16,19 14:5 16:11
         80:18 81:4,1695:20                                    2013 36:10,20 37:24,24       4-7-14 4:11
                                     19:3,13,20 20:l
      weren't 29:16 31:14                                      2014 38:9,23 40 :10,14       40 4: 12 17:7 20:17
                                  1-25-18 4:7
         47:23 81:22,22 98:8                                      41:16 62:1                407-673-5000 2:12
                                             51:21
      Weston 38:23 39:5                                        201S 42:18,22 46:21 58:4     44120 2:3
                                  1-5-2023 115:13
      whatnot 50:10 92:20                                         61:23 63:4 88:5           45 4:13
                                  1.1 5:8 92:2,22
      wife 86:17                                               2016 16:1117:2 19:4,5        45-minutc 7: I4
                                  1:00 62:19
      wifi 69: 16                                                 19:13,15 20:121:6         48 4:14
                                  1:34 93:24
      win 81 :25                                                  42:18 43:1,5 44:21
                                  1:43 105:25
      window 94:20                                                45:6 46:7 47:2,15,22
                                  1:49 99:15                                                            5
      Wil1ter 2:12                                                48: 12 50:20,21 51: 12
                                  10 4:12 8:1917:8 20:18                                    5 4:7 25:6,11 84:25
      Winthrop 39:16 40:7                                         95:10 97:12,16
                                     40:13,15 113:3                                         5-12-16 4:4,5
      wish 57:2 88:11,11                                       2017 25:126:2,953:3,17
                                  10-18-17 4:7                                              5-14-17 4:19
      withheld 17:6 25:8 27:5                                     54:14,2155:9 56:17
                                  10:05 1:15                                                5-23-18 5:11
      witness 6:5 29: 13 41 :24                                   56:22 58:18 98:16
                                  100 20:16                                                 5-6-17 4 :18
         58:8 63: 10 69:12                                     2018 26:2, 18 27:7 63:7
                                  1010 2:11                                                 51 4: 15
         100:4 112:9 116:7                                        105:18 106:20
                                  103 5:10                                                  52 4:16
         117:9                                                 2019 66:6,7,23 67:18
                                  1035 2:11                                                 53 4:17
      wondering 57:13 61:15                                       68:25 70:6 72:18 73:4
                                  105 5:11                                                  54 4:18
         84:12                                                    73 :7 74:3 76:24 77: 12
                                  lOtll J 16:7 117:17                                       56 4:19
      wo1·d 70:17 108:7 110:14                                    82:25 83:13 84: 19
                                  11 4:3,13 45:3                                            567-5484 l :24
      woi-1, 86:12 87:7                                        2020 9:17,18 88 :18,24
                                  11-14-13 4:lO                                             58 4:20
      WOJ"king 88 :7 106:22                                    2022 l:14 ll6:6,8117:17
                                  11-17-16 4:15                                             5th 84:20
         107:6                                                 214:5,23 66:17,18 73:21
                                  11-29-16 4:16
      wouldn't 104: 12                                         22 4:6,24 31:10 53:17
                                  11-4-2013 37:17                                                        6
      written 57:15                                               73:22,23,24
                                  11-7-17 5:9                                               6 3:3 4:8 27:12,13 28:25
      Wl'Ong 48:5 50:18                                        22203 2:7
                                  11:45 62:18                                                   54:21
      wrongful 97:17                                           23 1:14 5:3 77:9,11,13
                                  112 3:3                                                   6-15-17 4:20
                                  114 3:4                         105:18 116:6
                  X                                            24 5:4 27:6 83:8,10 85:11    6-18-19 4:24
                                  116 3:4                                                   6-20-2010 29:22
      X 3:1 4:1 5:1 98:16                                         85:12,15,19
                                  ll7 3:5                                                   6 -26-19 5:3
      X83015724 5:9 98:17                                      2426 1:23
                                  118 3:5                                                   6-29-16 4:13
      X8301572S 5:10 103:25                                    24t11 67:25
                                  119 3:6                                                   6-9-10 4:9
      X83046,s3 5: 11 105: .1 Y                                25 4:7 5:5 26:2,18 66:23
                                  12 4:14 17:219:14 48:6,7                                  64 4:21
                                                                  84:24 85:7,21,23
                                     48:9                                                   65 4:22
                  y                                               88:23
                                  12-13-18 4:8                                              66 4:23
      yard 25:3,16 27:20 96:24                                 256 2:3
                                  12-28-14 4: 12
      yeah 15:3,24 16:2 23 :5                33:25             25th 67:25
                                                               26 5 :6 11 :22,23 19:20                  7
        24:15 25:22 32:11         12-5 86:5
        33:22 35:7 37:13,25       12-5-19 5:6                     77:11 85:4,5 86:4,8       7 4:9 29:1,2,5 38:22
        39:4 43:10 47:3 49:11     125 25:8                     26(a)(l) 4:3                    98:16
        49:1152:366:11,14                                      27 4:8 5:7 88:23 89:4        7-10-19 5:5
                                  13 4:15 8:18 27:7 51:6,8
        69:7 74:16,24 75:7,23                                     91:16,20                  7-10-2019 85:22
                                    55:9
                                                               276821116:12                 7-22-17 4:17
        76: 11 84:16 85:3         14 4:16 34:1152:13,14
        89: 11 99:9 100: 15         52:15 56:17,22             28 5:8 40:14 41:1647:22      7-26-18 5:10
         103:l,6 108:25 110:20    15 4:17 34:11 53:12,14          48:12 83:13 91:17,21      7-26-2018 103:24
      year 32: l3 37:23             58:18 62:4                    91:22 92:7                7-Eleven 89:8
      yenrs 28:20 31:9 36:6                                    28th 40:10                   703-682-9320 2:4,8
                                  16 4:4,18 21:6 50:21
        69:6,8 70:7,10 81 :24                                  29 4:9 5:9 45:6 46:7 47:l    73 4:24
                                    54:16,18
        82: 1 97:23               16-008432 92:5                  98:19,20,21               77 5:3
      young 41:22 55:11 59:1      16781 2:3
        59:3, 14,21,24 95:3       17 4:19 51:12 56:12,14                   3                              8
      youth 72:22                    101:1                     3 4:5 17:8,918:2519:4,5      8 4:10 37:15,19
                                  18 4:20 26:150:22 58:11         19:16 20:18,19 21 :9      8:21-cv-00555-SDM-C...
                  z                 58: 13,14,15,18 74:3          21:13 95:10 97:12,16         1:6 .118:4
      Z 104:9                        100:2 101:2,18 102:15     3-1-16 4:4,5                 8:30 58:22
      7~A-N-D-E-R 8:5             19 4:218:1858:ll 64:8        3-25-19 4:23                 83 5:4
                 8:23               64:11 85:13,17 86:5        3:05 112:12                  8490 85:10
      Zander 8:4,18,19 20:9                                    3:08 1:15 114:22             85 5:5
        21:3 54:23 63:6,13,17                 2                30 5:10 17:7 103:19,21       86 5:6 17:23
        64:21,2569:1171:14        2 4:4 16:21,22 19:3,11,20       104:4                     89 5:7
        72:19 74:5 83:2,14,15        19:21113:1 ,2             315:11 105:18,21
        83:16 84:5,11,15,20       2:00 90:22 91 :6             3229 7:24,25 9:23 29:22                   9
        87:6 88:19 89:17,18       2:02:18 104:8                   31:16 45:7 48:13          9 4:1129:8 38:17,19
                                                                  53:18 54:22 56:22         9-17-18 4:2164:15
        90:7 93:25                2:15 91:7
      Zanders 8:22                2:20 106:11                     66:24 83:19 85:3          9-1.8-18 4:8
                                                                  88:24
